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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                x
TZVI WEISS, et aL.,

                          Plaintiffs,

              -against-                             :CV 05-4622 (CPS) (KAM)

NATIONAL WESTMINSTER, PLC,

                          Defendant.
                                                x




         UNREPORTED DECISIONS CITED IN MEMORANDUM
     OF LAW IN SUPPORT OF DEFENDANT'S MOTION TO COMPEL
 PRODUCTION OF DOCUMENTS AND ANSWERS TO INTERROGATORIES




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                                                         LEXSEE

                ECDC ENVIRONMENTAL, L.C., Plaintiff, -against- NEW YORK MARINE AND
                           GENERAL INSURANCE COMPANY, Defendant.

                                                96 Civ. 6033 (BSJ) (HBP)

                  UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
                                                       NEW YORK

                                                  1998 U.S. Dist. LEXIS 8808

                                                  June 4, 1998, Decided
                                                   June 5, 1998, Filed

CASE SUMMARY:                                                  confidence, spoil, hired, environmental, grounding, ap-
                                                               plicability, confidential, contractors, disclose, proponent,
                                                               advice, in camera, investigative, originated, insurer, work
PROCEDURAL POSTURE: Defendant insurer chal-                    product privilege, claim of privilege, dredging, antici-
lenged plaintiff insured's assertions of the attorney-client   pated, third-party
privilege, the work-product doctrine, and the common
interest privilege in connection with certain documents        LexisNexis(R) Headnotes
that the insured withheld during the litigation of the in-
surer's denial of coverage under a marine insurance pol-
icy.
                                                               Civil Procedure > Federal & State Interrelationships >
OVERVIEW: The insured filed a diversity action that            Erie Doctrine
challenged the insurer's denial of coverage under a ma-        [HNI] In a diversity action in which state law supplies
rine insurance policy after a chartered barge dumped tons      the rules of decision, state law controls privilege issues.
dredge material into the ocean. The court held that: (1)       Fed. R. Evid. 501.
information that was kept confidential and was prepared
by the attorneys or their agents to provide legal services
to the insured was protected under the attorney-client         Evidence > Privileges > Attorney-Client Privilege >
privilege. (2) Pursuant to Fed. R. Civ. P. 26(b)(3) mate-      Scope
rial that was prepared by the counsel or its agents in an-     Legal Ethics > Client Relations > Confidentiality of
ticipation of litigation of the spill was protected by the     Information
work-product doctrine. (3) Documents that contained test       [HN2] Although New York has a statute defining the
data and technical assistance were not protected. (4)          attorney-client privilege, N.Y. C.P.L.R. 4503, the statute
Documents that conveyed factual information to the in-         is a mere re-enactment of the common-law rule. Thus,
sured without legal analysis or advice were not within         New York law governing the attorney-client privilege is
the attorney-client privilege. And (5) documents between       generally similar to accepted federal doctrine, albeit with
the insured and the port authority that contained no client    certain variants.
confidence and disclosed no fact or opinion work prod-
uct were not privileged under the common interest rule.
                                                               Evidence > Privileges > Attorney-Client Privilege >
OUTCOME: The court ordered the insured to produce              Scope
certain documents that did not qualify under the attor-        Legal Ethics > Client Relations > Confidentiality of
ney-client privilege, work-product doctrine, or common         Information
interest rule.                                                 [TTN31 The attorney-client privilege protects confidential
                                                               disclosures by a client to an attorney made in order to
CORE TERMS: attorney-client, consultant, work-                 obtain legal assistance. To sustain a claim of privilege,
product, disclosure, work product, anticipation of litiga-     the party invoking it must demonstrate that the informa-
tion, common interest, withheld, legal advice, privileged,     tion at issue is a communication between client and


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counsel or his employee, that it is intended to be and is in   [JHN61 disclosure to agents of the client of communica-
fact kept confidential, and that it is made in order to as-    tions that are otherwise privileged does not result in a
sist in obtaining or providing legal advice or services to     waiver, and their communications with counsel are
the client. The privilege is intended to encourage clients     within the privilege so long as all the other requirements
to be forthcoming and candid with their attorneys so that      of the privilege are met.
the attorney is sufficiently well-informed to provide
sound legal advice. The proponent of the privilege bears
the burden of establishing those facts that are essential to   Evidence > Privileges > Attorney-Client Privilege >
a privileged relationship.                                     General Overview
                                                               Legal Ethics > Client Relations > Confidentiality of
                                                               Information
Civil Procedure > Discovery > Methods > General                [HN7] The attorney-client privilege may cover commu-
Overview                                                       nications made to certain agents of an attorney hired to
Evidence > Privileges > Attorney-Client Privilege >            assist in the rendition of legal services.
General Overview
Legal Ethics > Client Relations > Confidentiality of
Information                                                    Evidence > Privileges > Attorney-Client Privilege >
[HN4] The proponent of the privilege may satisfy its           Elements
burden by submitting evidentiary material as to the chal-      Evidence > Privileges > Attorney-Client Privilege >
lenged elements only. A party asserting a claim of privi-      Scope
lege is obligated to prepare an index of withheld docu-        Evidence > Scientific Evidence > General Overview
ments, which must provide sufficient information to as-        [JAN81 Underlying factual data can never be protected by
sess the applicability of the privilege or protection. Fed.    the attorney-client privilege and neither can the resulting
R. Civ. P. 26(b)(5. Thus, a party challenging an asser-        opinions and recommendations. There are few, if any,
tion of privilege is given the information necessary to        conceivable circumstances where a scientist or engineer
state the grounds of its challenge and is not left to guess    employed to gather data should be considered an agent
at the nature of what's being withheld and why. Since the      within the scope of the privilege since the information
 challenger is given this information, there is no logic or    collected will generally be factual, obtained from sources
 efficiency in requiring the proponent of a privilege or the   other than the client.
 court to address matters which are not contested by the
challenger.
                                                               Evidence > Privileges > Attorney-Client Privilege >
                                                               General Overview
Civil Procedure > Discovery > Privileged Matters >             Legal Ethics > Client Relations > Confidentiality of
Work Product > Waivers                                         Information
Evidence > Privileges > Attorney-Client Privilege >            [HN9] An attorney's communication to a client reporting
Waiver                                                         facts learned by the attorney from a third party is not
Legal Ethics > Client Relations > Confidentiality of           within the attorney-client privilege unless the informa-
Information                                                    tion is included in legal analysis or advice communicated
[JHN5] The consequence of disclosure to third parties on       to the client.
the work-product doctrine is substantially different from
the consequence of such disclosure on the attorney-client
privilege. Voluntary disclosure to a party outside the         Evidence > Privileges > Attorney-Client Privilege >
privilege destroys the attorney-client privilege because it    General Overview
destroys the confidentiality of the communication. Dis-        Evidence > Privileges > Government Privileges > Gen-
closure of material protected by the work-product doc-         eral Overview
trine, however, results in a waiver of the protection af-      Legal Ethics > Client Relations > Confidentiality of
forded by that doctrine only when the disclosure is to an      Information
adversary or materially increases the likelihood of dis-       [JN10O] An investigative report is not privileged merely
closure to an adversary.                                       because an investigation was conducted by an attorney.
                                                               A lawyer's communication is not cloaked with privilege
                                                               when the lawyer is hired for business or personal advice,
Civil Procedure > Discovery > Privileged Matters >             or to do the work of a non lawyer. Yet it is also the case
Work Product > General Overview                                that, while information received from third persons may
                                                               not itself be privileged, a lawyer's communication to a


                                                                                                                   Page 2
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client that includes such information in its legal analysis     privacy in which a lawyer can prepare and develop legal
and advice may stand on a different footing. The critical       theories and strategy with an eye toward litigation, free
inquiry is whether, viewing the lawyer's communication          from unnecessary intrusion by his adversaries. Like the
in its full content and context, it was made in order to        attorney-client privilege, the party asserting the protec-
render legal advice or services to the client.                  tion of the work-product doctrine bears the burden of
                                                                proof.

Evidence > Privileges > Attorney-Client Privilege >
General Overview                                                Civil Procedure > Discovery > Privileged Matters >
Legal Ethics > Client Relations > Confidentiality of            Work Product > General Overview
Information                                                     [HN1 5] Three conditions must be met to earn work
 [HIN I11I Drafts of documents prepared by an attorney for      product protection. The material must (1) be a document
transmission to third parties are protected by the attor-       or tangible thing, (2) that was prepared in anticipation of
ney-client privilege only where the draft document con-         litigation, and (3) was prepared by or for a party, or by or
tains confidential information communicated by the cli-         for his representative.
ent to the attorney that is maintained in confidence. A
draft is not privileged simply because it is prepared by an
attorney.                                                       Civil Procedure > Discovery > Methods > General
                                                                Overview
                                                                Civil Procedure > Discovery > Privileged Matters >
Civil Procedure > Discovery > Methods > Requests for             Work Product > General Overview
Production & Inspection                                         [HN16] The text of Fed. R. Civ. P. 26(b)(3) does not
Civil Procedure > Discovery > Privileged Matters >              limit its protection to materials prepared to assist at trial.
Work Product > Scope                                            To the contrary, the text of the rule clearly sweeps more
[HNI2] Fed. R. Civ P. 26(b)(3) provides: A party may            broadly. It expressly states that work-product privilege
obtain discovery of documents and tangible things oth-          applies not only to documents prepared for trial but also
erwise discoverable under subdivision (b)(1) of this rule       to those prepared in anticipation of litigation.
and prepared in anticipation of litigation or for trial by or
for another party or by or for that other party's represen-
tative, including the other party's attorney, consultant,       Civil Procedure > Discovery > Privileged Matters >
surety, indemnitor, insurer, or agent, only upon a show-        Work Product > General Overview
ing that the party seeking discovery has substantial need       [IN 17] The appropriate test for assessing the second
of the materials in the preparation of the party's case and     element of the work product test is whether in light of the
that the party is unable without undue hardship to obtain       nature of the document and the factual situation in the
the substantial equivalent of the materials by other            particular case, the document can fairly be said to have
means. In ordering discovery of such materials when the         been prepared or obtained because of the prospect of
required showing has been made, the court shall protect         litigation.
against disclosure of the mental impressions, conclu-
sions, opinions, or legal theories of an attorney or other
representative of a party concerning the litigation.            Civil Procedure > Discovery > Methods > General
                                                                Overview
                                                                Civil Procedure > Discovery > Privileged Matters >
Civil Procedure > Discovery > Privileged Matters >              Work Product > General Overview
Work Product > General Overview                                 [HIN 18] As to the third element of the work product doc-
[IN 13] The applicability of the work-product doctrine is       trine, the language of Fed. R. Civ. P. 26(b)(3) itself
exclusively governed by federal law.                            grants protection to documents and tangible things pre-
                                                                pared by or for another party or by or for the other party's
                                                                representative, including the other party's attorney, con-
Civil Procedure > Discovery > Privileged Matters >              sultant, surety, indemnitor, insurer, or agent.
Work Product > General Overview
Evidence > Privileges > Attorney-Client Privilege >
Scope                                                           Civil Procedure > Discovery > Privileged Matters >
[HN 14] In contrast to the attorney-client privilege, which     Work Product > Opinion Work Product
is intended to encourage full disclosure by the client, the     [HN19] Finally, where the applicability of the work-
work-product doctrine is intended to preserve a zone of         product doctrine has been established, factual material


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may, nevertheless, be ordered produced upon a showing
of substantial need and inability to obtain the equivalent      Evidence > Privileges > Attorney-Client Privilege >
without undue hardship. However, where the material in          General Overview
issue discloses the mental impressions, conclusions,            Legal Ethics > Client Relations > Confidentiality of
opinions or legal theories of an attorney or other repre-       Information
sentative of the party, a far greater showing is required to    [HN24] Only those communications made in the course
pierce the doctrine's protection, and there is some author-     of an ongoing common enterprise and intended to further
ity that the protection afforded such opinion work prod-        the enterprise are protected by the joint defense privilege.
uct may be absolute.                                            The need to protect the free flow of information from
                                                                client to attorney logically exists whenever multiple cli-
                                                                ents share a common interest about a legal matter. It is
Civil Procedure > Discovery > Privileged Matters >              therefore unnecessary that there be actual litigation in
Work Product > General Overview                                 progress for the common interest rule of the attorney-
[HN20] Whether material is prepared "in anticipation of         client privilege to apply.
litigation" turns on whether the preparing party had a
unilateral belief that litigation was likely and whether the
belief was reasonable.                                          Evidence > Privileges > Attorney-Client Privilege >
                                                                General Overview
                                                                Legal Ethics > Client Relations > Confidentiality of
Civil Procedure > Discovery > Methods > General                 Information
Overview                                                        [HN25] The common interest rule may apply where mul-
Ci vil Procedure > Discovery > Privileged Matters >             tiple parties are represented by multiple counsel so long
Work Product > General Overview                                 as the parties share a common interest in a legal matter.
[1HN2 1] Beyond applying to documents prepared by at-
torneys, the work product privilege applies also to docu-
ments prepared by a "party" and "representatives" of that       Civil Procedure > Discovery > Privileged Matters >
party, including consultants, sureties, indemnitors, insur-     Work Product> Waivers
ers and agents. Fed. R. Civ. P. 26(b)(3).                       [HN26] The concept underling the common interest rule
                                                                is inherent in the work-product doctrine's waiver rule.

Civil Procedure > Discovery > Privileged Matters >              COUNSEL: [*1] For ECDC ENVIRONMENTAL,
Work Product > General Overview                                 L.C., plaintiff: Stuart A. Summit, Phillips Nizer Benja-
[HN22] Otherwise protected documents do not lose their          min Krim & Ballon LLP, New York, NY.
work product status merely because they contain factual
information. If a document constitutes protected work           For NEW YORK MARINE AND GENERAL
product, the party possessing the document generally            INSURANCE COMPANY, defendant: John J. Hession,
need not produce it , even if the document contains only        Dougherty, Ryan, mahoney, Pellegrino, Giuffra & Zam-
factual information. However, because the work product          bito, New York, NY.
privilege does not protect the facts in that document, the
party seeking those facts may obtain them through other         JUDGES: HENRY PITMAN, United States Magistrate
means of discovery, such as through depositions and             Judge.
interrogatories.
                                                                OPINION BY: HENRY PITMAN

Evidence > Privileges > Attorney-Client Privilege >             OPINION:
 Waiver
                                                                     OPINION AND ORDER
Legal Ethics > Client Relations > Confidentiality of
Information                                                         PITMAN, United States Magistrate Judge:
 [HN23] The joint defense privilege or common interest
rule is not really a separate privilege. Rather, it is a lim-   I. Introduction
ited exception to the general rule that the attorney-client
privilege is waived when a protected communication is                This matter has been referred to me by the Honor-
disclosed to a third party outside the attorney-client rela-    able Barbara S. Jones, United States District Judge, for
tionship.                                                       the resolution of discovery disputes. Presently before me
                                                                is the parties' dispute concerning certain documents



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withheld by plaintiff on the grounds of the attorney-           plaintiff is liable, up to a limit of $ 10,000,000 and sub-
client privilege and work-product doctrine.                     ject to a $ 20,000 deductible.
     On April 9. 1998. I held a conference with counsel              In October, 1995, while off the coast of South Caro-
and advised them that the materials they had previously         lina, the Patricia Sheridan encountered rough seas and
submitted were insufficient to permit the Court to make a       developed a list. As a result of the list and the ocean con-
reasoned determination of their disputes. Defendant had         ditions, the [*4] master of the tug intentionally grounded
not identified the particular documents to which its par-       the barge near Charleston harbor. Shortly thereafter, ap-
ticular arguments were directed, and plaintiff had not          proximately 3,000 tons of the 12,000 tons of spoils on
submitted the evidentiary material essential to sustain a       board the Patricia Sheridan spilled into the ocean.
claim of privilege See generally United States v. Ameri-
                                                                     This spill gave rise to a number of disputes. First,
can Soc'y [*2] of Composers, Authors & Publishers.
1996 U.S. Dist. LEXIS 16201, No. Civ. 13-95, 1996 WL            within days of the grounding, the barge's owner, Sheri-
                                                                dan, gave written notice to plaintiff that it would hold
633220 at *2 (S.D.N.Y. Nov. 1, 1996); Payless Shoe-
source, Inc. v. 174-176 Canal Street, L.P., 1996 U.S.           plaintiff liable for all damages resulting from the ground-
                                                                ing and for all work necessary to enable the Patricia
Dist. LEXIS 22089. 95 Civ. 4993 (JFK)(DFE), 1996 WL
                                                                Sheridan to complete its voyage. This dispute is currently
185712 (S.D.N.Y. April 17, 1996); Bowne of New York
                                                                in arbitration.
City, Inc. v. AmBase Corp., 150 F.R.D. 465. 475
(S.D.N.Y. 1993) Grossman v. Schwarz. 125 F.R.D. 376,                Second, On October 23, 1995 -- ten days after the
390 (S.D.N.Y. 1989). Accordingly, I set a schedule at           grounding -- the Army Corps of Engineers wrote to the
that time for further submissions by both sides which           Port Authority, plaintiff and Sheridan, expressing con-
required the matter to be fully submitted by April 22,          cern about the environmental and navigational conse-
 1998. Pursuant to that schedule, both plaintiff and defen-     quences of the spill and directing that certain sampling
dant have supplemented their submissions.                       be done (Ex. F to the Affidavit of Mark C. Kelly, sworn
                                                                to March 13, 1998 ("Kelly Aff")).
11. Background Facts
                                                                     Approximately seven weeks later, on December 18,
      In order to understand the parties' privilege dispute,    1995, the United States Coast Guard formally ordered
it is helpful to review the facts giving rise to this litiga-   plaintiff to remove the spilled material from the harbor
tion                                                            bottom (Kelly Aff., Ex. I). On January 4, 1996, plaintiff
                                                                submitted a plan to the Coast Guard for the remediation
     This is a diversity action challenging defendant's de-
                                                                of the area. [*5] This plan was rejected by the Coast
nial of coverage under a marine insurance policy issued
                                                                Guard, and pursuant to Section 106 of the Comprehen-
to plaintiff The action has its genesis in events occurring
                                                                sive Environmental Response, Compensation and Liabil-
in mid 1995. At that time, plaintiff and its joint venturer
                                                                ity Act ("CERCLA"), 42 U.S.C. ~ 9606. the Coast
entered into a contract with the Port Authority of New
                                                                Guard issued an Order on January 10, 1996, requiring the
York and New Jersey ("Port Authority") under which
                                                                dredging of approximately four acres of ocean floor.
plaintiff was to dredge a section of New York Harbor
                                                                Although dredging was commenced expeditiously, issues
adjacent to Staten Island's Howland Hook [*3] Terminal
                                                                concerning the adequacy of post-dredging testing de-
and to dispose of the dredged material, known as "spoils"
                                                                layed the completion of the project until August, 1996.
(the "Howland Hook Project"). The spoils were to be
                                                                Plaintiff claims that it disagreed with the Coast Guard's
transported by barge from New York to Texas. From
Texas, the spoils were to be shipped by rail to Utah for        determination that dredging was necessary. Plaintiff nev-
                                                                ertheless complied with the order because non-
final disposal in a landfill.
                                                                compliance would have subjected plaintiff to treble dam-
     In order to perform its contract with the Port Author-     ages and CERCLA does not permit a Section 106 order
ity, plaintiff entered into a charter party with Sheridan       to be challenged until after it has been carried out. See
Transportation Company ("Sheridan") under which                 generally 42 U.S.C. §9606(b)(2)(A).
plaintiff chartered the barge "Patricia Sheridan" to trans-
                                                                     Finally, plaintiff gave defendant notice of the acci-
port the spoils. Pursuant to the requirements of the char-
                                                                dent on the day the grounding occurred and sought cov-
ter party, plaintiff applied for and was issued a marine
                                                                erage under the marine insurance policy. Defendant,
insurance policy by defendant to provide liability insur-
                                                                through it's counsel, formally reserved its rights in Janu-
ance for plaintiff and its affiliated entities in connection
                                                                ary 1996 (Ex. A to the Affidavit of Stuart Summit, sworn
with ocean transport of the spoils. As alleged by plaintiff,
                                                                to April 22, 1998 ("Summit Aff.")). The following
the policy requires defendant to indemnify plaintiff for
                                                                month, defendant disclaimed all coverage, claiming [*6]
all sums, including legal and investigative costs, result-
                                                                in principal part that plaintiff had made material misrep-
ing from any accident to a chartered vessel for which
                                                                resentations and omissions in its application for insur-


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ance, thereby invalidating the policy (Summit Aff. Ex.        obtaining or providing legal advice or services to the
B).                                                           client." Bowne of New York City. Inc. v. AmBase Corp..
                                                              supra, 150 F.R.D. at 470-71. "The privilege is intended
1I1. Analysis                                                 to encourage clients to be forthcoming and candid with
                                                              their attorneys so that the attorney is sufficiently well-
     Defendant challenges plaintiffs assertions of the at-
                                                              informed to provide sound legal advice." United States v.
torney-client privilege on three different grounds and
                                                              Adlman, 68 F.3d 1495. 1499 (2d Cir. 1995). The propo-
challenges the assertion of the work-product doctrine on
                                                              nent of the privilege bears the burden of establishing
two different grounds. Finally, defendant also challenges
                                                              those facts that are essential to a privileged relationship.
plaintiff s assertion of the "common interest privilege."
                                                              von Bulow by Auersperg v. von Bulow. 811 F.2d 136.
     In addition to plaintiffs documents, the present mo-     144 (2d Cir. 1987):, In re Grand Jury Subpoena Dated
tion also challenges certain documents that have been         Jan. 4. 1984, 750 F.2d 223. 224 (2d Cir. 1984): In re
withheld by Lawler, Matusky & Skelly, plaintiff s con-        Horowitz. 482 F.2d 72. 82 (2d Cir. 1.973).
sultants (the "Lawler Matusky Documents").
                                                                   Although it is clear that the proponent of the privi-
    A. Attorney-Client Privilege                              lege ultimately bears the burden of proving all essential
                                                              facts necessary to sustain a claim of privilege, the law is
     1. Choice of Law
                                                              not entirely clear [*9] as to how this burden may be dis-
     Since this is [HNI] a diversity action in which state    charged where, as here, the proponent has served a de-
law supplies the rules of decision, state law controls        tailed index of documents withheld, and the challenger
privilege issues. Rule 501. Fed.R.Evid.; Dixon v. 80 Pine     has submitted specific challenges. Apart from the spe-
Street Corp., 516 F.2d 1278, 1280 (2d Cir. 1975); Bowne       cific challenges made in its motion, defendant does not
of New York City. Inc. v. AmBase Corp.. supra. 150            generally challenge the adequacy of plaintiff s index.
F.R.D. at 470. Neither party has addressed the question
                                                                   Under these circumstances, it appears that [HN144
of which state's law should apply. Since at least two of
                                                              the proponent of the privilege may satisfy its burden by
the law firms representing plaintiff -- Kelly & Roth and
                                                              submitting evidentiary material as to the challenged ele-
Phillips Nizer Benjamin [*7] Krim & Ballon LLP -- are
                                                              ments only. Requiring the proponent to submit eviden-
located in New York, I shall apply the law of New York
                                                              tiary material to prove all elements of the privilege in
State concerning the privilege. See Golden Trade S.r.L.
                                                              response to a specific challenge unduly burdens and
v. Lee Apparel Co.. 143 F.R.D. 514. 521 (S.D.N.Y.
                                                              wastes the time of both the Court and the parties. A party
1992)                                                         asserting a claim of privilege is obligated to prepare an
      [HN2] Although New York has enacted a statute           index of withheld documents, which must provide suffi-
defining the attorney-client privilege, N.Y. C.P.L.R. ~       cient information "to assess the applicability of the privi-
4503, the New York Court of Appeals has described the         lege or protection." Fed.R.Civ.P. 26(b)(5). Thus, a party
statute as a "'.mere re-enactment of the common-law           challenging an assertion of privilege is given the infor-
rule."' Spectrum Sys. Int'l Corp. v. Chemical Bank, 78        mation necessary to state the grounds of its challenge and
N.Y.2d 371. 377. 581 N.E.2d 1055. 1060. 575 N.Y.S.2d          is not left to guess at the nature of what's being withheld
809. 814 (1991). quoting Hurlburt v. Huriburt, 128 N.Y.       and why. Since the challenger is given this information,
420, 424. 28 N.E. 651. 652 (1891). Thus, "New York            there is no logic or efficiency in requiring the proponent
law governing the attorney-client privilege is generally      [*10] of a privilege or the Court to address matters
similar to accepted federal doctrine, albeit with certain     which are not contested by the challenger. See generally
variants. .. ." Bowne of New York City. Inc. v. AmBase        In re Grand Jury Investigation. 974 F.2d 1068, 1071 (9th
Corp., supra, 150 F.R.D. at 470. See also Niesig v. Team      Cir. 1992) Bowne of New York City. Inc. v. AmBase
1, 149 A.D.2d 94. 101. 545 N.Y.S.2d 153. 156-57 (2d           Corp.. supra. 150 F.R.D. at 474; Golden Trade. S.r.L. v.
Dep't 1989), affd, 76 N.Y.2d 363, 558 N.E.2d 1030. 559        Lee Apparel Co.. 1992 U.S. Dist. LEXIS 17739, 90 Civ.
N.Y.S.2d 493 (1990).                                          6291 (JMC), 1.992 WL 367070 at *5 (S.D.N.Y. Nov. 20,
                                                               1992). Accordingly, I limit my analysis here to the spe-
      [HN3] The attorney-client privilege protects "confi-    cific challenges made by defendant and the specific re-
dential disclosures by a client to an attorney made in
                                                              sponses made by plaintiff.
order to obtain legal assistance." Fisher v. United States,
425 U.S. 391. 403. 48 L. Ed. 2d 39. 96 S. [*8] Ct. 1569           2. Documents From, or Disclosed to, Consultants
(1976). "To sustain a claim of privilege, the party invok-
                                                                   Defendant first claims that the attorney-client privi-
ing it must demonstrate that the information at issue was
                                                              lege has been waived with respect to documents that
a communication between client and counsel or his em-
                                                              have been disclosed to third-party independent contrac-
ployee, that it was intended to be and was in fact kept
                                                              tors and documents that originated from such independ-
confidential, and that it was made in order to assist in


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ent contractors. The documents that are challenged on                    65, 66, 71, 72, 74, 78, 79, 82, 84, 86, 87, 88, 89,
the basis of disclosure to third-party independent con-                  90, 91, 95, 102, 103, 104, 107, 108, 112, 114,
tractors are documents G, P, 24, 34, 52, 74, 82, 84, 86,                 116, 119, 121, 122, 124, 125, 144, 147, and 148
87, 102, 103, 112, 137, 138, 146, 147, 148 and 153. The                  are being withheld as protected by both the attor-
documents that are challenged on the ground that they                    ney-client privilege and work-product doctrine.
originated from independent contractors are A, E, H, L,                  Documents 19, 22, 44, 75, 85, 92, 93, 99, 100,
S, 1, 4, 6, 9, 10, 11, 12, 15, 18, 19, 20, 21, 22, 26, 35, 39,           115, 126, 129, 130 and all the Lawler Matusky
41, 44, 47, 48, 49, 51, 58, 59, 64, 65, 66, 70, [*11] 71,                Documents are being withheld solely on the basis
72, 75, 78, 79, 81, 85, 88, 89, 90, 91, 92, 93, 95, 99, 100,             of the work-product doctrine.
 104, 107, 108, 109, 112, 114, 115, 116, 117, 119, 121,
 122, 124, 125, 126, 129, 130, 139, 140, 141, 142, 143,          [*131
 144, 145, 151, 153, 154 and the Lawler Matusky Docu-
                                                                      Plaintiff has submitted an affidavit attesting that all
ments.
                                                                 communications with and among the independent con-
     As a threshold matter, defendant's list of documents        tractors identified by defendant were confidential and
challenged on the ground of disclosure to or origination         that the contractors were instructed not to disclose these
from third parties appears inaccurate on its face. Accord-       communications to persons unrelated to plaintiff (Kelly
ing to plaintiffs index of withheld documents, the accu-         Aff. P 5 & Ex. A). Defendant has offered nothing in re-
racy of which is not challenged by defendant, several of         buttal. Thus, it appears that there can be no genuine issue
the challenged documents in this category (E, H, 11I and         that plaintiff s disclosure of work product did not result
49) were not disclosed to or did not originate from any of       in or increase the risk of disclosure to an adversary. Ac-
the alleged third parties identified by defendant. Accord-       cordingly, regardless of the validity of plaintiff s asser-
ingly, it appears that the factual predicate for defendant's     tion of the attorney-client privilege, defendant's disclo-
argument does not exist with respect to these documents.         sure argument does not effect plaintiffs assertion of the
                                                                 work-product doctrine.
     In addition, a large number of the challenged docu-
ments in this category are being withheld either solely on           Nevertheless, because defendant's categories overlap
the basis of the work-product doctrine or on the basis of        to some extent, I shall reach the merits of defendant's
the work-product doctrine in addition to the attorney-           argument as to all documents in this category.
client privilege. nI [HN5] The consequence of disclo-
                                                                      Based on the nature of their duties and their relation-
sure to third parties on the work-product doctrine is sub-
                                                                 ship to plaintiff or its attorneys, the third-party contrac-
stantially different from the consequence of such disclo-
                                                                 tors in issue here can be logically divided into three
sure on the attorney-client [* 12] privilege. In re Grand
                                                                 groups: (1) Timothy Dunlap and Peter Dunlap, (2) An-
Jury, 106 F.R.D. 255. 257 (D.N.H. 1985): Handgards,
                                                                 drew Eyer of General Engineering Laboratories, Susan
Inc. v. Johnson & Johnson. 413 F Supp. 926, 929 (N.D.
                                                                 Metzger of Lawler, Matusky & Skelly and Dan Wolter-
Cal. 1976) Voluntary disclosure to a party outside the
                                                                 ing of ENVIRON and [*141 (3) Robert Hughes of
privilege destroys the attorney-client privilege because it
                                                                 Hughes Brothers. n2
destroys the confidentiality of the communication. In re
Von Bulow. 828 F.2d 94. 102-03 (2d Cir. 1987): In re
Horowitz. supra. 482 F.2d at 81. Disclosure of material
                                                                              n2 Defendant also argues that disclosure of
protected by the work-product doctrine, however, results
in a waiver of the protection afforded by that doctrine                  documents to another consultant, C.R. Cushing of
only when the disclosure is to an adversary or materially                C.R. Cushing & Co., waived the attorney-client
                                                                         privilege. However, none of the documents chal-
increases the likelihood of disclosure to an adversary. In
reSteinhardt Partners, L.P., 9 F.3d 230. 234-35 (2d Cir.                 lenged by defendant on the basis of disclosure to
1993): In re Crqaz Eddie Sec. Litig.. 131 F.R.D. 374. 379                consultants were disclosed to Cushing. Accord-
(E.D.N.Y. 1990) ("The [work-product] privilege protects                  ingly, there is no issue concerning disclosure to
information 'against opposing parties, rather than against               Cushing.
all others outside a particular confidential relationship.'. .
  Counsel may therefore share work product . . . with                a. Timothy and Peter Dunlap
those having similar interests in fully preparing litigation
against a common adversary.")                                         Timothy and Peter Dunlap are the principals of a
                                                                 business development and marketing firm named Inno-
                                                                 vative Technology Associates (Affidavit of Peter
                                                                 Dunlap, sworn to April 22, 1998 ("Dunlap Aff.) P 5).
            n1 Documents A, G, 4, 9, 10, 11, 12, 15, 18,
        20, 21, 24, 26, 34, 39, 41, 47, 48, 52, 58, 59, 64,      Although the Dunlaps were not actual employees of
                                                                 plaintiff, they did serve as its agents. From the early

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1990's through November 1997, Timothy Dunlap was                   The Kelly Aff. describes their roles as follows:
plaintiffs Director of Business Development, had overall
                                                                           5. Four consulting firms assisted
responsible for managing plaintiffs response to the
                                                                      ECDC with respect to post-accident
Patricia Sheridan spill, was responsible for selecting and
                                                                      claims. They are: General Engineering
hiring attorneys after the spill to represent plaintiff with
                                                                      Laboratories ("GEL"), Lawler, Matusky
respect to anticipated [*15] litigation and authorized
                                                                      & Skelly ("Lawler Matusky"), ENVIRON
counsel to hire consultants to assist counsel in providing
                                                                      and C.R. Cushing & Co. Each were re-
strategic and tactical advice with respect to anticipated
                                                                      tained by counsel for a specific purpose,
litigation (Dunlap. Aff. PP 1-4; Affidavit of Stephen No-
                                                                      and each understood that it was part of the
ble, sworn to April 21, 1998 ("Noble Aff.") PP 3-4). Pe-
                                                                      ECDC defense team and that its commu-
ter Dunlap performed similar duties as the Project Man-
                                                                      nications with counsel (and each other)
ager for the Howland Hook Project, and both Dunlaps
                                                                      were privileged and confidential.
were authorized to use and did use plaintiff stationery
(Dunlap Aff. PP 7- 10; Summit Aff. PP 10-11 & Ex. D).
                                                                      GEL
Defendant offers no evidence to contradict these factual
assertions.                                                                 6. Only GEL performed post accident
                                                                      testing of sediment in and near Charleston
     The foregoing facts demonstrate that the Dunlaps
                                                                      Harbor. GEL also was involved in prepa-
were not only plaintiff s agents with respect to the
                                                                      ration of removal plans for Coast Guard
Howland Hook Project, they were the principal conduit
                                                                      review and approval. ECDC has produced
through which plaintiff communicated with counsel.
                                                                      all test results performed by GEL, as well
Since they are agents of the client, [HN6] disclosure to
                                                                      as all reports, plans and documents sub-
them of communications that are otherwise privileged
                                                                      mitted to the Coast Guard. Two docu-
does not result in a waiver, and their communications
                                                                      ments, at entries 22 and 44, are drafts of
with counsel are within the privilege so long as all the
                                                                      proposals to the Coast Guard that were
other requirements of the privilege are met. United
                                                                      sent to ECDC and counsel for its parent
States v. International Bhd. of Teamsters, 119 F.3d 210,
                                                                      [corporation]. The remaining privileged
2 14-15 (2d Cir. 1997): In re John Doe Corp., 675 F.2d
                                                                      documents identified as being sent to or
482. 488 (2d Cir. 1982): CSC Recovery Corp. v. Daido
                                                                      received from GEL representatives reflect
Steel Co., 1997 U.S. Dist. LEXIS 16346. [*16] 94 Civ.
                                                                      analysis performed by GEL for use by
9214 (LAP)(THK), 1997 WL 661122 at *3 (S.D.N.Y.
                                                                      counsel in challenging the Coast Guard's
Oct. 22, 1997); Golden Trade, S.r.L. v. Lee Apparel Co..
                                                                      direction, and later seeking reimburse-
supra. 143 F.R.D. at 518; People v. Osorio, 75 M.Y2d
                                                                      ment of the costs associated with the
80. 84. 549 N.E.2d 1183, 1185-86. 550 N.Y.S.2d 612.
                                                                      [*18] § 106 Order and administrative
614-15 (1989): Stroh v. General Motors Corp.. 213
                                                                      hearing that was scheduled.
A.D.2d 267, 268. 623 N.Y.S.2d 873. 874-75 (1st Dep't
 1995).
                                                                      Lawler Matusky
     Unfortunately, defendant has not specified which
                                                                           7. Lawler Matusky was retained by
documents it challenges solely on the ground of disclo-
                                                                      [plaintiffs lawyers, Kelly & Roth] months
sure to Timothy or Peter Dunlap. Based on my review of
                                                                      after the accident to provide analysis of
the index of withheld documents, it appears that docu-
                                                                      the Charleston sampling data and advice
ments L, P, S, 6, 9, 10, 15, 18, 21, 26, 34, 35, 39, 41, 44,
                                                                      on negotiations with Coast Guard person-
47, 48, 49, 51, 52, 58, 59, 64, 65, 66, 70, 71, 72, 74, 78,
                                                                      nel concerning the § 106 Order. Lawler
79, 81, 82, 84, 86, 87, 90, 91, 102, 114, 116, 117, 119,
                                                                      Matusky worked under the direction of
122, 138, 139, 140, 141, 142, 144, 146, 147, 148, 151,
                                                                      [Kelly & Roth] in its post-accident work. .
153 and 154 were challenged on the basis of disclosure
to the Dunlaps only. Since I find that the Dunlaps were
agents of plaintiff, their knowledge of and participation
                                                                      ENVIRON
in attorney-client communications did not waive the at-
torney-client privilege as to these documents.                             8. ENVIRON also was retained by
                                                                      [Kelly & Roth] to provide analysis of
     b. Eyer, Metzger and Woltering
                                                                      Charleston data after all dredging was
     These three consultants have relationships to plain-             completed. It has particular expertise in
tiff significantly different from that of the Dunlaps.                areas such as evaluating dioxins and as-
[*17]                                                                 sessing testing procedures in both sedi-


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       ments and biota, and in fields of risk as-                     would that of [a] linguist [in a case where
       sessment and natural resource damages.                         the lawyer and the client did not speak the
       The entries for documents prepared by                          same language]; the presence of the ac-
       and sent to ENVIRON personnel -- en-                           countant is necessary, or at least highly
       tries 75, 85, 93, 99, 112, 121, 124 and 125                    useful, for the effective consultation be-
       -- clearly reflect that the consultant per-                    tween the client and the lawyer which the
       formed its work under the direction of                         privilege is designed to permit. .. . What
       [Kelly & Roth].                                                is vital to the privilege is that the commu-
                                                                      nication be made in confidence for the
                                                                      purpose of obtaining legal advice from the
(Kelly Aff. PP 5-9).                                                  lawyer.
     The documents in this category that were disclosed
to or originated with Eyer are A, G, 22, 89, 95, 99, 104,
                                                               296 F.2d at 922 (emphasis in original). See also United
115, 121, 124, 130 and 137; the documents in this cate-
                                                              States v. Schwimmer. 892 F.2d 237. 243 (2d Cir. 1989)
gory that were disclosed to or originated [*19] with
                                                              [11N7] (the attorney-client [*21] privilege may cover
Metzger or Lawler Matusky are A, 88, 99, 100, 103, 112,
                                                               "communications made to certain agents of an attorney.
115, 121 and 124 and the documents in this category that
                                                                hired to assist in the rendition of legal services."); vLon
were disclosed to or originated with Woltering are A, 75,
                                                              Bulow by Auersperg v. von Bulow. supra. 811 F.2d at
85, 93, 99, 112, 121, 124 and 125.
                                                              146-47 (no privilege where putative agent unable to
      Kelly's affidavit makes clear that Eyer, Metzger and    demonstrate what communications were made to her in
Woltering were consultants to plaintiffs counsel, re-         confidence, in her capacity as an agent of attorney, for
tained to assist counsel in understanding and responding      the purpose of obtaining legal advice).
to the grounding of the barge and its aftermath. They
                                                                    United States Postal Serv. v. Phelps Dodge Ref.
were retained for their expertise concerning the effec-
                                                               Corp.. 852 F. Supp. 156 (E.D.N.Y. 1994). involved facts
tiveness of the clean-up. It does not appear that they were
                                                               very similar to those at issue here. In that case, the pur-
retained to explain or analyze any pre-existing confiden-
                                                               chaser of real property sued the vendor alleging breach
tial information in plaintiff s possession or control.
                                                               of certain warranties concerning the removal of toxic
     The seminal case in this Circuit concerning the ap-       waste from the property. The purchaser sought produc-
plicability of the attorney-client privilege to communica-     tion of communications with third-party consultants
tions disclosed to an attorney's consultant is United          hired by the vendor to conduct environmental studies of
States v. Kovel. 296 F.2d 918 (2d Cir. 1961). In Kovel,        the soil and to oversee remedial work, and defendant
the subject of a grand jury investigating federal income       objected, claiming attorney-client privilege.
tax violations (Hopps) had consulted with an attorney.
                                                                    The Court rejected the assertion of privilege, finding
Kovel, a former IRS agent with accounting skills, was
                                                               that the consultants had been retained primarily to pro-
employed by Hopps' attorney and apparently had some
                                                               vide technical services and not to interpret confidential
communications with Hopps regarding the tax conse-
                                                               client information. After noting that the consultants did
quences of certain transactions. Kovel refused to testify
                                                               not fall within any category previously held (*221 to be
[*20] before the grand jury concerning these conversa-
                                                               a Kovel agent, the Court explained:
tions and was held in contempt.
     The Court of Appeals, by Judge Friendly, reversed
the finding of contempt finding that disclosure to Kovel              [The consultants] were hired by defen-
did not necessarily waive the attorney-client privilege.              dants to formulate a remediation plan ac-
                                                                      ceptable to the [New York State Depart-
                                                                      ment of Environmental Control] and to
       [The] analogy of the client speaking a for-                    oversee remedial work at the Property.
       eign language is by no means irrelevant to                     Their function was not to put information
       the appeal at hand. Accounting concepts                        gained from defendants into usable form
       are a foreign language to some lawyers in                      for their attorneys to render legal advice,
       almost all cases, and to all lawyers in                        but rather, to collect information not ob-
       some cases. Hence, the presence of an ac-                      tainable directly from defendants....
       countant . .. While the client is relating a
       complicated tax story to the lawyer, ought
       not destroy the privilege, any more than


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            Defendants have made a claim of at-               115, 121, 124, 125, 130, 137 waived the attorney-client
       torney-client privilege that goes well be-             privilege to the extent it was applicable.
       yond the "outer boundary" of the privi-
                                                                  c. Hughes
       lege. Unlike the computer study at issue
       in [Federal Trade Comm'n v. TRW. Inc..                      Hughes' was plaintiffs marine broker. According to
       202 U.S. App. D.C. 207. 628 F.2d 207                   plaintiffs counsel, Mark Kelly:
       (D.C. Cir. 1980)1 which arguably was un-
       dertaken to assist the attorneys in litiga-
       tion, the studies and work performed by                       Mr. Hughes has been a client of my firm
       Hart and Conestoga-Rovers clearly served                      since 1987. I represent both ECDC and
       other purposes. Moreover, these consult-                      Hughes Brothers with respect to the
       ants based their opinions on factual and                      Howland Hook dredging project. The
       scientific evidence they generated through                    three documents in the logs [disclosed to
       studies and collected through observation                     Hughes] reflect confidential communica-
       of the physical condition of the Property,                    tions with me (or my partner, Bill Roth)
       information that did not come through cli-                    as counsel for both ECDC and Mr.
       ent confidences. Such [HN8] underlying                        Hughes and are therefore, I believe, sub-
       factual data can never be protected by the                    ject to the attorney-client privilege. In ad-
       attorney-client [*23] privilege and neither                   dition, as noted above, ECDC personnel
       can the resulting opinions and recommen-                      did not have maritime experience, and re-
       dations. There are few, if any, conceivable                   tained Mr. Hughes for his expertise. All
       circumstances where a scientist or engi-                      discussions with Mr. Hughes following
       neer employed to gather data should be                        the grounding [*25] of the Patricia Sheri-
       considered an agent within the scope of                       dan were strictly in defense of claims by
       the privilege since the information col-                       Sheridan, and were had with him solely in
       lected will generally be factual, obtained                    his capacity as agent for ECDC.
       from sources other than the client.

                                                              (Kelly Aff. at 14-15 (unnumbered paragraph). Defendant
                                                              has offered no evidence to the contrary.
 852 F. Sump. at 161-62. See also Occidental Chem.
Corp. v. OHM Remediation Serv. Corp.. 175 F.R.D. 431.              Defendant challenges only two documents on the
436-37 (W.D.N.Y. 1997) (following Phelps Dodge re             basis of their disclosure to Hughes: 12 and 143.
communications with environmental consultant); In re
                                                                   Since Hughes was plaintiffs agent, his role is indis-
Grand Jury Matter, 147 F.R.D. 82. 85-86 (E.D. Pa. 1992)
                                                              tinguishable from the Dunlap's. Accordingly, disclosure
(rejecting claim of attorney-client privilege concerning
communications with environmental consultant hired to         of communications to him did not waive the attorney-
assist client in achieving regulatory compliance).            client privilege.
                                                                  2. Documents from Counsel Communicating "Mere
      In this case, Eyer, Metzger, Woltering and their re-
spective firms, were hired to perform services identical      Facts"
to those performed by the consultants in Phelps Dodge,             Defendant next challenges a number of documents
namely analysis of test data and technical assistance con-    on the ground that they communicate "mere facts" from
cerning the clean-up. This conclusion is confirmed by         counsel, not involving counsel's opinions or legal advice.
my in camera review of the documents themselves. None         Defendant claims that such communications are not
of the withheld documents contain technical information       privileged. The documents in this category are 0, 25, 35,
from plaintiff transmitted [*24] to a consultant to 'trans-   45, 56, 82, 153 and 154. n3
late" for the benefit of plaintiffs attorneys. To the con-
trary, most of the documents appear to relate to test data
that was either not confidential or did not originate with                n3 Although defendant also includes Docu-
plaintiff.                                                           ment M in this category, Document M is a draft
     Thus, I find that Eyer, Metzger, Woltering and their            of a letter to a third party and is more appropri-
respective firms are not consultants within the attorney-            ately considered in the category of draft docu-
client privilege, and that disclosure to them of documents           ments prepared by counsel. See pages 26-28, be-
A, G, 22, 75, 85, 88, 89, 93, 95, 99, 100, 103, 104, 112,            low.



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     [*26] [HN9]                                                   I have reviewed in camera the documents challenged
                                                              by defendant in this category. I find that documents 0,
     An attorney's communication to a client reporting
facts learned by the attorney from a third party is not       45, 56 (duplicate of document [*28] 0), 82, 153 and 154
                                                              are not within the attorney-client privilege. These docu-
within the attorney-client privilege unless the informa-
                                                              ments merely convey factual information to plaintiff
tion is included in legal analysis or advice communicated
                                                              without any legal analysis or legal advice. The docu-
to the client. As the New York Court of Appeals ex-
                                                              ments convey unprotected information concerning the
plained in Spectrum Sys. Int'l Corp. v. Chemical Bank.
                                                              status of clean-up efforts, billing by third-party vendors
supra. 78 N.Y.2d at 379. 581 N.E.2d at 1061. 575
                                                              and other similar information. Documents 25 and 35, on
N.Y.S.2d at 815:
                                                              the other hand, are protected by the attorney-client privi-
                                                              lege because they evidence counsel's advice and analysis.
                                                                   Accordingly, documents 0, 45, 56 (duplicate of
        Nor is [HN1I0] [an investigative] report
                                                               document 0), 82, 153 and 154 are not protected commu-
        privileged merely because an investiga-
                                                               nications within the attorney-client privilege; documents
        tion was conducted by an attorney; a law-
                                                               25 and 35 are within the privilege.
        yer's communication is not cloaked with
        privilege when the lawyer is hired for                     3. Draft Documents
        business or personal advice, or to do the
                                                                    Defendant next contends that drafts of documents
        work of a nonlawyer ( People v Belge. 59
                                                               that do not contain confidential information supplied by
        A.D.2d 307. 308-09, 399 N.Y.S.2d 539).
                                                               the client are not within the attorney-client privilege.
        Yet it is also the case that, while informa-
                                                               Defendant challenges documents M, 53, 103 and 114 on
        tion received from third persons may not
                                                               this ground. All these documents have been withheld on
        itself be privileged (see, Kenford Co. v.
                                                               the grounds of both the attorney-client privilege and
        County of Erie. 55 A.D.2d 466. 390
                                                               work-product doctrine.
        N.Y.S.2d 715) a lawyer's communication
        to a client that includes such information                   [RN 11] Drafts of documents prepared by an attor-
        in its legal analysis and advice may stand             ney for transmission to third parties are protected by the
        on a different footing. The critical inquiry           attorney-client privilege only where the draft document
        is whether, viewing the lawyer's commu-                contains confidential [*29] information communicated
        nication in its full content and context, it           by the client to the attorney that is maintained in confi-
        was made in order to render legal advice               dence. In re Grand Jury Subpoena. 731 F.2d 1032, 1037
        or services to the client.                             (2d Cir. 1984):, Asset Value Fund Ltd. Partnership v.
                                                               Care Group. Inc.. 1997 U.S. Dist. LEXIS 17968, 97 Civ.
[*27]                                                          1487 (DLC)(JCF), 1997 WL 706320 at *6 (S.D.N.Y.
                                                               Nov. 12, 1997); In re Kidder Peabody Sec. Litig.. 168
See Kenford Co. v. County of Erie. 55 A.D.2d 466, 469.         F.R.D. 459. 474 (S.D.N.Y. 1996): Sequa Corp. v.
390 N.Y.S.2d 715. 718 (4th Dep't 1977) (Cardamone, J.)         Gelmin. 1994 U.S. Dist. LEXIS 14005, 91 Civ. 8675
("It has long been settled that information received by the    (CSH). 1994 WL 538124 at *3 (S.D.N.Y. Oct. 3, 1994);
attorney from other persons and sources while acting on        United States Postal Serv. v. Phelps Dodfge Ref. Corp.,
behalf of a client do not come within the attorney-client      supra. 852 F. Supp. at 162-63: Bowne of New York City,
privilege."); see also Carte Blanche (Sinzapore) Pte.,         Inc. v. AmBase Corp.. supra. 150 F.R.D. at 490. A draft
Ltd. v. Diners Club Int'l. Inc.. 130 F.R.D. 28. 33             is not privileged simply because it is prepared by an at-
 (S.D.N.Y. 1990) ("The [attorney-client] privilege gives       torney. Bowne of New York City, Inc. v. AmBase
way when the attorney merely communicates informa-             Corp.. supra. 150 F.R.D. at 490.
tion obtained from independent sources."); Standard
Chartered Bank v. Ayala Int'l Holdings Inc.. 111 F.R.D.             I have reviewed the four documents in issue in cam-
76. 80 (S.D.N.Y. 1986) ("The [attorney-client] privilege       era. No client confidences are apparent from the docu-
does not protect facts which an attorney obtains from          ments themselves, and plaintiff has submitted no eviden-
independent sources and then conveys to his client.");         tiary material suggesting the presence of confidential
Barber v. Town of Northumberland. 88 A.D.2d 712, 71.3.         client information that was ultimately maintained in con-
451 N.Y.S.2d 291, 293 (3rd Dep't 1982) ("If the subject        fidence. Since plaintiff bears the burden of proving these
sought to be disclosed is information obtained by an at-       elements, its claim of attorney-client privilege must fail.
torney and conveyed to a client or witness by the attor-           Accordingly, I find that Documents M, [*30] 53,
ney, it will not be protected as privileged.")                 103 and 114 are not within the attorney-client privilege.
                                                                   B. The Work-Product Doctrine

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    1. Applicable Standards                                    132392 at *2 (S.D.N.Y. April 11, 1994); 1 M.Silberberg,
                                                               Civil Practice in the Southern [*32] District of New
    The scope of the work-product doctrine is set forth
                                                               York, § 15.04 at 15-11 (1995).
in [HN12] Fed.R.Civ.P. 26(b)(3):
                                                                    The Court of Appeals for the Second Circuit has re-
                                                               cently explained that the second element of this test does
                                                               not limit the doctrine to documents prepared primarily or
       [A] party may obtain discovery of docu-
       ments and tangible things otherwise dis-                exclusively to assist in litigation:
       coverable under subdivision (b)(1) of this                            [HN16] The text of Rule 26(b)(3)
       rule and prepared in anticipation of litiga-                   does not limit its protection to materials
       tion or for trial by or for another party or                   prepared to assist at trial. To the contrary,
       by or for that other party's representative                    the text of the Rule clearly sweeps more
       (including the other party's attorney, con-                    broadly. It expressly states that work-
       sultant, surety, indemnitor, insurer, or                       product privilege applies not only to
       agent) only upon a showing that the party                      documents "prepared . . . for trial" but
       seeking discovery has substantial need of                      also to those prepared "in anticipation of
       the materials in the preparation of the                        litigation." If the drafters of the Rule in-
       party's case and that the party is unable                      tended to limit its protection to documents
       without undue hardship to obtain the sub-                      made to assist in preparation for litigation,
       stantial equivalent of the materials by                        this would have been adequately con-
       other means. In ordering discovery of                          veyed by the phrase "prepared . . . for
       such materials when the required showing                       trial." The fact that documents prepared
       has been made, the court shall protect                         "in anticipation of litigation" were also in-
       against disclosure of the mental impres-                       cluded confirms that the drafters consid-
       sions, conclusions, opinions, or legal                         ered this to be a different, and broader
       theories of an attorney or other represen-                     category. Nothing in the Rule states or
       tative of a party concerning the litigation.                   suggests that documents prepared "in an-
                                                                      ticipation of litigation" with the purpose
                                                                      of assisting in the making of a business
 [HN1 3] The applicability of the work-product doctrine               decision do not fall within its scope.
is exclusively governed by federal law. Bowne of New
York City. Inc. [*31]     v. AmBase Corp.. supra. 150
F.R.D. at 471.
                                                                United States v. Adlman, supra. 134 [*33] F.3d at.1198-
      [I-NI4] In contrast to the attorney-client privilege,    99. Thus, [HNl17] the appropriate test for assessing the
which is intended to encourage full disclosure by the          second element of the test is whether "'in light of the
client, the work-product doctrine "is intended to preserve     nature of the document and the factual situation in the
a zone of privacy in which a lawyer can prepare and de-        particular case, the document can fairly be said to have
velop legal theories and strategy 'with an eye toward          been prepared or obtained because of the prospect of
litigation,' free from unnecessary intrusion by his adver-     litigation."' United States v. Adlman. supra. 134 F.3d at
saries." United States v. Adlmnan. 134 F.3d 1194. 1196         1202, quoting 8 C.Wright, A. Miller & R. Marcus, Fed-
(2d Cir. 1998). Like the attorney-client privilege, the        eral Practice & Procedure § 2024 at 343 (1994).
party asserting the protection of the work-product doc-
trine bears the burden of proof. In re Grand Jury Sub-               IHN18] As to the third element, the language of
                                                               Rule 26(b)(3) itself grants protection to documents and
poena Dated December 19. 1978. 599 F.2d 504, 510 (2d
                                                               tangible things prepared "by or for another party or by or
Cir. 1979).
                                                               for the other party's representative (including the other
      [HN 15] "Three conditions must be met to earn work       party's attorney, consultant, surety, indemnitor, insurer,
product protection. The material must (1) be a document        or agent)." As the Supreme Court noted in United States
or tangible thing, (2) that was prepared in anticipation of    v. Nobles. 422 U.S. 225, 238-39. 45 L. Ed. 2d 141. 95 S.
litigation, and (3) was prepared by or for a party, or by or   Ct. 2160 (1975):
for his representative." In Re Grand Jury Subpoenas
Dated December 18. 1981 & Januar 4. 1982. 561 F.
Supp. 1247, 1257 (E.D.N.Y. 1982) (McLaughlin, J.).
Accord Weinhold v. Witte Heavy Lift. Inc., 1994 U.S.                  The [work-product] doctrine is an in-
                                                                      tensely practical one, grounded in the re-
Dist. LEXIS 4559. 90 Civ. 2096 (PKL). 1994 WL
                                                                      alities of litigation in our adversary sys-

                                                                                                                  Page 12
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       tern. One of those realities is that attor-             counsel regarded their communications with counsel as
       neys often must rely on the assistance of               protected by the work-product doctrine (Muller Aff. PP
       investigators and other agents in the com-              4-7; Kelly Aft. PP 5-26). Based on my in camera review
       pilation of materials in preparation for                of the documents, plaintiffs characterization of them is
       trial. It is therefore necessary that the doc-          generally accurate.
       trine [*34] protect material prepared by
                                                                    Similar assertions of work product have been upheld
       agents for the attorney as well as those
                                                               by several courts. For example, in Bituminous Cas. Corp.
       prepared by the attorney himself.
                                                               v. Tonka Corp.. 140 :F.R.D. 381 (D. Minn. 1992). an
      [HNI919 Finally, where the applicability of the          insurance company sought a declaratory judgment that
work-product doctrine has been established, factual ma-        certain pollution clean-up costs were not covered claims.
terial may, nevertheless, be ordered produced "upon a          Prior to the insurer's litigation, the Minnesota Pollution
showing of substantial need and inability to obtain the        Control Agency ("MPCA") contacted Tonka concerning
equivalent without undue hardship." Upjohn Co. v.              the site in issue, and Tonka's counsel retained an envi-
United States. 449 U.S. 383. 400, 66 L. Ed. 2d 584. 101        ronmental consultant to respond to the MPCA's inquiries.
S. Ct. 677 (1981) However, where the material in issue         Tonka was able to resolve the issue with the MPCA
discloses the mental impressions, conclusions, opinions        without litigation.
or legal theories of an attorney or other representative of
                                                                    Tonka, in response to the insurance company's re-
the party, a far greater showing is required to pierce the
                                                               quest for production, objected and asserted the work-
doctrine's protection, and there is some authority that the
                                                               product doctrine with respect to tis communications with
protection afforded such opinion work product may be
                                                               the environmental consultant. The Court upheld this ob-
absolute. See generally Upjohn Co. v. United States.
                                                               jection, stating: [*37]
supra. 449 U.S. at 400-02; Hickman v. Taylor. 329 U.S.
495. 510-13, 91 L. Ed. 451. 67 S. Ct. 385 (1947): United                    In February, 1985, Tonka's counsel
States v. Adiman. supra. 134 F.3d at 1204.                             retained Barr Engineering and apparently
                                                                       hired other consultants to conduct investi-
     2. Documents Purportedly Not Prepared In Anticipa-
                                                                       gations and prepare reports responsive to
tion of Litigation
                                                                       MPCA directives. This court finds that the
    Plaintiff first challenges the assertion of the work-              consultants' preliminary drafts of docu-
product doctrine with respect to documents C, D, G, H, I,              ments which were ultimately submitted to
J, M, N, 0, T, U, V, W, X, 4, [*35] 9, 10, 11, 12, 13,                 the MPCA and the underlying data for
14, 16, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 32, 34,            those documents are the fruits of counsel's
36, 37, 44, 45, 46, 47, 48, 49, 50, 52, 53, 56, 58, 59, 61,            investigative endeavors. It follows that
62, 64, 65, 66, 67, 68, 71, 72, 74, 75, 78, 79, 80, 82, 84,            communications among Tonka, its coun-
85, 86, 87, 88, 89, 90, 91, 92, 93, 94, 95, 99, 100, 102,              sel and consultants necessary to facilitate
103, 104, 106, 107, 108, 110, 112, 114, 116, 119, 121,                 the investigative and remedial process fall
122, 123, 124, 125, 126, 129, 130, 147, 149, 157, 158,                 under the scope of counsel's investigative
159 and the Lawler Matusky Documents.                                  endeavor. The key issue with respect to
                                                                       the applicability of the work product doc-
     The documents in issue are all dated after the Octo-              trine is whether counsel's investigation
ber 1995 grounding of the Patricia Sheridan and were                   and Tonka's subsequent remedial meas-
circulated among plaintiffs counsel, the consultants and               ures were conducted in the course of
plaintiff. Each particular document is summarized in                   Tonka's ordinary business or in anticipa-
plaintiffs privilege log. For the most part, the documents             tion of litigation.
are communications concerning the status of clean-up
efforts, responses to inquiries from the Coast Guard and                    The court finds that the documents
lawyers' analyses of particular factual and/or legal issues.           the insurers seek, which were generated
Plaintiff has not attempted to justify the assertion of the            atter the MPCA's February 5, 1985, re-
work-product doctrine with respect to each individual                  quest to Tonka's lawyer, were generated
document. The principal factual assertions supporting                  in anticipation of litigation with the
plaintiffs claims of work product are set forth in the                 MPCA. The documents were not gener-
Kelly and Muller Affidavits which generally allege that                ated in the ordinary course of Tonka's
retention of the consultants was necessary for counsel to              business as is argued by the insurers. ...
provide legal [*36] advice to plaintiff, that the consult-
ants' work assisted counsel "in connection with an 'inves-
tigative endeavor' in anticipation of litigation" and that


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       Any action that a company takes in re-                 able."'), quoting Chiquita Int'l Ltd. v. M/V Bolero
       sponse to [*3 8] the MPCA's requests be-               Reefer. 1994 U.S. Dist. LEXIS 7455. 93 Civ. 0167
       fore and after designation of responsible              (LAP)(JCF), 1994 WL 263603 at *2 (S.D.N.Y. June 7,
       party status are. ... made under the strong            1994).
       prospect of future litigation over issues
       such as the propriety of the designation of                 Other cases reaching similar results with respect to
       responsible party status, the scope of the             the work of environmental consultants include Martin v.
       clean up and the adequacy of the clean up.             ~Bally's Park Place Hotel & Casino, 983 F.2d 1252 O3rd
       The fact that Tonka was able to avoid ac-              Cir. 1993); In re Pfohl Bros. Landfill Litig.. 175 F.R.D.
       tual litigation with the MPCA in this case             13 (W.D.N.Y. 1997) [*40] and Chemcentral/Grand Rap-
                                                              ids Corp. v. EPA. 1992 U.S. Dist. LEXIS 15149. 91 C
       does not mean that the efforts undertaken
       by Tonka's counsel and its consultants                 4380, 1992 WL 281322 at *4 (N.D. Ill. Oct. 6, 1992). n4
       were not done in anticipation of litigation.
                                                                            n4 Although Occidental Chemical Corp. v.
 140 F.R.D. at 389-90.                                                0OHM Remediation Serv. Corp.. 175 F.R.D. 431
                                                                      (W.D.N.Y. 1997) reached an opposite result, the
      Similarly, in Atlantic Richfield Co. v. Current Con-            Court in that case based its holding on the theory
trols. Inc.. 1997 U.S. Dist. LEXIS 13082. 93-CV-                      that a document must be prepared exclusively for
0950E(H), 1997 WL 538876 (W.D.N.Y. Aug. 21, 1997),                    litigation in order to constitute work product. 175
the Court upheld a work-product objection to a request                F.R.D. at 435. United States v. Adlrman. supra.
for communications with an environmental consultant                    134 F.3d 1194, expressly rejected this require-
retained after EPA and the New York State Department                  ment.
of Environmental Protection had commenced an investi-
gation. The Court found that Atlantic Richfield
("ARCO") had sustained its claim of work product be-                In light of the foregoing authorities, plaintiffs asser-
                                                              tions of the work-product doctrine are, for the most part,
cause
                                                              justified. The documents in issue were all prepared after
                                                              the Patricia Sheridan had run aground and after she had
                                                              accidentally discharged approximately 3,000 tons of
       [ARCO's] affidavits establish that when                 spoils dredged from the bottom of New York harbor.
       the subject documents were prepared,                   Given the magnitude of the spill and the fact that the
       ARCO held a subjective belief that litiga-             spoils originated from a major urban harbor that has been
       tion over contamination at the site might               actively used by all types of vessels for more than three
       ensue. In light of the surrounding circum-             hundred years, litigation [*41] would be a certainty
       stances -- including the EPA's [*39] ac-               unless clean up efforts were properly managed. See gen-
       tivities and the nature of environmental               erally 42 U.S.C. ~ 9607(a). Since the documents, for the
       law, which often leads to litigation involv-           most part, relate to the issues that would be at the core of
       ing numerous parties with past or present              the anticipated litigation, I find that they were prepared
       associations with contaminated property -              because of the anticipated litigation.
       - that belief was objectively reasonable.
       See Maertin v. Armstroneg World Indus-                       A few documents do not, however, meet this stan-
       tries, Inc., 172 F.R.D. 143. 149 (D.N.J.               dard. Documents W and X are correspondence between
       1997) (finding that the party asserting the            the Port Authority and counsel for plaintiff in which the
                                                              former requests copies of certain documents and the lat-
       work product privilege had demonstrated
       (1) that the documents at issue were pre-              ter transmits same. No legal analysis is included in these
       pared with a subjective belief that litiga-            letters nor do they disclose, even indirectly, plaintiff s
       tion might ensue and (2) that that subjec-             strategy, tactics or research concerning anticipated litiga-
       tive belief was objectively reasonable).               tion.
                                                                   Similarly, four Lawler Matusky documents are not
                                                              protected by the work-product doctrine. Document 3-31
 1997 WL 538876 at *2. See also Rexford v. Olczak, 176        is merely a cover letter transmitting a Lawler Matusky
F.R.D. 90. 91 (W.D.7N.Y. 1997) [HN20] ('...Whether ma-        invoice; it discloses nothing about the substance of
terial is prepared "in anticipation of litigation" turns on   Lawler Matusky's work. Document 3-37 is a fax trans-
whether the preparing party had a unilateral belief that      mittal page which briefly summarizes the content of an
litigation was likely and whether the belief was reason-      attached letter. Since the attached letter has already been


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produced, the minimalist summary contained in docu-                   Corp. v. Tonka Corp., 140 F.R.D. 381.
ment 3-37 discloses no new information; it cannot be                  387-389 (D. Minn. 1992) (same);
fairly characterized as prepared [*421 in anticipation of             Westhemeco Ltd. v. New Hampshire Ins.
litigation. n5 Document 3-45 is merely the fax transmit-              Co.. 82 F.R.D. 702. 708 (S.D.N.Y. 1979)
tal page and final draft of an affidavit executed by a                (applying the privilege [*44] to docu-
Lawler Matusky principal. The affidavit is executed and               ments prepared by the defendant's investi-
has been served and filed in this action. Again, the                  gator and noting that it was irrelevant
transmittal page contains no comment concerning the                   whether the investigator was hired by the
affidavit or the action and cannot be characterized as                defendant or by the defendant's attorney).
prepared in anticipation of or as a result of the litigation.
And document 3-46 merely transmits, without comment,                  It is equally inconsequential that the in-
a copy of an exhibit to the affidavit contained in Docu-              formation contained in the subject docu-
ment 3-45.                                                            ments -- e.g., test results and cost figures -
                                                                      - is primarily factual. It is true, as the
                                                                      moving defendants point out, that the
            n5 Document 3-37 has some illegible hand-                 work product privilege does not protect
       writing. Since the handwriting is illegible, there is          facts. See Bowne [150 F.R.D. at 4711 (the
       no basis for finding that it discloses work prod-              privilege "does not protect from disclo-
       uct.                                                           sure the underlying facts known to the
                                                                      party or his counsel, even if acquired in
                                                                      anticipation of litigation"). That does not
     Accordingly, all documents challenged in this cate-              mean, however, that [H1N22] otherwise
gory, with the exception of documents W and X and                     protected documents lose their work
Lawler Matusky Documents 3-3 1, 3-37, 3-45 and 3-46,                  product status merely because they con-
are entitled to the protection of the work-product doc-               tain factual information. If a document
trine.                                                                constitutes protected work product, the
    3. Documents That Allegedly Do Not Reflect the                    party possessing the document generally
Thought Processes and Mental Impressions of ECDC's                    need not produce it -- even if the docu-
Attorneys                                                             ment contains only factual information.
                                                                      However, because the work product privi-
     Defendant next challenges [*43] plaintiffs assertion             lege does not protect the facts in that
of work-product with respect to a group of documents on               document (the privilege protects docu-
the ground that the documents do not reflect the thought              ments, not facts), the party seeking those
processes, impressions and opinions of plaintiffs coun-               facts may obtain them through other
sel. The documents in this category are 17, 75, 85, 93,               means of discovery, such as through
99, 100, 115, 124, 126, 129, 130, 150, 157, 158 and 159.              depositions and interrogatories.         [*45]
     As noted above, the work-product doctrine is not                  See [Martin v. Bally's Park Place Hotel &
limited to documents prepared by an attorney or docu-                 Casino, 983 F.2d 1252. 1262 (3d Cir.
ments that reflect an attorney's mental processes:                     1993) Maertin v. Armstrong World In-
                                                                       dus., Inc.. 172 F.R.D. 143, 150-51 (D.N.J.
                                                                       1997) Arkwright Mutual Ins. Co. v. Na-
                                                                      tional Union Fire Ins. Co. of Pittsburgh.
        It is of no consequence that most of the                      Pa.. 1994 U.S. Dist. LEXIS 13216. 90
        subject documents were prepared by non-                        Civ. 7811 (AGS). 1994 WL 510043 at *8
        attorneys. [H7N2 1] Beyond applying to                         (S.D.N.Y. Sept. 16, 1994)]. Thus, while
        documents prepared by attorneys, the                           this decision precludes the moving defen-
        work product privilege applies also to                         dants from obtaining the subject docu-
        documents prepared by a 'party" and                            ments, it does not preclude them from
         "representatives" of that party, including                    seeking the information contained in those
        consultants, sureties, indemnitors, insurers                   documents by, for example, serving inter-
        and agents. See Fed.R.Civ.P. 26(b)(3); see                     rogatories on ARCO and/or by deposing
        also Martin v. Bally's Park Place Hotel &                      the consultants.
        Casino. 983 F.2d 1252. 1260-62 (3d Cir.
        1993) (applying the work product privi-
        lege to documents prepared by an envi-
        ronmental consultant); Bituminous Cas.

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Atlantic Richfield Co. v. Current Controls. Inc.. supra,                 343 (1985): Matter of Bevill, Bresler &
1997 WL at *3.                                                           Schulman Asset Management Corp., 805
                                                                         F.2d 120 (3d Cir. 1986). The need to pro-
    Accordingly, defendant has not articulated a valid
                                                                         tect the free flow of information from cli-
ground to challenge the documents listed in this cate-
                                                                         ent to attorney logically exists whenever
gory.                                                                    multiple clients share a common interest
    C. Joint-Defense Privilege                                           about a legal matter," Capra, 20 Trial
                                                                         Lawyers Quarterly at 21 (citation omit-
     Lastly, defendant challenges plaintiffs assertion of
                                                                         ted), and it is therefore unnecessary that
the joint-defense privilege with respect to documents N,
                                                                         there be actual litigation in progress for
U, V, W, X, Y, 114, 139, 140 146, 150 and 154. Except                    the common interest rule of the attorney-
for documents V, 114, 139, 140 and 145, these docu-
                                                                         client privilege to apply, United States v
ments are all communications between plaintiffs counsel                  Zolin. 809 F.2d 1411. 1417 (9th Cir.
and the Port Authority's counsel concerning efforts to                   1987) vacated in part on other grounds,
remove the spoil from Charleston Harbor, defendant's                     842 F.2d 1135 (9th [*48] Cir. 1988) (en
decision [*46] to refuse coverage and efforts to seek                    banc), aff d in part and vacated in part on
reimbursement from the Environmental Protection Ad-                      other grounds, 491 U.S. 554. 109 S. Ct.
ministration pursuant to 42 U.S.C. ~S9606. Defendant                     2619, 105 L. Ed. 2d 469 (1989) ....
claims that the documents are not privileged because the
Port Authority and plaintiff did not share a common at-
torney and did not share a common interest. According
to defendant, the Port Authority and plaintiff were poten-         [HN251 The common interest rule may apply where
tial adversaries with respect to the consequences of the          multiple parties are represented by multiple counsel so
grounding of the Patricia Sheridan, and that fact alone           long as the parties share a common interest in a legal
defeats any claim of privilege.                                   matter. Walsh v. Northrop Grumman Corp.. 165 F.R.D.
                                                                  16, 18 (E.D.N.Y. 1996): Bank Brussels Lambert v.
      [H1N23] The joint defense privilege or common in-           Credit Lyonnais (Suisse) S.A.. 160 F.R.D. 437. 447
terest rule is not really a separate privilege. Rather, it is a   (S.D.N.Y. 1995).
limited exception to the general rule that the attorney-
client privilege is waived when a protected communica-                 Since the joint defense rule operates to prevent a
tion is disclosed to a third party outside the attorney-          waiver of the attorney-client privilege, its applicability or
client relationship. See United States v. United Tech.            inapplicability does not affect the applicability of the
Corp.. 979 F. Supp. 108. III (D. Conn. 1997). As ex-              work product doctrine. n6 Since plaintiff claims that the
plained in United States v. Schwimmer, supra. 892 F.2d            work-product doctrine protects document N, U, V, X,
at 243-44:                                                        114 and 150, defendant has again failed to articulate a
                                                                  colorable basis to compel the disclosure of these docu-
             The joint defense privilege, more                    ments. I have reviewed these documents in camera and
        properly identified as the "common inter-                 find that, documents N, U, V, 114 and 150 appear on
        est rule," . . has been described as "an
                     .
                                                                  their face to have been prepared in anticipation of litiga-
        extension of the attorney client privilege,"              tion. Document X is a letter from plaintiffs counsel to
         Waller v. Financial Corp. of Am., 828                    the Port Authority's counsel transmitting copies of cer-
         F.2d 579. 583 n.7 (9th Cir. 1987). [*47]                 tain documents requested by the latter. It contains [*49]
        It serves to protect the confidentiality of               no client confidences and discloses no fact or opinion
        communications passing from one party                     work product. Accordingly, document X is not privileged
        to the attorney for another party where a                 and should be produced.
        joint defense effort or strategy has been
        decided upon and undertaken by the par-
        ties and their respective counsel. See
                                                                               n6 As noted at pages 11-12, above, disclo-
         United States v. Bay State Ambulance and
                                                                          sure to a third party waives the work-product
         Hosp. Rental Serv.. 874 F.2d 20, 28 (Ist
                                                                          doctrine only where the disclosure results in, or
        Cir. 1989). [HN24] Only those commu-
                                                                          increases the likelihood of, disclosure to an ad-
         nications made in the course of an ongo-
                                                                          versary. Thus, [HN26] the concept underling the
         ing common enterprise and intended to
                                                                          common interest rule is inherent in the work-
        further the enterprise are protected.
                                                                          product doctrine's waiver rule.
         Eisenberiz v. Gagnon, 766 F.2d 770. 787
        (3rd Cir.), cert. denied, 474 U.S. 946, 106
         S Ct. 342, 88 L. Ed. 2d_290j 06 S. Ct.

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    As to the remaining documents in this category,                 Document 146 is a letter from plaintiff s counsel to
document W is a request from the Port Authority's coun-        the Port Authority's counsel that contains no client confi-
sel to plaintiff s counsel requesting copies of certain        dences and cannot, therefore, [*51] be characterized as
documents. It is the document to which document X re-          protect by the attorney-client privilege. Since document
sponds, and like document X it contains no client confi-       146 is not protected by the attorney-client privilege, the
dences or fact or opinion work product. Thus, document         common-interest rule has no application. Document 146
W should be produced.                                          should be produced.
      Document Y is a letter from the Port Authority's             Finally, document 154 is a mere transmittal letter
counsel to plaintiffs counsel addressing the willingness       containing no legal advice or client confidence. It should
of the Port Authority to participate in proposed litigation.   be produced. Willemniin Houdstermaatschaapii BV v.
It is claimed to be protected solely under the "Joint De-      Apollo Computer Inc., 707 F. Supp. 1429, 1443 (D. Del.
fense/Common Interest" [*5 0] privileges. However, as           M198
noted above, there really is no such privilege. Even if I
construe plaintiffs assertion of privilege as an assertion     IV. Conclusion
of the attorney-client privilege and the common interest
                                                                    Defendant has successfully challenged all the
rule, the assertion is unavailing. The purpose of the
                                                               grounds on which documents W, X, Y, 139, 137, 140,
common interest rule is to permit a client to share confi-
                                                               146, 153, 154, 3-31, 3-37, 3-45 and 3-46 have been
dential information with the attorney for another who
                                                               withheld. Accordingly, plaintiff is ordered to produce
shares a common legal interest. Upon my in camera re-
                                                               these documents within ten (10) business days of the date
view, I conclude that document Y is a communication
                                                               of this Opinion and Order. All other documents are ex-
from counsel to counsel that contains no identifiable cli-
                                                               empt from discovery pursuant to the attorney-client
ent confidences provided for the purpose of obtaining
                                                               privilege and/or the work-product doctrine.
legal advice. Accordingly, document Y should be pro-
duced.
                                                               Dated: New York, New York
     Documents 139 is a letter from a non-attorney agent
                                                                   June 4, 1998
of plaintiff to an employee of the Port Authority. Since it
is not a communication with counsel for another party              SO ORDERED
sharing a joint legal interest, it is not within the common
interest rule. Walsh v. Northrop Grumman Corp.. supra.             HENRY PITMAN
 165 F.R.D. at 18-19. Thus, document 139 should be pro-            United States Magistrate Judge
duced. Document 140 should also be produced as it is a
duplicate of document 139.




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                                                       LEXSEE

               JAY A. GARNIER, Plaintiff, -against- ILLINOIS TOOL WORKS, INC., et al., De-
                                                  fendants.

                                              04-CV-1825 (NGG)(KAM)

               UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF NEW
                                           YORK

                                               2006 U.S. Dist. LEXIS 28370

                                                 May 4, 2006, Decided

PRIOR HISTORY: Gamier v. Ill. Tool Works. Inc.,              crimination and harassment." (See Doc. No. 62, Letter
2006 U .S. Dist. LEX IS 221361 (E.D.N.Y.. Anr. 24. 2006)     from Charles Joseph, Esq. [*2] to the undersigned dated
                                                             Mar. 15, 2006 ("P1. 3/15/06 Ltr."), Ex. A, Defendants'
CORE TERMS: certification, discovery, deposition,            Privilege Log, at 1.) Defendants have agreed to make
undue hardship, work product, work product doctrine,         Mr. Crawford available for an interview or deposition by
legal theories, work-product, impressions, anticipation of   plaintiffs counsel. (See Doc. No. 65, Letter from Jed
litigation, information contained, in camera, commence-      Marcus, Esq. dated Mar. 22, 2006.) Plaintiff claims that
ment, undersigned, disclosure, expensive, tangible           due to his limited resources, it is not "financially viable"
                                                             to depose Mr. Crawford. (Doc. No. 78, Letter from
COUNSEL: [*1] For Jay A. Gamier, Plaintiff: Charles          Charles Joseph, Esq. dated Apr. 12, 2006, at 1.) Defen-
E. Joseph, Joseph & Herzfeld, LLP, New York, NY.             dants, who have furnished a copy of the Mr. Crawford's
                                                             certification for in camera review, oppose plaintiffs re-
For Illinois Tool Works Inc., doing business as Hobart       quest on grounds that any statement made by Mr. Craw-
Corporation, Don Stairs, Paul Todoro, Robert Todoro,         ford to defendants' counsel is protected by the work
Michael Meyer, Defendants: Michael R. DiChiara,              product doctrine. (Doc. No. 65 and Doc. No. 74, Letters
Grotta, Glassman & Hoffman, Roseland, NJ; Jed L.             from Jed Marcus, Esq. dated Mar. 22 and Apr. 7, 2006,
Marcus, Grotta, Glassman & Hoffmnan, P.C., Roseland,         respectively.) For the reasons set forth below, plaintiffs
NJ; Michael Raymond DiChiara, Corporation Counsel of         request for an order compelling production of Mr. Craw-
the City of New York, Law Department, New York, NY.          ford's certification is denied.
                                                                  DISCUSSION
JUDGES: KIYO A. MATSUMOTO, United States
Magistrate Judge.                                                 The work product doctrine provides qualified pro-
                                                             tection from discovery of "documents and tangible things
OPINION BY: KIYO A. MATSUMOTO                                ... prepared in anticipation of litigation" unless the party
                                                             seeking discovery demonstrates a "substantial need of
OPINION:                                                     the materials [*3] in the preparation of the party's case
                                                             and that the party is unable without undue hardship to
    OPINION & ORDER
                                                             obtain the substantial equivalent of the materials by other
                                                             means." Fed. R. Civ. P. 26(b)(3. The purpose of this
MATSUMOTO, United States Magistrate Judge:
                                                             doctrine is to protect from disclosure materials reflecting
     In the above-referenced employment discrimination       "the mental impressions, conclusions, opinions, or legal
action, referred to the undersigned for general pretrial     theories of an attorney or other representative of a party
supervision pursuant to 28 U.S.C. § 636(b), plaintiff        concerning the litigation." Id.
seeks to compel production of a certification made by
                                                                    "[T]hree conditions must be met to earn work prod-
defendants' employee, Clarence Crawford, Branch Man-
                                                              uct protection. The material must (1) be a document or a
ager of defendants' Birmingham, Alabama facility, which
                                                              tangible thing, (2) that was prepared in anticipation of
was obtained by defendants' counsel following the com-
                                                              litigation, and (3) was prepared by or for a party, or by or
mencement of this litigation and which purportedly con-
                                                              for his representative." In re Grand Jury Subpoenas
cerns 'plaintiff s employment and allegations of dis-


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Dated December 18. 1981 & January 4. 1982, 561 F.                Crawford's oral deposition via telephone and arrange for
Supp. 1247. 1257 (E.D.N.Y. 1982). The burden of estab-           a sound recording pursuant to Fed. R. Civ. P. 30(b).
lishing all three elements of the work product privilege
rests with the party invoking the privilege. In re Grand               It is true that those devices may be more expensive
Jury Subpoena. 599 F.2d 504. 510 (2d Cir. 1979).                 than the production of Mr. Crawford's certification; how-
                                                                 ever, the devices do provide an alternative means for
     Here, the three elements of the tripartite test set forth   plaintiff to obtain the substantial equivalent and, perhaps
above are satisfied. First, the Crawford certification con-      more, without undue hardship and without impinging
stitutes a document. [*4] Second, it was prepared fol-           upon defendants' work product. See Carrols, 215 F.R.D.
lowing the commencement of this litigation, and upon             at 52 (substantial need not shown where information
the directive of defendants' litigation counsel. (See Letter     contained in questionnaires mailed by the E.E.O.C. to
of Jed Marcus, Esq. dated Mar. 22, 2006, at 2.) Third, it        defendant employer's employees could be obtained
was prepared for defendants by one of their employees.           through other discovery devices); In re Int'l Sys. & Con-
                                                                 trols Corp.. 693 F.2d 1235, 1241 (5th Cir. 1982) (noting
     "Even where the applicability of the work product
                                                                 that although expense may be considered in determining
doctrine has been established, factual material may be
                                                                 undue hardship, "in the ordinary case, the cost of one or
ordered produced 'upon a showing of substantial need
                                                                 a few depositions is not enough to justify discovery of
and inability to obtain the equivalent without undue
                                                                 work product") (citation omitted); Tribune Co. v. Purcig-
hardship."' In re Omeprazole Patent Litig.. 2005 U.S.
                                                                 liotti. 1998 U.S. Dist. LEXIS 5155. 93 Civ. 7222. 1998
Dist. LEXIS 6112, No. M-21-81. 2005 WL 818821, at
                                                                 WL 175933 at *4 (S.D.N.Y. Apr. 14, 1998) ("' Substan-
*9 (S.D.N.Y. Feb. 18. 2005) (quoting Upjohn Co. v.
                                                                 tial [*7] need' cannot be shown where persons with
United States. 449 U.S. 3 83. 400, 101 S. Ct. 677. 66 L.
                                                                 equivalent information are available for deposition.")
Ed. 2d 584 (1981)); In re Grand Jury Proceedings. 219
                                                                 (citing Pillsbury, 888 F.2d at 12); Atlantic Richfield Co.
F.3d 175. 190-191 (2d Cir. 2000) ("A party seeking dis-
                                                                 v. Current Controls, 1997 U.S. Dist. LEXIS 13082, No.
covery of attorney work-product must show "substantial
                                                                 93-CV-0950, 1997 WL 538876, at *3 (W.D.N.Y. Aug.
need," for fact work-product. As for work-product that
                                                                 21, 1997) (noting that the party seeking facts in a privi-
shows 'mental impressions, conclusions, opinions, or
                                                                 leged document may obtain those facts through other
legal theories of an attorney, . . . at a minimum such ma-
                                                                 means of discovery, such as through depositions); Pine
terial is to be protected unless a highly persuasive show-
                                                                 Top Ins. Co.. v. Alexander & Alexander Services. Inc..
ing [of need] is made.") (internal citations and quotation
                                                                 1991 U.S. Dist. LEXIS 14610. No. 85 Civ. 9860. 1991
marks omitted).
                                                                 WL 221061. at *2 (S.D.N.Y. Oct. 7. 1991) ("The undue
      "Substantial need is not evaluated in a vacuum, and        hardship test is generally not satisfied merely by the ex-
in order to overcome [*5] work product protection,               pense of obtaining the materials."); Castle v. Sangamo
 [plaintiff] must demonstrate that [he] cannot obtain the        Weston. Inc.. 744 F.2d 1464. 1466-67 (I1Ith Cir. 1984)
substantial equivalent of the information [he] seeks."           (trial court abused its discretion when it compelled pro-
E.E.O.C. v. Carrots Corp.. 215 F.R.D. 46. 52 (N.D.N.Y.           duction of otherwise privileged documents where party
2003 (citing Pillsbury, 888 F.2d 8. 12). That does not           had not demonstrated that it could not obtain the infor-
mean that a party seeking the document must show an              mation it sought by deposing witnesses whose statements
absolute impossibility, but rather that it is significantly      were contained in the documents); Gay v. P.K. Lindsay
more difficult, time-consuming or expensive to obtain            Co.. 666 F.2d 710. 713 (I1st Cir. 198 1) ("[I]t seems well-
the information from another source. SEC v. Thrasher.            settled that there is in general no justification for discov-
1995 U.S. Dist. LEXIS 1355. 92 Civ. 6987. 1995 WL                ery of the statement [*8] of a person contained in work
46681. at *9 (S.D.N.Y. Feb. 7. 1995).                            product materials when the person is available to be de-
                                                                 posed."). Accordingly, plaintiffs motion to compel pro-
     The Court has reviewed, in camera, the Crawford
                                                                 duction of Mr. Crawford's certification is denied.
certification and has determined that although its disclo-
sure to plaintiff will not reveal defense counsel's mental            CONCLUSION
impressions, conclusions, opinions, legal theories or
                                                                    For the reasons set forth above, plaintiffs motion to
thought processes, plaintiff has not demonstrated that he
                                                                 compel Mr. Crawford's certification is denied.
is unable to obtain the substantial equivalent of the in-
formation contained in the Crawford certification
                                                                 SO ORDERED.
through other discovery devices. While the Court is
sympathetic to plaintiff s financial condition, plaintiff has
                                                                 Dated: May 4, 2006
not demonstrated why he is unable to conduct a deposi-
tion of Mr. Crawford upon written questions [*6] pursu-               Brooklyn, NY
ant to Fed. R. Civ. P. 3 1, or why he cannot take Mr.
                                                                      '/S


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  KIYO A. MATSUMOTO                         United States Magistrate Judge




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                                                    #: 2052




                                                         LEXSEE

                      In re GRAND JURY SUBPOENAS dated March 19 and August 2, 2002

                                                      No. M 11-189

                  UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
                                                      NEW YORK

                                                2002 U.S. Dist. LEXIS 17079

                                              September 11, 2002, Decided
                                               September 12, 2002, Filed

DISPOSITION:       [*1] Government's motion to compel         oral argument, third parties, acquisition, third-party, im-
granted.                                                      pressions, non-party, intrusion, possessed, telephone,
                                                              ordering, redacted, genuine, secrecy
CASE SUMMARY:
                                                              LexisNexis(R) Headnotes

PROCEDURAL POSTURE: A grand jury investigated
allegations that a New York corporation bribed senior
officials in a foreign country. Petitioner government         Civil Procedure > Counsel > General Overview
sought to compel compliance with two grand jury sub-          Civil Procedure > Discovery > Methods > General
poenas issued to respondent law firm, attorneys for the       Overview
corporation and its principal. The subpoenas sought           Civil Procedure > Discovery > Privileged Matters >
banking records for 30 specified accounts at four Swiss       Work Product > General Overview
banks. The law firm objected.                                 [HNIN] The work product doctrine provides qualified
                                                              protection from disclosure for documents and other tan-
OVERVIEW: The records were not protected by the               gible things prepared in anticipation of litigation or for
work product doctrine, as they were merely pre-existing       trial. Fed. R. Civ. P. 26(b)(3). In particular, the work
documents gathered in anticipation of litigation. The         product doctrine protects materials reflecting the mental
bank records were the pre-existing records of third par-      impressions, conclusions, opinions, or legal theories of
ties, created and maintained in the ordinary course of        an attorney or other representative of a party concerning
business by those third parties without any reference to      the litigation. Fed. R. Civ. P. 26(b)(3).
litigation whatsoever. The banks at issue were not agents
of the law firm. If possessed by the banks, the records
would be wholly unprotected, as the work product rule         Civil Procedure > Discovery > Privileged Matters >
had no application to a document prepared by and in the       Work Product > General Overview
hands of a third person who was neither a party to nor        [HN2] The work product doctrine is intended primarily
interested in the action. Moreover, disclosing the records    to protect the role an attorney plays in the adversarial
would not provide the government with any meaningful          process. The doctrine seeks to preserve a zone of privacy
information about the law firm's work product or its cli-     in which a lawyer can prepare and develop legal theories
ents' defenses.                                               and strategy with an eye toward litigation, free from un-
                                                              necessary intrusion by his adversaries.
OUTCOME: The government's motion to compel was
granted.
                                                              Civil Procedure > Discovery > Privileged Matters >
CORE TERMS: work product, subpoena, grand jury,               Work Product > General Overview
work product doctrine, gathered, anticipation of litiga-      Criminal Law & Procedure > Discovery & Inspection >
tion, motion to compel, discovery, proffer, legal theories,   Discovery by Defendant > Tangible Objects
work-product, discoverable, pre-existing, disclosing,         Criminal Law & Procedure > Preliminary Proceedings
course of business, requesting party, zone of privacy,        > General Overview


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[HIN3] Although most often applied in civil cases, the         ally does not shield from discovery documents that were
work product doctrine's role in assuring the proper func-      not prepared by the attorneys themselves, or their agents,
tioning of the criminal justice system is even more vital.     in the course of or in anticipation of litigation.
Fed. R. Civ. P. 26 obviously does not apply to grand jury
subpoenas, and Fed. R. Crim. P. 16, which protects re-
ports, memoranda, or other internal defense documents          Civil Procedure > Discovery > Privileged Matters >
made by the defendant, or the defendant's attorneys or         Work Product > Opinion Work Product
agents in connection with the investigation or defense of      [HN7J Under certain circumstances, an attorney's selec-
the case, posits a pre-trial proceeding in which there is a    tion and ordering of documents to show to his client
known defendant.                                               prior to deposition may be protected as work product,
                                                               even though the documents themselves were subject to
                                                               discovery. The court deemed the "selection and compila-
Civil Procedure > Discovery > Privileged Matters >             tion of documents by counsel" to be opinion work prod-
Work Product > Scope                                           uct because the case involved extensive document dis-
[H1N4] The work product protection rule has been ap-           covery and selecting and ordering a few documents out
plied to grand jury proceedings in much the same formu-        of thousands would mean that, if produced, counsel
lation as in other contexts. The United States Court of        could not help but reveal important aspects of his under-
Appeals for the Second Circuit has warned that broad           standing of the case.
categorical statements about the scope of the work prod-
uct privilege are risky, however, as individual applica-
tions are highly fact specific, and analysis should pro-       Civil Procedure > Discovery > Privileged Matters >
ceed cautiously, case by case.                                 Work Product > General Overview
                                                               [HN8] Where a request is made for documents already in
                                                               the possession of the requesting party, with the precise
Civil Procedure > Discovery > Privileged Matters >             goal of learning what the opposing attorney's thinking or
Work Product > General Overview                                strategy may be, even third-party documents may be
Evidence > Privileges > Attorney-Client Privilege >            protected under the work product doctrine.
Elements
Evidence > Privileges > Attorney-Client Privilege >
Scope                                                          Civil Procedure > Discovery > Methods > General
[HN5] Work product immunity may be asserted by either          Overview
the client or the attorney, as the work-product doctrine is    Civil Procedure > Discovery > Privileged Matters >
distinct from and broader than the attorney-client privi-      Work Product > Fact Work Product
lege. The party asserting the privilege bears the burden       Civil Procedure > Discovery > Privileged Matters >
of proof Further, in the grand jury context, a privilege       Work Product > Opinion Work Product
ought to be strictly confined within the narrowest possi-      [H-N9] Protection for work product is not absolute; it
ble limits consistent with the logic of its principle.         may be overcome if the party seeking discovery shows
                                                               that it has a "substantial need" for the materials and is
                                                               unable without "undue hardship" to obtain the substantial
Civil Procedure > Discovery > Privileged Matters >             equivalent of the materials by other means. Fed. R. Civ.
Work Product > General Overview                                P. 26(b)(3). When the material in question is core work
[HN6] On the issue of whether material was prepared "in        product, consisting of an attorney's mental impressions,
anticipation of litigation," the United States Court of        conclusions, opinions, or legal theories, as opposed to
Appeals for the Second Circuit has held that the proper        ordinary fact work product, a highly persuasive showing
inquiry is whether the documents were prepared because         of need is required to overcome the protection.
of existing or expected litigation. Under this test, docu-
ments are deemed prepared in anticipation of litigation if
in light of the nature of the document and the factual         Civil Procedure > Discovery > Privileged Matters >
situation in the particular case, the document can fairly      Work Product > General Overview
be said to have been prepared or obtained because of the       [HN 10] The work product rule has no application to a
prospect of litigation. The "because of' formulation does      document prepared by and in the hands of a third person
not, however, protect documents that are prepared in the       who is neither a party to nor interested in the action, and
ordinary course of business or that would have been cre-       a non-party witness may not invoke work-product pro-
ated in essentially similar form irrespective of the litiga-   tection.
tion. Hence, the attorney-work-product doctrine gener-


                                                                                                                   Page 2
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                                                                   A grand jury in this district is investigating allega-
Civil Procedure > Discovery > Privileged Matters >            tions that a New York corporation (the 'Corporation")
Work Product > General Overview                               bribed senior officials in a foreign country (the "Repub-
Civil Procedure > Pretrial Matters > Subpoenas                lic"). nI The Government seeks to compel compliance
[HN 11] Work product protection applies to facts, not         with two grand jury subpoenas issued to the law firm
merely the opinions and strategies of lawyers. Limits         Akin, Gump, Strauss, Hauer & Feld, L.L.P. ("Akin,
upon work product protection do not allow the govern-         Gump"), attorneys for the Corporation and its principal,
ment to ask counsel with impunity, "What facts have you       John Doe. The subpoenas seek banking records for thirty
discovered in your investigation?" Such a broad inquiry       specified accounts at four Swiss banks. Akin, Gump has
is impermissible, as it is likely aimed at, and cannot help   objected, arguing that any bank records it possesses were
but to uncover, legal strategy that is properly within an     gathered as part of its representation of its clients and
attorney's zone of privacy.                                   disclosing them would necessarily reveal elements of
                                                              [*2] its legal strategy.

Civil Procedure > Discovery > Privileged Matters >
 Work Product > Opinion Work Product                                      nI This proceeding is closed pursuant to Fed
[HN 12] The collection of evidence without any creative              R. Crim. P. 6(e)(5). The motion papers were
or analytic input by an attorney or his agent, does not              sealed, and oral argument was heard in a closed
qualify as work product. The mere acquisition of docu-               courtroom. Accordingly, I have used pseudonyms
ments from an unrelated third-party does not by itself               and redacted or altered certain material to pre-
impose upon them the status of work product. At its core,            serve the secrecy of the grand jury proceedings.
the work-product doctrine exists to shelter the attorney's
preparation and analysis of the case. Even if the lawyer's
synthesis of the documents were to constitute work                 For the reasons that follow, I conclude that the re-
product, the mere acquisition of such documents from a        cords are not protected by the work product doctrine, as
non-party does not create such a characteristic.              they are merely pre-existing documents gathered in an-
                                                              ticipation of litigation and disclosing them will not pro-
                                                              vide the Government with any meaningful information
Civil Procedure > Discovery > Privileged Matters >            about Akin, Gump's work product or its clients' defenses.
Work Product > General Overview                                   BACKGROUND
[HN13] Qualifyiing the selection of records for work
product protection depends upon the existence of a real,      A. The Investigation
rather than speculative, concern that the thought proc-
esses of counsel in relation to pending or anticipated             The Government has been investigating Doe and the
litigation would be exposed.                                  Corporation for several years, and the grand jury that
                                                              issued the subpoenas is still in session. Akin, Gump has
COUNSEL: Peter G. Neiman, Esq., Assistant United              represented John Doe and the Corporation for more than
States Attorney, Philip E. Urofsky, Esq., Senior Trial        three years.
Attorney, Department of Justice, JAMES B. COMEY,                   The Government has asked authorities in Switzer-
United States Attorney, New York, New York, for               land for assistance in obtaining records from Swiss banks
Southern District of New York.                                pursuant [*3]      to a mutual legal assistance treaty
                                                              ("MLAT") between the two countries. These MLAT
James E. D'Auguste, Esq., Mark J. MacDougall, Esq.,           requests, first made in June 2000, cover most of the same
Heather J. Pellegrino, Esq., AKIN, GUMP, STRAUSS,             records as the subpoenas at issue here. The relevant ac-
HAUER & FELD, L.L.P., New York, New York, for                 counts apparently belong to the Republic or its officials,
Corporation.                                                  not to John Doe or the Corporation.

JUDGES: DENNY CHIN, United States District Judge.                  Both sides have submitted material ex parte. The
                                                              Government's submission described its particular need
OPINION BY: DENNY CHIN                                        for the records in light of the transactions it suspects oc-
                                                              curred in accounts protected by strict Swiss bank secrecy
OPINION:                                                      laws. Akin, Gump presented evidence to support its ar-
                                                              gument that the selection and compilation of the records
    MEMORANDUM DECISION                                       constituted attorney work product that, if disclosed,
                                                              would reveal strategic elements of the defense the firm is
CHIN, D.J.                                                    developing for its clients.


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    On November 3, 2000, Akin, Gump made a "factual           States v. Adlman (11). 134 F.3d 1194. 1196 (quoting
proffer" to the Government regarding six of the accounts.     Hickman, 329 U.S. at 5 10-11I.
The letter reserved all rights, including the attorney work
                                                                    [I-N3] Although most often applied in civil cases,
product privilege.
                                                              the doctrine's "role in assuring the proper functioning of
                                                              the criminal justice system is even more vital." United
B. The Subpoenas
                                                              States v. Doe (In re Grand Jury Proceedings). 219 F.3d
    The March 19, 2002 subpoena seeks all records for         175, 190 (2d Cir. 2000) (quoting United States v. Nobles.
the six accounts Akin, Gump referenced in the Novem-          422 U.S. 225. 238, 45 L. Ed. 2d 141. 95 S. Ct. 2160
ber 3, 2000 proffer letter. A subsequent subpoena, dated      (1975)). [*6] Rule 26 of the Federal Rules of Civil Pro-
August 2, 2002, seeks records for twenty-four additional      cedure "obviously does not apply to grand jury subpoe-
accounts. [*4] Both subpoenas concern bank records            nas," and Rule 16 of the Federal Rules of Criminal Pro-
from the four Swiss institutions where the thirty accounts    cedure, which protects "reports, memoranda, or other
were maintained -- account statements, wire transfer re-      internal defense documents made by the defendant, or
cords, and the like. The subpoenas are not directed at        the defendant's attorneys or agents in connection with the
reports, memoranda or any other material created by           investigation or defense of the case," "posits a pre-trial
Akin, Gump, and are restricted to "records created or         proceeding in which there is a known defendant." In re
maintained by the banks for the specified accounts."          Grand Jury Subpoena. 599 F.2d 504. 509 (2d Cir. 1979).
(Gov't Reply at 5-6 n.4).
                                                                   Nevertheless, [HN4J the work product protection
                                                              rule has been applied to grand jury proceedings in much
C. Motion to Compel
                                                              the same formulation as in other contexts. See, e.g., In re
     This proceeding began when the Government filed a        Grand Jury Proceedings, 219 F.3d at 190-91 (discussing
motion to compel in Part I on August 14, 2002. The mat-       Fed. R. Civ. P. 26 and civil cases in grand jury context);
ter was referred to me as I had another motion to compel      In re Grand Jury Proceedings. 2001 U.S. Dist. LEXIS
concerning the same grand jury under consideration. See       15646, No. M-1 1-189 (LAP). 2001 WL 1167497. at *13
In re Grand Jury Subpoena dated Aug. 9, 2000. 218 F.          (S.D.N.Y. Oct 03, 2001). The Second Circuit has warned
Supp. 2d 544. Opinion (Redacted) dated Sept. 6, 2002. I       that "broad categorical statements about the scope of the
heard oral argument on the instant motion to compel on        work product privilege are risky," however, "as individ-
September 5, 2002. Ruling from the bench, I granted the       ual applications are highly fact specific," and "analysis
motion at that time. On September 9, 2002, I entered an       should proceed cautiously, case by case." Doe v. United
order and provided a stay until September 18, 2002. This      States (In re Grand Jury Subpoena Dated October 22.
decision further explains my reasoning.                       2001). 282 F.3d 156. 161 (2d Cir. 2002). [*7]
    DISCUSSION                                                      [FIN5] Work product immunity may be asserted by
                                                              either the client or the attorney, In re Grand Jur Sub-
1. Applicable Law                                             poena Duces Tecum. 112 F.3d 910 (8th Cir. 1997) (cit-
                                                              ing In re Sealed Case. 219 U.S. App. D.C. 195, 676 F.2d
    A. Work Product Doctrine                                  793, 809 & n. 56 (D.C. Cir. 1982). as "the work-product
      [FNIN] The work product doctrine provides quali-        doctrine is distinct from and broader than the attorney-
fied protection from disclosure for documents and other       client privilege." United States v. Nobles, 422 U.S. at
tangible things [*5] "prepared in anticipation of litiga-     23)8 n.1I 1. The party asserting the privilege bears the bur-
tion or for trial." Fed. R. Civ. P. 26(b)(3); see generally   den of proof. See In re Grand Jury Proceedings. 219 F.3d
Hickman v. Taylor. 329 U.S. 495. 91 L. Ed. 451. 67 5.         at 182 (attorney client privilege); In re Grand Jury Sub-
Ct. 385. 34 Ohio Op. 395 (1947). In particular, the work      poenas Dated March 9. 2001. 179 F. Supp. 2d 270. 283
product doctrine protects materials reflecting "the mental     (S.D.N.Y. 200 1 (same). Further, in the grand jury con-
impressions, conclusions, opinions, or legal theories of      text, a privilege "ought to be strictly confined within the
an attorney or other representative of a party concerning     narrowest possible limits consistent with the logic of its
the litigation." Fed. R. Civ. P. 26(b)(3).                    principle." United States v. Int'l Bd. of Teamsters. 11 9
                                                              F.3d 210. 214 (2d Cir. 1997) (quoting In re Horowitz,
      [FIN2] The work product doctrine is intended pri-       482 F.2d 72. 81 (2d Cir. 1973)) see also In re Grand
marily to protect the role an attorney plays in the adver-    Jury Subpoenas Dated March 9. 2001, 179 F. Supp. 2d at
sarial process. The doctrine seeks "to preserve a zone of     283; In re Grand Jury Subpoena Duces Tecum Dated
privacy in which a lawyer can prepare and develop legal       March 24. 1983. 566 F. Supp. 883. 885 (S.D.N.Y. 1983)
theories and strategy 'with an eye toward litigation,' free   [*8] ("Privileges are carefully and narrowly construed in
from unnecessary intrusion by his adversaries." United        the context of the subpoenas of a grand jury ....".).




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    B. The Sporck Exception                                     third-party documents may be protected." In re Grand
                                                                Jury Subpoenas. 959 F.2d at 1166 (emphasis added).
       [HN6] On the issue of whether material was pre-
pared "in anticipation of litigation," the Second Circuit           C. Overcoming Work Product Protection
has held that the proper inquiry is "whether the docu-
ments were prepared 'because of' existing or expected                 [HN9] Protection for work product is not absolute;
litigation." United States v. Adlmian (11). 134 F.3d at         it may be overcome if the party seeking discovery shows
1198. Under this test, documents are "deemed prepared           that it has a "substantial need" for the materials and is
in 'anticipation of litigation' if 'in light of the nature of   unable without "undue hardship" to obtain the substantial
                                                                equivalent of the materials by other means. Fed. R. Civ.
the document and the factual situation in the particular
case, the document can fairly be said to have been pre-         P. 26(b)(3); see United States v. Adliman (11). 134 F.3d
pared or obtained because of the prospect of litigation."'      I1194, 1202-03 (2d Cir. 1998): [*1I1] see also In re Grand
Strougo v. BEA Assocs.. 199 F.R.D. 515. 520-2 1                 Jury Subpoenas, 959 F.2d at 1166 ("equities might not
                                                                favor the application of the Sporck exception if the files
(S.D.N.Y. 2001) (quoting United States v. Adlman (11).
                                                                from which documents had been culled by [counsel]
134 F.3d at 1202). The "because of' formulation does
not, however, protect "documents that are prepared in the       were not otherwise available ... or were beyond reason-
                                                                able access") (citing Gould, Inc. v. Mitsui Mining &
ordinary course of business or that would have been cre-
                                                                Smelting Co., 825 F.2d 676, 680 (2d Cir. 1987)). When
ated in essentially similar form irrespective of the litiga-
                                                                the material in question is "core work product, consisting
tion." United States v. AdIman (11). 134 F.3d at 1202.
                                                                of an attorney's mental impressions, conclusions, opin-
Hence, "the attorney-work-product doctrine generally
                                                                ions, or legal theories," as opposed to "ordinary fact
does [*9] not shield from discovery documents that were
                                                                work product," a "'.highly persuasive showing of need"' is
not prepared by the attorneys themselves, or their agents,
                                                                required to overcome the protection. McGrath v. Nassau
in the course of or in anticipation of litigation." In re
                                                                Co. Health Care Corp.. 204 F.R.D. 240. No. 00 Civ.
Grand Jury Subpoenas Dated Oct. 22. 1991. and Nov. 1,
                                                                6454. 2001 WL 1549260. at *3 (E.D.N.Y. Nov. 30,
1991. 959 F.2d 1158. 1166-67 (2d Cir. 1992) (noting
                                                                2001) (quoting In re Grand Jurv Proceedings. 219 F.3d
also that under Fed. R. Crim. P. 16(b)(2) 'except for sci-
                                                                 175, 190 (2d Cir. 2000)). It remains an open question in
entific or medical reports, documents made by a defen-
                                                                this circuit whether "opinion work product is ever dis-
dant's attorneys or their agents in connection with the
                                                                coverable upon a showing of necessity and unavailability
case are not discoverable") (emphasis added).
                                                                by other means." United States v. Adlmian (II). 134 F.3d
     There exists a narrow "selection and compilation"          at 1204.
exception to this general rule. The exception was first set
out in Sporck v. Peil. 759 F.2d 312 (3d Cir. 1985). That        11. Application
court held that [14N7J under certain circumstances, an
attorney's selection and ordering of documents to show             A. Pre-existing Bank Records Are Not Attorney
                                                                Work Product
to his client prior to deposition may be protected as work
product, even though the documents themselves were                   The bank records [* 12] at issue are not protected by
subject to discovery. The court deemed the "selection           the work product doctrine. They are the pre-existing re-
and compilation of documents by counsel" to be opinion          cords of third parties, created and maintained in the ordi-
work product because the case involved "extensive               nary course of business by those third parties without any
document discovery" and "selecting and ordering a few           reference to litigation whatsoever. Because I conclude
documents out of thousands" would mean that, if pro-            that the records are not covered by the work product doc-
duced, "counsel could not help but reveal [*10] impor-          trine, the Government need not show "substantial need of
tant aspects of his understanding of the case." Sporck,         the materials." United States v. Adlman (1). 68 ~F.3d
759 F.2d at 316 (citation omitted).                             1495, 1502 (2d Cir. 1995).
     The Second Circuit has acknowledged the rule but                The banks at issue are not agents of Akin, Gump. If
has never applied it, although other district courts have       possessed hy the banks, the records would be wholly
done so. See, e.g., Santiago v. Miles. 121 F.R.D. 636,          unprotected, as [HN1 0] "the work product rule has no
63 8-40 (W.D.N.Y. 1988) (applying exception to protect          application to a document prepared by and in the hands
printouts of data from computer, otherwise discoverable,        of a third person who is neither a party to nor interested
which were prepared at direction of counsel). The Sec-          in the action," Polvcast Tech. Corp. v. Uniroyal, Inc..
ond Circuit phrased the exception in specific and condi-        1990 U.S. Dist. LEXIS 12444. 87 Civ. 3297 (CSH)
tional language, noting that [HN8] "where a request is          (JCF). 1990 WL 138968. *2 (citing 8 Charles A. Wright,
made for documents already in the possession of the re-         Arthur R. Miller, and Richard L. Marcus, Federal Prac-
questing party, with the precise goal of learning what the      tice and Procedure § 2024), and "a non-party witness
opposing attorney's thinking or strategy may be, even           may not invoke work-product protection." Ramsey v.


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NYP Holdings. Inc., 2002 U.S. Dist. LEXIS 11728. 00             followed it were marked by requests aimed at a small
Civ. 3478 (VM) (MHD). 2002 WL 1402055. at *6                    part of extensive discovery already available to the re-
(S.D.N.Y. June 27, 2002).                                       questing party. This case does not compare. Here, the
     Akin, Gump argues that any bank records it pos-            Government has already identified all the bank accounts
sesses [*13] are not protected by virtue of their content,      of interest, and is requesting all of the bank documents
but because they were gathered by the firm to assist in         Akin, Gump might possess. Indeed, Akin, Gump may
the representation of clients who were likely subjects of a     have first learned of the Government's focus on these
grand jury investigation. This central argument proposes        specific accounts from the MLAT requests two years
that the mere act of obtaining the relevant documents in        ago. In producing the documents, Akin, Gump can use
anticipation of criminal proceedings is protected, because      an organizational scheme that reveals nothing about its
to reveal which records were obtained, and which re-            mental processes. For example, the documents can sim-
cords were not, will necessarily reveal "the thought proc-      ply be organized chronologically within each account. I
esses of counsel ... [and] the defense's litigation strat-      am not persuaded that the Government will learn any-
egy." (Akin, Gump Mem. at 6). I reject this contention,         thing useful from the mere fact that Akin, Gump gath-
                                                                ered some, none, or all the records for certain accounts.
as virtually any material collected by an attorney would
                                                                In any event, any such information -- which would be
merit protection under this low standard.
                                                                subject to varying interpretations -- is de minimus.
     Akin, Gump relies heavily on the word "obtain" as it
appears in several cases concerning the work product                 Further, Akin, Gump already [*161 revealed to the
                                                                Government by its proffer that it possessed records for
doctrine. See, e.g., Hickman, 329 U.S. at 51 1: United
                                                                six of the accounts at issue. While I am not convinced
States v. Adlmian (11). 134 F.3d at 1202: Akin, Gump
Mem at 4. In context, the word was likely chosen to refer       the proffer waived the privilege in its entirety, the firm
                                                                cannot now complain that the Government will learn
to witness statements obtained by counsel, such as those
                                                                something new when it discovers that Akin, Gump actu-
at issue in Hickman. In addition, the word retains some
                                                                ally possesses the records of those accounts that the firm
vitality as part of the work product standard, for there are
                                                                proffered to the Government.
times when attorneys obtain documents they did not
themselves [*14] produce but that are prepared by non-                I conclude that even a subset of the records here is
attorney agents, such as investigators. These documents,        "evidence of neutral and objective facts" and such "mate-
produced "on [a client's] behalf," may qualify as attorney      rials assembled during routine investigations by counsel
work product protection. United States v. Nobles. 422           do not receive" work product protection. Zucker v. Sable-
U.S. at 239 n.13. In any event, the word has never been         72 F.R.D. 1. 3 (S.D.N.Y. 1975) (Werker, J.). [HAN12]
used to suggest that merely by gathering pre-existing           "The collection of evidence without any creative or ana-
materials, even as part of a far-ranging and diligent in-       lytic input by an attorney or his agent, does not qualify as
vestigation, an attorney transforms them into work prod-        work product." Riddell Sports. Inc. v. Brooks, 158
uct.                                                            F.R.D. 555. 559 (S.D.N.Y. 1994). "The mere acquisition
                                                                of documents from an unrelated third-party does not by
     It is certainly true that [I-N 1 1] work product protec-
                                                                itself impose upon them the status of work product. At its
tion applies to facts, not merely the opinions and strate-
                                                                core, the work-product doctrine exists to shelter the at-
gies of lawyers. In re Grand Jury Subpoena. 282 F.3d at
                                                                torney's preparation and analysis of the case. Even if the
 162 (quashing subpoena directing attorney to testify
                                                                lawyer's synthesis of the documents were to constitute
against client). As the Second Circuit discussed, limits
                                                                work product, [*17] the mere acquisition of such docu-
upon work product protection do not allow the Govern-
ment to ask counsel with impunity, "What facts have you         ments from a non-party does not create such a character-
discovered in your investigation?" Id. Such a broad in-         istic." Id. (citing Bohannon v. Honda Motor Co.. 127
quiry is impermissible, as it is likely aimed at, and can-      F.R.D. 536. 540 (D. Kan. 1989)).
not help but to uncover, legal strategy that is properly             As the Second Circuit has cautioned, [JAN13] quali-
within an attorney's "zone of privacy." Here, the subpoe-       fying the "selection" of records for protection "depends
nas do not seek "all facts" or even "all banking records"       upon the existence of a real, rather than speculative, con-
gathered by Akin, Gump's investigation. The subpoenas           cern that the thought processes of ... counsel in relation
identify a limited [*15] number of accounts and ask only        to pending or anticipated litigation would be exposed."
for records created or maintained by the banks them-            Gould. 825 F.2d at 680. Akin, Gump has failed to dem-
selves.                                                         onstrate such a genuine concern.
     B. The Sporck Exception Does Not Apply                          Akin, Gump also fails to distinguish the Second Cir-
                                                                cuit case most on point. In re Grand Jury Subpoenas
     The Sporck selection and compilation exception
                                                                Dated Oct. 22. 1991, and Nov. 1, 1991. 959 F.2d 1158
clearly does not apply here. That case and those that have


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 (2d Cir. 1992). That case concerned a grand jury sub-          accept the Government's assurance that it is motivated by
poena directed at telephone billing records for certain         a substantial need for the production -- no party disputes
lines gathered by the law firm Paul, Weiss, Rifkind,            the relevance to the grand jury investigation -- because it
Wharton & Garrison. The court required production be-           is unlikely the information will be otherwise available
cause the Government sought all telephone records relat-        from the banks or other sources. n2
ing to particular clients for a five-year period -- not a
select group that counsel considered relevant. To the
extent that Akin, Gump argues that it may only possess a                     n2 The bank records are presumably in Swit-
"subset' of records, [* 18] it is not clear how the Gov-                zerland; the account holders are officials of a for-
ernment could easily discern how counsel arrived at that                eign government. In addition, the Government
set. After all, the Government has represented that its                 submitted evidence that direct subpoenas upon
two-year-old MLAT requests have not borne fruit; the                    United States branches of foreign banks -- so-
Government will thus have nothing with which to com-                    called "Bank of Nova Scotia" subpoenas -- are no
pare Akin, Gump's production.                                           longer used by the Government following a 1987
     Akin, Gump asserts that this case is different be-                 Memorandum of Understanding negotiated be-
cause "none of the documents were obtained by Akin                      tween Switzerland and the United States to better
Gump from Mr. [Doe], [the Corporation], or any officer                  implement the Swiss! United States MLAT.
or employee of [the Corporation]." (Akin, Gump Mem.
                                                                [*20]
at 2). This distinction is not significant; it might even cut
both ways. Akin, Gump implies that this fact distin-                CONCLUSION
guishes this case from one where a client is merely at-
tempting to immunize material by turning it over to                  As I previously held, the Government's motion to
counsel, and the firm argues strenuously that the records       compel is granted. The September 9, 2002 order is modi-
are genuine fruits of its independent investigation. If the     fied to allow Akin, Gump seven business days from to-
documents were provided directly by a client, however,          day, i.e., an additional two days to seek appellate review.
that fact might indicate a greater risk of improperly dis-      Accordingly, Akin, Gump must comply with the subpoe-
closing the kind of attorney work product at the heart of       nas dated March 19 and August 2, 2002 no later than
the privilege's protection.                                     September 20, 2002.

     Moreover, Sporck is also inapplicable because the              SO ORDERED.
Government has shown that the "equities [do] not favor
the application of the Sporck exception [as] the files          Dated: New York, New York
from [*19] which documents had been culled by [coun-                September 11, 2002
sel are] not otherwise available [and are] beyond reason-
able access." Gould, 825 F.2d at 680. I am satisfied that           DENNY CHIN
the intrusion into defense counsel's files here is strictly         United States District Judge
limited. The accounts are specified, and only records
maintained or created by the banks are sought. I also




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                                                        LEXSEE

                     OMEGA ENGINEERING, INC., Plaintiff, v. OMEGA, S.A., Defendant.

                                              Civil No. 3:98cv2464(AVC)

               UNITED STATES DISTRICT COURT FOR THE DISTRICT OF CONNECTICUT

                                                2001 U.S. Dist. LEXIS 2016

                                              February 6, 2001, Decided

SUBSEQUENT HISTORY: Magistrate's recommenda-                  request, subject matter, preparation, revealing, unduly,
tion at, Costs and fees proceeding at Omega Eng'g. Inc.       motion to compel, registration, propounded, measuring,
v. Omnega, SA. 2004 U.S. Dist. LEXIS 27908 (D. Conn.,         sufficient information, affirmative defense, objecting
Mar. 24, 2004)                                                party, applicability, consisting, incomplete, world-wide,
                                                              inspection, responsive
DISPOSITION: [*1] OEI's motion to compel (docu-
ment no. 39) GRANTED.                                         LexisNexis(R) Headnotes

CASE SUMMARY:

                                                              Civil Procedure > Discovery > Disclosures > Manda-
PROCEDURAL POSTURE: Plaintiff in an action for                tory Disclosures
damages and injunctive relief for breach an agreement         Civil Procedure > Discovery > Methods > Interrogato-
for the use of trademarks, moved to compel discovery          ries > General Overview
responses from defendant, asserting that the responses        [HNI] See Fed. R. Civ. P. 37(a)(2)(B).
defendant had filed were incomplete and deficient, some
were unsigned, and that objections raised were unjusti-
fied.                                                         Civil Procedure > Discovery > Disclosures > Manda-
                                                              tory Disclosures
OVERVIEW: The agreement between the parties gov-              Civil Procedure > Discovery > Methods > General
erned the worldwide use of any trademark consisting of        Overview
or containing the word OMEGA or the Greek letter U.           [HN2] See Fed. R. Civ. P. 37(a)(3).
Because the agreement was effective worldwide, a wide
scope for discovery was necessary. In general, defendant
had failed to comply with the rules concerning objections     Civil Procedure > Discovery > Methods > General
and assertions of privilege and had submitted responses       Overview
without verified signatures. The court determined an          Civil Procedure > Discovery > Privileged Matters >
award of fees and costs to plaintiff was appropriate.         General Overview
                                                              Civil Procedure > Discovery > Relevance
OUTCOME: Plaintiffs motion to compel was granted              [11IN3] See Fed. R. Civ. P. 26(b)(1).
to the extent defendant had not already complied with
discovery. Defendant's objections for privilege required a
specific log as set forth by local rule. Defendant's objec-   Civil Procedure > Discovery > Methods > General
tions for overbreadth, vagueness or on relevance grounds      Overview
were largely unjustified, and it was obligated to respond     Civil Procedure > Discovery > Relevance
promptly to interrogatories it had previously ignored.        Evidence > Relevance > General Overview
                                                              [HN4] Information that is reasonably calculated to lead
CORE TERMS: interrogatory, trademark, discovery,              to the discovery of admissible evidence is considered
overly broad, attorney-client, discovery of admissible        relevant for the purposes of discovery. The term "rea-
evidence, reasonably calculated to lead, work-product,        sonably calculated" as used in Fed. R. Civ. P. 26 means
burdensome, apparatus, anywhere, privileged, discovery        any possibility that the information sought may be rele-

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vant to the subject matter of the action. A party may not     the date of the document; (4) the author of the document;
object to a discovery request on the grounds that the in-     and (5) each recipient of the document.
formation sought will be inadmissible at trial so long as
the material requested could lead to other information
that may be relevant to the subject matter of the action.     Civil Procedure > Discovery > Methods > Interrogato-
                                                              ries > General Overview
                                                              Contracts Law > Negotiable Instruments > Enforce-
Civil Procedure > Discovery > Methods > Interrogato-          ment > Joint & Several Instruments
ries > General Overview                                       [HN8] See Fed. R. Civ. P. 33(b)(2).
Civil Procedure > Discovery > Relevance
Civil Procedure > Discovery > Undue Burdens
[HIN5] A party may object to a discovery request if it is     Civil Procedure > Discovery > Methods > Interrogato-
overly broad or unduly burdensome. To assert a proper         ries > General Overview
objection on this basis, however, one must do more than       [HN91 Answers to interrogatories not signed by the party
simply intone the familiar litany that the interrogatories    making them constitutes a violation of the discovery
are burdensome, oppressive or overly broad. Instead, the      rules.
objecting party must show specifically how, despite the
broad and liberal construction afforded the federal dis-
covery rules, each request is not relevant or how each        Civil Procedure > Discovery > Disclosures > Sanctions
question is overly broad, burdensome or oppressive by         Civil Procedure > Discovery > Methods > General
submitting affidavits or offering evidence revealing the      Overview
nature of the burden. The objecting party may not leave       Civil Procedure > Discovery > Misconduct
it to the court to sift each interrogatory to determine the   [HNIlO] Interrogatories should not be read or interpreted
usefulness of the answer sought. To the contrary, the         in an artificially restrictive or hypertechnical manner to
detail in the complaint defines the liberal guidelines for    avoid disclosure of information fairly covered by the
determining the relevance of the discovery requests, and      discovery request, and to do so is subject to appropriate
the burden is on the party resisting discovery to clarify     sanctions under Fed. R. Civ. P. 37(a).
and explain its objections and to provide support for
those objections.
                                                              Civil Procedure > Discovery > Methods > Interrogato-
                                                              ries > General Overview
Civil Procedure > Counsel > General Overview                  Civil Procedure > Discovery > Relevance
Civil Procedure > Discovery > General Overview                [HIN II] Where an agreement is worldwide in scope, a
Evidence > Privileges > Attorney-Client Privilege >           party's world-wide activities which are allegedly in viola-
Scope                                                         tion of the agreement, are reasonably calculated to lead
[HN6] A party may also object to a discovery request          to the discovery of admissible evidence within the liberal
where the information sought is subject to the attorney-      meaning of the Federal Rules of Civil Procedure.
client privilege or the work-product doctrine. Fed. R.
Civ. P. 26(b)(5). The party asserting the privilege and
resisting discovery has the burden of establishing that       Civil Procedure > Discovery > Methods > General
privilege. Blanket assertions of privilege have been held     Overview
insufficient to satisfy this burden. Instead, a party must    Civil Procedure > Discovery > Misconduct
supply opposing counsel with sufficient information to        [HN121 See Fed. R. Civ. P. 37(a)(4)(A).
assess the applicability of the privilege or protection,
without revealing information which is privileged or
protected.                                                    Civil Procedure > Discovery > Methods > General
                                                              Overview
                                                              Civil Procedure > Discovery > Misconduct
Civil Procedure > Discovery > Privileged Matters >            [JHN13] Fed. R. Civ. P. 37(a)(4)(A) does not require a
General Overview                                              court to find bad faith before awarding reasonable attor-
[HN7] Pursuant to U.S. Dist. Ct., D. Conn., R. 9(d)(1), a     ney's fees. Instead, the court may order the losing party
party claiming privilege in response to a document re-        to pay reasonable expenses so long as such an award
quest shall, for each document to which the privilege         complies with the requirements of Rule 37(a).
applies, provide a log indicating: (1) the type of docu-
ment; (2) the general subject matter of the document; (3)


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COUNSEL: For OMEGA ENGINEERING, INC.,
plaintiff: Peter W. Peterson, Robert Curcio, DeLio &
Peterson, New Haven, CT.                                               both parties . .. are desirous of coming to
                                                                       an arrangement for the avoidance of fu-
For OMEGA, SA, defendant: Arthur T. Fattibene, Paul                    ture interference worldwide between their
A. Fattibene, Southport, CT.                                           respective fields of commercial operation
                                                                       under their [*3] rights in respect of
For OMEGA, SA, defendant: Jess M. Collen, Colhen                       trademarks consisting of or including the
Law Associates, Ossining, NY.                                          word OMEGA an/or the Greek letter U or
                                                                       containing elements colourably resem-
JUDGES: Alfred V. Covello, Chief, U.S.D.J.                             bling either of thos [sic] two elements. n2

OPINION BY: Alfred V. Covello
                                                                Under the contract, "[OEI] agreed to withdraw certain
OPINION:                                                        [trademark] oppositions against [OSA,]" and both parties
                                                                agreed to amend certain definitions of goods in their re-
  RULING AND ORDER ON THE PLAINTIFF'S
                                                                spective trademark applications.
MOTION TO COMPEL
     This is an action for damages and injunctive relief
                                                                            n2 For the sake of convenience, the court re-
brought by the plaintiff, Omega Engineering, Inc.
                                                                       fers the agreement's description of these marks as
("OEI") pursuant to common law tenets concerning
                                                                       the "OMEGA marks."
breach of contract. OEI's complaint alleges that the de-
fendant, Omega, S.A. ("OSA"), breached an agreement
entered into by the parties with respect to the use of "any          Among other things, the agreement prohibits OEI
trademark consisting of or containing the word OMEGA            from using, registering, or applying to register any
or the Greek letter U. .. ." OEI brings the within motion,      trademark containing the OMEGA marks with respect to
pursuant to Fed. R. Civ. P. 37, nl requesting the court to      "computer controlled measuring, timing and display ap-
compel OSA to "provide full and complete answers to             paratus, unless intended for science or industry." Simi-
[OEI's] interrogatories" and to produce all materials           larly, the agreement prohibits OSA from using, register-
sought in connection with its document requests. In addi-       ing, or applying to register any trademark containing the
tion, OEI asks the court to award it costs incurred in the      OMEGA marks with respect to "apparatus industrially
preparation of the instant [*2] motion. As set 2forth in        and/or scientifically employed for measuring or control-
more detail below, OEI's motion (document no. 39) is            ling variable parameters such [*4] as temperature, pres-
GRANTED.                                                        sure, force, load, vibration, electrical conductivity, liquid
                                                                level, acidity, humidity, strain and flow." The agreement
                                                                also requires OSA not to object to OEI's use or registra-
            nM [HNl] Rule 37(a)(2)(B) provides, in per-         tion of any trademark containing the OMEGA marks
       tinent part, that: "if. ... a party fails to answer an   with respect to these same apparatus. By its terms, the
       interrogatory submitted under Rule 33, or ... in         agreement is effective in all countries of the world.
       response to a request for inspection submitted
                                                                     On December 17, 1998, OEI filed this action in fed-
       under Rule 34, fails to respond that inspection
                                                                eral court alleging that OSA had breached the 1994
       will be permitted as requested . . . , the discover-
                                                                agreement by:
       ing party may move for an order compelling an
       answer, or ... an order compelling inspection in
       accordance with the request." Fed. R. Civ. P.
                                                                        1) objecting "to the use or registration by
       37La)(2)(B). [FIN2] Rule 37(a)(3) provides that:
                                                                        [OEI] of [OEI's] trademarks consisting of
       "for the purposes of this subdivision an evasive or
                                                                        the [OMEGA marks]" with respect to
       incomplete disclosure, answer, or response is to
                                                                        "apparatus industrially and/or scientifi-
       be treated as a failure to disclose, answer, or re-
                                                                        cally employed for measuring or control-
       spond." Fed. R. Civ. P. 37(a)(3).
                                                                        ling variable parameters[;]" and

    FACTS                                                               2) "filing, prosecuting and maintaining. .
                                                                           opposition and cancellation actions
    In 1994, OEI entered into an agreement with OSA,
                                                                        against [OEI's] trademark application and
which, at the outset, states that
                                                                        registrations[J]"


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     On September 27, 1999, OSA answered the com-            [*7] affidavits or offering evidence revealing the nature
plaint, asserting some fourteen affirmative defenses.        of the burden " Id. (internal citations and quotation marks
                                                             omitted). The objecting party may not leave it to the
     On July 10, 2000, the court granted in part and de-
                                                             court to "sift each interrogatory to determine the useful-
nied in part OEI's motion to strike OSA's affirmative
                                                             ness of the answer sought." Id. To the contrary, the detail
defenses; eleven of the fourteen affirmative defenses
                                                             in the complaint defines the liberal guidelines for deter-
survived the court's ruling.
                                                             mining the relevance of the discovery requests, and the
     Between August 10, 1999 and February 14, 2000,          burden is on the party resisting discovery to clarifyr and
OEI [*5] propounded on OSA three sets of interrogato-        explain its objections and to provide support for those
ries and three sets of document requests.                    objections. Id.
     On July 7, 2000, OEI filed the within motion, pursu-          [HN6] A party may also object to a discovery re-
ant to Fed. R. Civ. P. 37, seeking an order compelling       quest where the information sought is subject to the at-
OSA to: 1) provide full and complete answers to OEI's        torney-client privilege or the work-product doctrine. See
interrogatories, and 2) produce all materials requested in   Fed. R. Civ. P. 26(b)(5). "The party asserting the privi-
OEI's requests for production of documents.                  lege and resisting discovery has the burden of establish-
                                                             ing that privilege." Burns v. Imagine Films Entertain-
    DISCUSSION                                               ment. Inc.. 164 F.R.D. 589. 593 (W.D.N.Y. 1996).
     OEI argues, in general, that OSA's responses to its     "Blanket assertions" of privilege have been held insuffi-
discovery requests are incomplete and deficient. OSA, on     cient to satisfy' this burden. See Burns v. Imagine Films
the other hand, contends that its responses are complete,    Entertainment, Inc.. 164 F.R.D. 589. 593 (W.D.N.Y.
and that OEI's requests are irrelevant, overly broad, or     1996). Instead, a party "must supply opposing counsel
protected by a privilege.                                    with sufficient information to assess the applicability
                                                             [*8] of the privilege or protection, without revealing
      [HN3] Rule 26(b)(1) of the Federal Rules of Civil      information which is privileged or protected." Id. Finally,
Procedure states, in pertinent part, that "parties may ob-   [HN7] pursuant to D. Conn. L. Civ. R. 9(d)(1), a party
tain discovery regarding any matter, not privileged,         claiming privilege in response to a document request
which is relevant to the subject matter involved in the      shall, for each document to which the privilege applies,
pending action . . . ." Fed. R. Civ. P. 26(b)(1). [HN4]      provide a log indicating: 1) the type of document; 2) the
Information that is reasonably calculated to lead to the     general subject matter of the document; 3) the date of the
discovery of admissible evidence is considered relevant      document; 4) the author of the document; and 5) each
for the purposes of discovery. See Daval Steel Prods. v.     recipient of the document. See D. Conn. L. Civ. R.
 N4/V Fakredine. 951 F.2d 1357. 1367 (2d Cir.1991). The
                                                             9(d)(1).
term "reasonably calculated" as used in Rule 26 means
"any possibility that the [*6] information sought may be     A. Verification of Interrogatories
relevant to the subject matter of the action."
Morse/Diesel, Inc. v. Fidelity & Deposit Co., 122 F.R.D.           OEI first argues that OSA has failed to have one of
447, 449 (S.D.N.Y. 1988). A party may not object to a        its officers or agents verify its responses to OEI's inter-
discovery request on the grounds that the information        rogatories. OSA responds that "verification was never
sought will be inadmissible at trial so long as the mate-    reasonably in dispute[.]" The court is unclear how this
rial requested could lead to other information that may be   could be so given the motion before it. In addition, the
relevant to the subject matter of the action. See id.        court notes that over four months after OEI filed this
                                                             motion complaining about the lack of verification, OSA
      [fIN5] A party may object to a request if it is        still had not produced signatures for two out of three sets
"overly broad" or "unduly burdensome." 8A Charles A.         of interrogatories. [HN8] Rule 33 explicitly states that
Wright, Arthur R. Miller & Richard L. Marcus, Federal        "lanswers [to interrogatories] are to be signed by the per-
Practice and Procedure § 2174, at 297 (2d ed. 1994). To      son making them[J]" Fed. R. Civ. P. 33(b)(2); see hbqg!!~
assert a proper objection on this basis, however, one        v. Admiral Corp., 167 F. Supp. 413. 41.5 (S.D.N.Y.
must do more than "simply intone [the] familiar litany       1958) [*9] (noting that [11N9] answers to interrogato-
that the interrogatories are burdensome, oppressive or       ries not signed by the party making them constitutes a
overly broad." Compaignie Francaise D'Assurance Pour         violation of the discovery rules). Accordingly, the court
Le Commerce Exterieur v. Phillips Petroleum Co., 105         orders OSA to sign its responses to OEI's interrogatories
F.R.D. 16, 42 (S.D.N.Y. 1984). Instead, the objecting        in compliance with Rule 33(b)(2) within 21 days of this
party must "show specifically how, despite the broad and     order.
liberal construction afforded the federal discovery rules,
each [request] is not relevant or how each question is
                                                             B. Interrogatories Nos. 4-6
overly broad, burdensome or oppressive by submitting


                                                                                                                 Page 4
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    As indicated by OEI's reply brief, since the filing of      the court orders OSA to supplement its response to these
the within motion, OSA has provided more complete               interrogatories, in compliance with Fed. R. Civ. P. 26(e),
answers to these interrogatories. Accordingly, the court        to the extent that answers to future discovery requests
does not address OEI's arguments relating to these re-          make its response to Interrogatories Nos. 7 and 8 incom-
quests.                                                         plete. See Fed. R. Civ. P. 26(e).

C. Interrogatories Nos. 7 and 8                                 D. Interrogatory No. 9
     These interrogatories ask OSA to: 1) identify each              This interrogatory seeks the identity, description and
person who participated in the preparation of the answers       location of documents "in the possession or control of
to any interrogatory that has been propounded on it by          [OSA] that are relevant to any statements in [OEI's]
OEI; and 2) identify the "custodian and location of each        complaint that are disputed by the [OSA]." OSA objects,
of the documents from which the answers to these inter-         on the grounds that the interrogatory is "overly broad and
rogatories have been obtained or which have been re-            unduly burdensome, vague and ambiguous, and/or seeks
quested in [OEI's] current or future" document requests.        information which is protected by the attorney-client
GSA has objected on the ground that these interrogato-          privilege and/or work product doctrine[J]" The mere in-
ries are "~overly broad, vague and ambiguous." In its op-       cantation of these words [*12] is insufficient to carry
position, GSA states that its complaint with respect to         OSA's burden with regard to this objection. See
these interrogatories stems from the fact that they seek        Compagnie Francaise D'Assurance Pour Le Commerce
the requested information [*10] as related to "current or       Exterieur v. Phillips Petroleum Co.. 105 F.R.D. 16. 42
future requests."                                               (S.D.N.Y. 1984). Accordingly, OSA is ordered to re-
                                                                spond. In the event that the information sought through
     The court notes, at the outset, that GSA's objections
                                                                this interr ogatory is protected by the attorney-client
are not properly supported. See Compagnie Francaise
                                                                privilege or the work-product doctrine, OSA is ordered
D'Assurance Pour Le Commerce Exterieur v. Phillips
                                                                to supply OEI with "sufficient information to assess the
Petroleum Co.. 105 F.R.D. 16.42 (S.D.N.Y. 1984). Also.
                                                                applicability of [that] privilege or protection, without
rather than answer these interrogatories insofar as they
                                                                revealing information which is privileged or protected."
relate to sets of interrogatories and document requests
                                                                Burns v. Imagine Films Entertainment. Inc.. 164 F.R.D.
that had already been propounded on GSA, GSA inap-
                                                                589, 593-94 (W.D.N.Y. 1996).
propriately chose not to respond at all. See Fed. R. Civ.
P. 33(b)(2) (noting that objecting party "shall answer to
                                                                E. Interrogatory No. 10.
the extent the interrogatory is not objectionable."). Fur-
ther, the court notes that the Federal Rules Advisory                This interrogatory asks GSA to explain "for each af-
Committee has expressly disapproved of employing such           firmative defense . .. the basis of the defense, including
gamesmanship in discovery requests:                             facts supporting the defense, . . . the reasons such facts .
                                                                * support such defense, and the person(s) most knowl-
          [HNIO]                                                edgeable about the facts and reasons supporting such
        Interrogatories . . . should not be read or             defense." OSA objects on the grounds that the interroga-
        interpreted in an artificially restrictive or           tory is "vague and over broad, particularly to the extent
        hypertechnical manner to avoid disclosure               that it refers to 'the defense', while the question is pref-
        of information fairly covered by the dis-               aced by a request for 'each affirmative [*13] defense'
        covery request, and to do so is subject to              and seeks . .. the basis of 'the defense."' Subject to this
        appropriate sanctions under [Rule 37(a)].               objection, OSA provided a limited response that improp-
                                                                erly incorporated unspecified answers to earlier inter-
                                                                rogatories. See Trabon Eng'g Corp. v. Eaton Mfg. Co.,
8A Charles A. Wright, Arthur R. Miller & Richard L.             37 F.R.D. 51. 60 (N.D. Ohio 1964) (observing that an-
Marcus, Federal Practice and Procedure § 2177, at 317           swers to interrogatories that refer to other answers are
(2d ed. 1994) (quoting Advisory Committee Notes). In-           insufficient).
terrogatories [*11I] Nos. 7 and 8 represent the most stan-
                                                                     Again, the court disapproves of OSA's overly strict
dard of discovery requests in that they simply seek: 1)
                                                                interpretation of this very basic discovery request. In
the names of individuals who participated in the prepara-
                                                                addition, it concludes that OSA's limited response is in-
tion of the interrogatory answers; and 2) the identity of
                                                                adequate and hereby orders OSA to provide the factual
any document used for that same purpose. In light of the
                                                                basis (as opposed to the legal basis) for each affirmative
above, the court hereby orders OSA to respond to these
                                                                defense it has asserted. See Harlem River Consumers
interrogatories to the extent they relate to discovery re-
                                                                Coop.. Inc. v. Associated Grocers of Harlem, Inc., 64
quests that have been propounded on GSA by GEL. Also,
                                                                F.R.D. 459. 461-62 (S.D.N.Y. 1974) (noting that parties


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are entitled to know the factual content of opponent's          G. Document Request No. 28
claims with a reasonable degree of precision). The court
                                                                     Through this request, OEI seeks all documents and
further concludes that OEI's privilege objection is not
properly supported. See Bumns v. Imagine Films Enter-           things identified in OSA's response to Interrogatory No.
                                                                 10. OSA responds to this request by referring to its ob-
tainment, Inc.. 164 F.R.D. 589. 593 (W.D.N.Y. 1996).
                                                                jection to Interrogatory No. 10, which states that the re-
To the extent OSA contends that any of the information
                                                                quest is unduly burdensome or that the information
sought by this interrogatory is protected [* 14] by the
                                                                sought is protected by the existence of a privilege. See
attorney-client privilege or the work-product doctrine,
OSA is ordered to supply OEI with "sufficient informa-          Section E, supra.
tion to assess the applicability of [that] privilege or pro-         As with OSA's objection to Interrogatory No. 10, the
tection, without revealing information which is privi-          court concludes that OSA has not carried its burden of
leged or protected." See id. at 593-94.                         demonstrating that this document request is unduly bur-
                                                                densome or overly broad. Compagnie Francaise D'As-
F. Interrogatories Nos. 11-14                                   surance Pour Le Commerce Exterieur v. Phillips Petro-
                                                                leum Co.. 105 F.R.D. 16. 42 (S.D.N.Y. 1984). The court
     These interrogatories seek: 1) the identity of "all ap-
                                                                also concludes that OSA has not properly supported its
paratus industrially or scientifically employed for meas-
                                                                privilege objection. See Burns v. Imagine Films Enter-
uring . . . variable parameters" which contain the
                                                                tainment, Inc., 164 F.R.D. 589, 594 (W.D.N.Y. 1996).
OMEGA marks and which have been "sold by [OSA],
                                                                To the extent any material responsive to this or other
anywhere in the world," since the agreement between the
                                                                document requests is protected by the attorney-client
parties was signed in 1994; 2) the identity of all pending
                                                                privilege or the work-product doctrine, OSA shall pro-
applications and registrations for any trademarks con-
                                                                vide OEI with a log indicating: (1) the type of document;
taining the OMEGA marks, that are "owned by, filed by,
                                                                (2) the general subject matter of the document; (3) the
issued to, obtained by or renewed by [OSA] since [OSA]
                                                                date of the [* 17] document; (4) the author of the docu-
signed the 1994 agreement, anywhere in the world;" and
                                                                ment; and (5) each recipient of the document. See D.
3) the identity of all industrial and/or scientific timers
                                                                Conn. L. Civ. R. 9(d)(1); see also Fed. R. Civ. P.
under any trademark containing the OMEGA marks
                                                                26(b)(5). Accordingly, OSA is ordered to produce all
"sold by [OSA,] anywhere in the world," since OSA
                                                                documents, not otherwise privileged, that are responsive
signed the 1994 agreement. OSA objects to all four re-
                                                                to this request.
quests, contending that they are "irrelevant [and] overly
broad . .. insofar as they relate to 'anywhere in the [*15]
                                                                H. Document Requests Nos. 29-38
world."'
                                                                     OSA offers the exact same objection to each of these
     The court notes, however, that the 1994 agreement,
                                                                requests. It argues that they are "irrelevant, overly broad
which is the basis of this action, explicitly states that its
                                                                and not reasonably calculated to lead to the discovery of
terms are effective "in all countries of the world."
                                                                admissible evidence" because they refer to apparatus sold
[HNI 1] Because the agreement is worldwide in scope,
                                                                by OSA, or trademark applications owned/filed by OSA
OSA's world-wide activities, which are allegedly in vio-
                                                                "anywhere in the world." Again, the 1994 agreement that
lation of the agreement, are reasonably calculated to lead
                                                                serves as the basis for this action is world-wide in scope.
to the discovery of admissible evidence within the liberal
                                                                Consequently, OSA's world-wide activities allegedly in
meaning of the federal rules. See Morse/Diesel. Inc. v.
                                                                violation of that agreement are "reasonably calculated to
Fidelity & Deposit Co.. 122 F.R.D. 447, 449 (S.D.N.Y.
                                                                lead to the discovery of admissible evidence." See
1988) (noting that "reasonably calculated" in Rule
                                                                Morse/Diesel. Inc. v. Fidelity & Deposit Co.. 122 ~F.R.D.
26(b)(1) means "any possibility that the information
                                                                447. 449 (S.D.N.Y. 1988). Aside from its problem with
sought may be relevant to the subject matter of the ac-
                                                                the geographic scope, OSA has provided no other basis
tion"). Further, these interrogatories, far from being ir-
                                                                for its objection. See Burns v. Imagine Films Entertain-
relevant, ask for information directly bearing on OSA's
                                                                ment, Inc., 164 F.R.D. 589. 593-94 (W.D.N.Y. 1996).
alleged breach of the 1994 agreement. Indeed, the lan-
                                                                Accordingly, the court [* 18] orders OSA to produce
guage of the interrogatories is taken almost verbatim
                                                                documents responsive to Document Requests Nos. 29-3 8
from the 1994 agreement, which serves as the basis of
                                                                in their current form, without any further narrowing of
this action. The court struggles to think of a request more
                                                                their scope.
"reasonably calculated to lead to the discovery of admis-
sible evidence." Accordingly, OSA shall respond to In-
                                                                I. Document Requests 1-5, 10-12, 13-15, 17-19, 21, 24-
terrogatories Nos. 11-14 in their current form, without
                                                                27
any further narrowing [*16] of their scope.



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    As indicated by OEI's reply brief, since the filing of     cludes that OSA's use of strained and overly technical
the within motion, OSA has provided more complete              interpretations of OEI's interrogatories to avoid its obli-
responses to these requests. Accordingly, the court does       gation under the broad discovery rules resulted in OEI's
not address OEI's arguments relating to these requests.        incurring unnecessary expense. See, e.g., Resps. to Inter-
                                                               rogs. Nos. 7, 8, and 10. Accordingly, the court will make
J. Expenses and Costs                                          an award of fees and costs following the parties' submis-
                                                               sion on this issue as detailed immediately below.
    OEI also argues that the court should award it costs
incurred in connection with the preparation of the within
motion because OSA's objections were not justified.                        n3 While in some cases, OSA cited the re-
      [HN 12] Rule 37(a)(4)(A) of the Federal Rules of                quests' allegedly broad scope -- "anywhere in the
Civil Procedure states that:                                          world" -- as the reason for its objection, the court
                                                                      concludes that this basis was not justified given
                                                                      the breadth of the 1994 agreement at issue in this
                                                                      case. See Sections F and H, supra.
       if [a motion to compel] is granted ... the
       court shall, after affording an opportunity
       to be heard, require the party whose con-                    CONCLUSION
       duct . . . necessitated the motion   . . . to
                                                                   Based on the foregoing, OEI's motion to compel
       pay the moving party the reasonable ex-                 (document no. 39) is GRANTED. The court orders that:
       penses incurred in making the motion, in-
       cluding attorney's fees, unless the court
       finds that ... the opposing party's nondis-                     1) OSA shall provide full and complete
       closure, response or objection was sub-                         responses to interrogatories nos. 7-14 and
       stantially justified, or that other circum-                     document requests nos. 28-3 8 within 21
       stances make an award of expenses un-                           days of this order;
       just.
                                                                       2) OSA shall provide [*21] OEI with a
                                                                       privilege log, in compliance with D.
Fed. R. Civ. P. 37(a)(4)(A). [HN13] [*19] This rule                    Conn. L. Civ. R. 9(d)(1), for all docu-
does not require the court to find bad faith before award-             ments that it contends are subject to the
ing reasonable attorney's fees. See Messier v. Southbury               attorney-client privilege or the work-
Training Sch.. 1998 U.S. Dist. LEXIS 20315. No. 3:94-                  product doctrine within 21 days of this
CV-1706. 1998 WL 841641. at *5 (Dec. 2, 1998.). In-                    order;
stead, the Court may order the losing party to pay rea-
sonable expenses so long as such an award complies with                3) OSA shall sign its responses to OEI's
the requirements of Rule 37(a). See id.                                interrogatories in compliance with Rule
     An award of expenses is warranted in this case as                 33(b)(2) within 21 days of this order;
the court concludes that OSA's objections were largely
unjustified. For instance, in response to a majority of                4) OEI shall serve a copy of this Ruling
OEI's requests, OSA merely recited the same "form"                     and Order on OSA forthwith; and
objection stating that the requests were either: 1) "irrele-
vant," "overly broad," or "not reasonably calculated to                5) OEI shall serve and file by, February
lead to the discovery of admissible evidence;" or 2) sub-              21, 2001, affidavits which set forth with
ject to the attorney-client privilege or work-product doc-             specificity the expenses it incurred in pre-
trine. When asserting either of these objections, OSA                  paring its motion to compel. OSA shall
failed to provide any evidentiary basis for its response.              have 21 days from the date of service of
See Resps. to Interrogs. Nos. 7-9 and 11-14; Resps. to                 OEI's affidavits to file any opposition.
Reqs. for Docs. Nos. 1-5, 10-12, 17-19, 21, 24, 26, 30-             It is so ordered this 6th day of February, 2001 at
38. n3 Also, as noted earlier, many of OEI's requests           Hartford, Connecticut.
objected to on relevance grounds were directly related to
OSA's alleged breach of the 1994 agreement, which is                Alfred V. Covello, Chief U.S.D.J.
 [*20] at the heart of this dispute. Finally, the court con-




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                                     LEXSEE 2006 U.S. DIST. LEXIS 29813

              ROBERT SICURELLI et al., Plaintiffs, -against- JENERIC/PENTRON INC. et al.,
                                             Defendants.

                                           03-CV-4934 (SLT) (KAM)

              UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF NEW
                                                     YORK

                                            2006 U.S. Dist. LEXIS 29813

                                             May 16, 2006, Decided

PRIOR HISTORY: Sicurelli v Jeneric / Pentron, Inc,        JUDGES: KIYO A. MATSUMOTO, United States
2005 U S Dist LEXIS 38943 (E.D.N.Y, Dec 30, 2005)         Magistrate Judge.

COUNSEL: [*11 For Dr. Robert Sicurelli, Dr., Dr.          OPINION BY: KIYO A. MATSUMOTO
Samuel Masyr, Dr., Plaintiffs: Bradford James Badke,
Michael S. Burling, Ropes & Gray LLP, New York, NY;       OPINION:
Gloria Fuentes, Ropes & Gray, New York, NY.                     MEMORANDUM & ORDER
For Jeneric/Pentron Inc., Defendant: Andrew C. Ryan,      MATSUMOTO, United States Magistrate Judge:
Cantor Colburn, LLP, South Bloomfield, CT; William J.
Cass, Cantor Colburn, LLP, Bloomfield, CT; Charles D.          This patent infringement action has been referred to
Donohue, Drinker Biddle & Reath LLP, New York, NY;        the undersigned for general pretrial supervision. Pres-
Gloria Fuentes, Ropes & Gray, New York, NY.               ently before the Court is the motion of Jeneric/Pentron,
                                                          Inc., Pentron Clinical Technologies, LLC and Pentron
For Pentron Clinical Technologies, LLC, Pentron Corpo-    Corporation, Inc. (collectively, "Jeneric/Pentron") to
ration, Inc., Defendants: Charles D. Donohue, Drinker     compel the production of certain documents, in plaintiffs'
Biddle & Reath LLP, New York, NY.                         possession. The documents were subpoenaed by Jen-
                                                          eric/Pentron from Hi-Rel Laboratories, Inc. ("Hi-Rel"),
For Jeneric/Pentron Inc., Counter Claimant: Charles D.    an entity which purportedly conducted scanning electron
Donohue, Drinker Biddle & Reath LLP, New York, NY.        microscopy ("SEM") tests of Jeneric/Pentron's dental
                                                          posts which are the subject of this litigation. Specifically,
For Dr. Samuel Masyr, Dr., Dr. Robert Sicurelli, Dr.,      in addition to all documents and things considered by
Counter Defendants: Michael S. Burling, Ropes & Gray      plaintiffs' expert, Dr. Anthony Storace, in formulating his
LLP, New York, NY; Gloria Fuentes, Ropes & Gray,          opinion and expert report, Jeneric/Pentron seeks produc-
New York, NY.                                             tion of "any and all documents and things, including..
                                                          photographs . .. exchanged between [plaintiffs' litigation
For Coltene/Whaledent, Inc., Cross Claimant: Michael F.   counsel] Ropes & Gray and Fli-Rel . .. [*3] . [,]" and
Sarney, Katten Munchin Rosenman LLP, New York,             any and all documents that mention, refer or relate to the
NY.                                                        instant law suit or any of the parties thereto. (Doc. No.
                                                           183, Affirmation of Michael Burling, Esq. dated Apr. 3,
For Pentron Clinical Technologies, LLC, Pentron Corpo-     2006 ("Burling Aff."), Ex. D, Subpoena to Hi-Rel,
ration, Inc, Cross Defendants: Charles D. Donohue,         Schedule A, PP4-6.)
Drinker Biddle & Reath LLP, New York, NY.                         Plaintiffs do not oppose the production of all materi-
                                                            als considered by Dr. Storace in formulating his opinion
For Jeneric/Pentron Inc., Cross Defendant: Andrew C.
                                                            and expert report. Instead, plaintiffs assert the work
Ryan, [*2] Cantor Colburn, LLP, South Bloomfield,           product privilege as to other documents relating to Hi-
CT. Charles D. Donohue, Drinker Biddle & Reath LLP,
                                                            Rel's testing, specifically, testing commissioned by plain-
New York, NY.                                               tiffs both prior to and following the commencement of
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this litigation. (See generally, Doc. No. 182, Plaintiffs'            "[T]hree conditions must be met to earn work prod-
Memorandum of Law in Opposition to Motion to Com-               uct protection. The material must (1) be a document or a
pel ("Pls. Opp'n MOL").) Plaintiffs also dispute Jen-           tangible thing, (2) that was prepared in anticipation of
eric/Pentron's contention that all materials prepared by or     litigation, and (3) was prepared by or for a party, or by or
otherwise exchanged between plaintiffs and Hi-Rel, re-          for his representative." In Re Grand Jury Subpoenas
gardless of whether such materials were considered by           Dated Dec 18, 1981 & Jan. 4, 1982, 561 F. Supp. 1247,
Dr. Storace, should be produced because they have been           1257 (E.D.N. Y 1982). The burden of establishing all
placed "at issue." (Id. at 6-10.) Dr. Storace has declared      three elements of the work product privilege rests with
under oath:                                                     the party invoking the privilege. In re Grand Jury Sub-
                                                                poena Dated Dec. 19, 1978, 599 F.2d 504, 510 (2d Cir.
                                                                 1979). There is no dispute regarding the first and third
       I have no knowledge of the testing con-                   prongs of this tripartite [*6] test.
       ducted by Hi-Rel with Dr. Sicurelli and                        With respect to the second prong -- whether the
       Ropes & Gray, and I did not consider it in
                                                                document was prepared in anticipation of litigation --
       forming my opinions in [*4] this case. No                this Court has previously determined that one of the
       person at Hi-Rel made reference in my                    SEM tests was "commissioned by and for plaintiffs in
       dealings with them to any previous work                  their anticipation of litigation against Jeneric," prior to
       having been performed for Dr. Sicurelli,                 the commencement of this litigation ("pre-litigation test-
       Dr. Masyr, or Ropes & Gray. I have pro-                  ing"). Sicurelli v. Jeneric/Pentron, No. 03-CV-4934, slip
       duced all materials that I considered in                 op. at 13-14 (E.D.N.Y. May 3, 2005) ("May 2005 Or-
       forming my opinions in the above-                        der"). This Court ruled that the documents relating to that
       captioned matter.                                        test were "developed by the plaintiffs in the context of
                                                                the plaintiffs' potential litigation against Jeneric . .. and
                                                                 [were] protected from disclosure as plaintiffs' work
(Burling Aff., Ex. A, Declaration of Dr. Anthony Storace        product and may not be disclosed . .. without plaintiffs'
dated Mar. 30, 2006 ("Storace Decl."), PP8-9.)                   consent." Id.; see also Jeneric/Pentron, No. 03-CV-4934,
     For the reasons set forth below, the Court finds that       slip op. at 9 (E.D.N.Y. June 16, 2005) ("Order on Recon-
(i) documents relating to plaintiffs' pre-litigation SEM         sideration") (on reconsideration, holding that documents
testing, and plaintiffs' litigation counsel's SEM testing, of    relating to the results of SEM testing of dental posts
Jeneric/Pentron's dental posts are protected by the work         commissioned by plaintiffs were work product "because
product privilege; (ii) Jeneric/Pentron has not demon-           the record established that plaintiffs commissioned the
strated the requisite "substantial need" for the privileged      test to aid them in their anticipated litigation").
materials sufficient to overcome work product protec-                 Moreover, the Court finds that documents relating to
tion; and (iii) plaintiffs have not otherwise placed such       the results of the [*71 SEM tests commissioned by plain-
materials "at issue" so as to have waived work product          tiffs' litigation counsel, Ropes & Gray, LLP, and con-
protection. Accordingly, Jeneric/Pentron's motion to            ducted during the course of litigation, also qualify as
compel is denied without prejudice.                             work product. A review of plaintiffs' privilege log re-
     DISCUSSION                                                 garding "Withheld Documents Submitted by Third-Party
                                                                Hi-Rel Laboratories, Inc.," indicates that plaintiffs' litiga-
     The work product doctrine provides qualified pro-          tion counsel commissioned tests in connection with the
tection from discovery of "documents and tangible things        instant action on September 9, 2004, nearly one year
... prepared in anticipation of litigation" unless the party
                                                                after the filing of the Summons and Complaint on Sep-
seeking discovery demonstrates a "substantial [*5] need         tember 26, 2003, and that Hi-Rel provided the results of
of the materials in the preparation of the party's case and      its testing to plaintiffs' counsel on or about December 9,
that the party is unable without undue hardship to obtain       2004. (See Doc. No. 178, Affirmation of William J.
the substantial equivalent of the materials by other            Cass, Esq. ("Cass Aff."), at Ex. A, Privilege Log.) Ac-
means." Fed R. Civ P. 26(b)(3). The purpose of this             cordingly, plaintiffs have satisfied the elements neces-
doctrine is to protect from disclosure materials reflecting      sary to establish the applicability of the work product
"the mental impressions, conclusions, opinions, or legal        privilege to the disputed documents.
theories of an attorney or other representative of a party
concerning the litigation." Id.                                  B. Substantial Need for the Protected Documents
 A. Applicability of the Work Product Doctrine                       "Even where the applicability of the work product
                                                                 doctrine has been established, factual material may be
                                                                 ordered produced 'upon a showing of substantial need
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and inability to obtain the equivalent without undue         documents; however, the discovery devices do provide
hardship."' In re Omeprazole Patent Litig., 2005 US.         an alternative means for Jeneric/Pentron to obtain the
Dist LEXIS 6112, No M-21-81, 2005 WL 818821, [*8]            substantial equivalent and, perhaps more, without undue
at *9 (S.D.N.Y Feb 18, 2005) (quoting Upjohn Co. v.          hardship and without impinging upon plaintiffs' work
United States, 449 US 383, 400, 101 S. Ct. 677, 66 L.        product. See Inre INt' Sys & Controls Corp., 693 F.2d
Ed. 2d 584 (1981)); In re Grand .Jury Proceedings, 219       1235, 1241 (5th Cir 1982) (noting that although expense
F 3d 175, 190-191 (2d Cir 2000) ("A party seeking dis-       may be considered in determining undue hardship, "in
covery of attorney work-product must show substantial        the ordinary case, the cost of one or a few depositions is
need, for fact work-product. As for work-product that        not enough to justify discovery of work product") (cita-
shows mental impressions, conclusions, opinions, or          tion omitted)
legal theories of an attorney,. ... at a minimum such ma-
terial is to be protected unless a highly persuasive show-   C. "At Issue" Waiver
ing [of need] is made.") (internal citations and quotation
                                                                  Jeneric/Pentron also contends that plaintiffs have
marks omitted).
                                                             waived any claim over the Hi-Rel documents by placing
     "Substantial need is not evaluated in a vacuum, and     their tests of Jeneric/Pentron's dental posts "at issue."
in order to overcome work product protection, [defen-        (See Doc. No. 197, Jeneric/Pentron's Memorandum of
dant] must demonstrate that it cannot obtain the substan-    Law in Support of Motion to Compel ("Def. MOL"), at
tial equivalent of the information it seeks." E.E.O.C. v.    5-8.) Specifically, Jeneric/Pentron asserts that because
Carrols Corp., 215 F.R.D. 46, 52 (N.D.N Y. 2003) (citing     plaintiffs, their counsel and Dr. ["11] Storace each re-
Horn & HardartCo. v. Pillsbury Co, 888 F 2d 8, 12 (2d        tained Hi-Rel to conduct tests on the allegedly infringing
Cir. 1989)). That does not mean that a party seeking the     dental posts, plaintiffs have placed at issue all of Hli-Rel's
document must show an absolute impossibility, but            tests relative to those dental posts.
rather that it is significantly more difficult, time-
                                                                  Jeneric/Pentron correctly asserts that "waiver of
consuming or expensive to obtain the information from
                                                             work product protection may result from a party's injec-
another source. Securities & Exch Comm'n. v. Thrasher,
                                                             tion of an issue into the litigation that, in fairness, re-
1995 US Dist. LEXIS 1355, 92 Civ. 6987, 1995 WL
                                                             quires the party to disclose otherwise protected material."
46681, [*9] at *9(SD.N.Y Feb. 7,1995).
                                                             Ruotolo v. City of New York, 2005 US Dist. LEXIS
     Jeneric/Pentron has not demonstrated why it could       5958, No. 03 Civ 5045, 2005 WL 823015, at *2..3
not and cannot now obtain the substantial equivalent of      (SD N.Y Apr. 7, 2 005) (citing In re Grand Jury Pro-
the information contained in the protected documents. As     ceedings, 219 F.3d 175, 182 (2d Cir. 2000)). Courts have
the Court indicated in its May 3, 2005 order, Jen-           found that an "at-issue"~ waiver has occurred when the
eric/Pentron could have conducted its own SEM tests of       following factors are present:
its dental posts and, indeed, could have commissioned
Hi-Rel to do so, just as it could have deposed the Hli-Rel
employee that conducted the tests. See Tribune Co v.
                                                                     (1) assertion of the privilege was the re-
Purcigliotti, 1998 US Dist. LEXIS 5155, 93 Civ 7222,                 sult of some affirmative act, such as filing
1998 WL 175933 at *4 (S.D.N.Y Apr 14, 1998) ("'..Sub-                suit, by the asserting party; (2) through
stantial need' cannot be shown where persons with
                                                                     this affirmative act, the asserting party put
equivalent information are available for deposition.")
                                                                     the protected information at issue by mak-
(citing Pillsbury, 888 F.2d at 12); Atlantic Richfield Co
                                                                     ing it relevant to the case; and (3) applica-
v Current Controls, Inc., 1997 US. Dist. LEXIS 13082,
                                                                     tion of the privilege would have denied
No. 93-C V-0950, 1997 WL 538876, at *3 (W.D.N Y Aug
                                                                     the opposing party access to information
21, 1997) (noting that the party seeking facts in a privi-
                                                                     vital to [its] defense.
leged document may obtain those facts through other
means of discovery); ECDC Env't v New York Marine
and Gen. Ins Co, 1998 U.S. Dist LEXIS 8808, 96 Civ.
                                                              Ruotolo, 2005 U.S. Dist. LEXIS 5958, 2005 WL 823015,
6033, 1998 WL 614478, at *15-16 (S.D.N.Y June 4,
                                                              at *2..3 (citing Granite Partners v. Bear, Stearns & Co.,
 1998) ("[B]ecause the work product privilege does not
                                                              Inc., 184 FR.D. 49, 54 (S.D N. Y 1999)). [*12]
protect the facts in that document (the privilege [* 10]
protects documents, not facts), the party seeking those            While plaintiffs' assertion of work product protec-
facts may obtain them through other means of discovery,       tion is the direct result of their commencement of this
such as through depositions and interrogatories."). It is     action, thus satisfying the first factor, the Court is not
true that other discovery devices may be more expensive       convinced that, with respect to the second factor, plain-
or burdensome than the production of the protected            tiffs have placed the protected documents "at issue" by
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making them relevant to this case. Whether plaintiffs          a non-testifying expert, whose knowledge about Jen-
have placed their pre-litigation testing and the testing       eric/Pentron's posts was disclosed to Dr. Storace, and
commissioned by their counsel at issue depends upon            thereby informed Dr. Storace's expert opinion. Jen-
whether that information was considered by Dr. Storace         eric/Pentron contends that "Roger Devaney's prior con-
in formulating his expert opinion and report or whether        sulting relationship with Plaintiffs [sic] counsel may
plaintiffs otherwise intend to rely on that information.       have influenced the sample preparation and photography
                                                               of the FibreKor samples used in Dr. Storace's report. It is
     Rule 26(a) (2) (B) of the Federal Rules of Civil Pro-
cedure, which governs disclosures by expert witnesses,         therefore critical for Pentron to examine the extent to
                                                               which the opinion of Dr. Storace [* 15] may have been
mandates the disclosure of, among other things, "the data
                                                               based on or influenced by Roger Devaney's earlier tests
or other information considered by the witness in form-
                                                               and/or experiments." (Doc. No. 184, Jeneric/Pentron's
ing the opinions . . . ." (Emphasis added). "[T]he re-
                                                               Reply Brief in Support of Motion to Compel ("Def, Re-
quirement of disclosure applies not only to information
                                                               ply MOL"), at 7.)
actually relied upon by a testifying expert, but also to
information that was not relied upon, hut considered by             While Jeneric/Pentron correctly points out that a
the expert .... ". Schwab v. Philip Morris USA, Inc., 2006     non-testifying expert, who "is generally immune from
US Dist. LEXIS 11047, No. 04-CV-1945, 2006 WL                  discovery[J]" Schwab, 2006 US. Dist. LEXIS 11047,
721368, at [*13] *2 (E.D.N.Y. Mar 20, 2006) (citing            2006 WL 721368, at *2, may be subject to the disclosure
Construction Indus. Servs Corp v. Hanover Ins Co.,             requirements of Rule 26(a)(2)(B) if the non-testifying
206 F.R D. 43, 50 (E D.N. Y. 2001)).                           expert's opinion or knowledge informed the testifying
                                                               expert's opinion, see 2006 US Dist. LEXIS 11047, [WL]
     The party resisting disclosure bears the burden of
                                                               at *3, here, the alleged influence of Mr. Devaney on Dr.
showing that an expert did not consider certain docu-
                                                               Storace's opinion and report is speculative. None of the
ments in forming his opinion. See Schwab, 2006 US
                                                               cases cited by Jeneric/Pentron stand for the proposition
Dist. LEXIS 11047, 2006 WL 721368, at *3 (citation
                                                               that documents not seen, considered nor known about by
omitted). "IITlhis burden cannot generally be satisfied by
                                                               a testifying expert need be disclosed where such docu-
the expert's representations alone . . .. The burden is met
                                                               ments are otherwise privileged. There is no indication
when the documents could not have been considered by
                                                               that Roger Devaney's earlier tests or experiments influ-
the expert in forming his opinion, as when they are re-
                                                               enced the preparation and photography of Jen-
viewed by the expert only after he has testified. ... It can
                                                               eric/Pentron's posts discussed in Dr. Storace's report.
also be met when the party opposing disclosure presents
                                                               Instead, the record reflects that Dr. Storace provided Mr.
the court with affidavits and deposition testimony clearly
                                                               Devaney with detailed instructions regarding how he
establishing that the testifying witness never read, re-
                                                               wanted the tests to be conducted and how the posts were
viewed, or considered the subject documents in forming
                                                               to be photographed. [*16] There is no indication that
his opinions." Id. (citations and intemnal quotation marks
                                                               Mr. Devaney deviated from these instructions.
omitted).
                                                                    With respect to the third factor in determining if
     The results of pre-litigation testing and testing con-
                                                               there has been an "at issue" waiver -- whether application
ducted by plaintiffs' counsel following the commence-
                                                               of the work product privilege will deny defendants ac-
ment of this action are not at issue because they could
                                                               cess to information vital to their defense -- the Court is
not have been considered by Dr. Storace in forming his
                                                               not convinced that nondisclosure of the protected docu-
opinion. Dr. Storace's declaration reflects that he was
                                                               ments will deprive defendants of such "vital" informa-
[* 14] not aware of the existence of other tests until
                                                               tion. As previously mentioned, although the documents
March 2006, approximately five months following the
                                                               themselves are privileged, the underlying facts contained
conclusion of his work with Hi-Rel and the preparation
                                                               therein are not, and thus, Jeneric/Pentron may avail itself
of his report, in November 2005. Thus, Dr. Storace could
                                                               of other discovery devices to obtain those facts. See At-
not have "considered" these tests for purposes of Rule
                                                               lantic Richfield, 1997 US Dist. LEXIS 13082, 1997 WL
26(a)(2) (B) disclosure requirements. (See Storace Decl.
PP5-9; Cass Aff., Ex. D, Expert Report of Anthony              538876, at *3.
Storace dated Nov. 17, 2005.)                                       Accordingly, the Court does not find that the record
                                                               before this Court requires plaintiffs to produce docu-
     In its reply brief relative to this motion, Jen-
                                                               ments protected by the work product privilege. To the
eric/Pentron asserts that Roger Devaney, the Hi-Rel em-
                                                               extent Jeneric/Pentron has not received any Hi-Rel
ployee who allegedly performed the tests ordered by Dr.
Storace, as well as the pre-litigation testing commis-         documents related to Dr. Storace's requested tests, all
                                                               such documents shall be produced within one week of
sioned by plaintiffs and later by plaintiffs' counsel in
September 2004, acted as an "agent" of Dr. Storace, or as      the date of this order. Of course, if plaintiffs intend to
                                                               rely on the protected documents, they shall be timely
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provided to all parties. At present, however, plaintiffs         evidence at trial before the trial court at the appropriate
have not indicated that [*17] they will rely on the docu-        time.
ments they now claim are privileged.
                                                                     CONCLUSION
D. Admissibility of Evidence                                          For the foregoing reasons, Jeneric/Pentron's motion
                                                                 to compel is denied without prejudice.
     The parties also dispute the admissibility of certain
evidence which may be proffered at trial, including but          SO ORDERED.
not limited to Dr. Storace's report. (See Def. Reply MOL,
                                                                 Dated: May 16, 2006
at 2-5; Doc. No. 187, Plaintiffs' Sur-Reply Brief in Op-
position to Motion to Compel, at 1-7.) The Court de-                 Brooklyn, New York
clines to make any determination as to the admissibility
                                                                     /s'
of evidence at trial at this stage in the litigation. The par-
ties may make any motions regarding the admissibility of             KIYO A. MATSUMOTO
                                                                     United States Magistrate Judge
  I
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                      I
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                                                        LEXSEE

                 KEVIN TRUDEAU, an individual, ALLIANCE PUBLISHING GROUP, INC., a
                Delaware corporation, and SHOP AMERICA (USA) L.L.C., an Illinois limited li-
                      ability corporation, Plaintiffs, - v - NEW YORK STATE CONSUMER
                PROTECTION BOARD; TERESA A. SANTIAGO, in her official and individual
               capacity; CAROLINE QUARTARATO, in her official and individual capacity, and
                       JON SORENSEN, in his official and individual capacity, Defendants.

                                          Civ. No. 1:05-CV-1019 (GLSIRFT)

                 UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                                          NEW YORK

                                                2006 U.S. Dist. LEXIS 61901

                                                 July 21, 2006, Decided

PRIOR HISTORY: Trudeau v. New York State Con-                  dants' extreme carelessness in providing multiple copies
sumer Prot. Bd.. 2006 U.S. Dist. LEXIS 26308                   of an email to plaintiffs, the court concluded that the
(N.D.N.Y, May 4, 2006)                                         email's confidentiality was waived.

CASE SUMMARY:                                                  OUTCOME: The court denied defendants' application
                                                               for the author's tax return, granted defendants' applica-
                                                               tion for documents related to a separate action filed by
PROCEDURAL POSTURE: Plaintiffs, an author and                  the author, ordered defendants to provide a new privilege
related companies, asserted claims against defendants,         log, ordered plaintiffs to return a cable operator letter,
the New York State Consumer Protection Board and its           and ordered that plaintiffs did not have to return a confi-
members, seeking damages and other relief for alleged          dential email and an unprivileged letter.
First Amendment violations, defamation, and tortious
interference. Defendants sought (1) further discovery          CORE TERMS: disclosure, attorney-client, log, work
regarding plaintiffs' economic damages and (2) the return      product doctrine, discovery, waived, privileged, email,
of privileged documents.                                       work product, lawsuit, financial information, station,
                                                               confidential, disclose, qualified immunity, tax return,
OVERVIEW: Plaintiffs alleged that they suffered lost           forfeiture, settlement, cable, cable operator, third party,
profits because defendants wrongfully caused television        net worth, impressions, waive, preliminary injunction,
and cable stations to terminate infomnercials advertising      attach, deposition, listing, privileged document, subject
the author's book. Although the author's tax return was        matter
relevant to establishing economic loss, defendants did
not show a compelling need for the tax return because          LexisNexis(R) Headnotes
defendants could gain the financial information through
less intrusive sources. Accordingly, the court ordered the
author to provide a net worth statement. The court ruled
that defendants' request for information regarding an          Civil Procedure > Discovery > Disclosures > General
action in which the author sought damages for lost busi-       Overview
ness opportunities against a publisher of infornercial         Tax Law > Federal Tax Administration & Procedure >
rankings was calculated to lead to admissible evidence        Audits & Investigations > Disclosure of Information
because the lost revenues on the sale of the author's book     (IRC secs. 6103-6104, 6108-6110, 6713, 7213, 7216,
was the sine qua non of both cases. A cable operator let-      7431, 7435) > Confidentiality of Returns & Return In-
ter that defendants' attorney drafted to facilitate settle-   formation
ment constituted work product under Fed. R. Civ. P.            [RN1II Routine discovery of tax returns is not the rule but
26(b)(3), and the privilege was not waived because the         rather the exception. Tax returns have been considered
letter was not carelessly disclosed. Because of defen-         confidential, pursuant to 26 U.S.C.S.       6103. Courts


                                                                                                                   Page 1
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within the Second Circuit have found personal financial        lege log be provided. Without an adequately detailed
information to be presumptively confidential or cloaked        privilege log, the courts are hamstrung in attempting to
with a qualified immunity. Thus, courts grappling with         decipher the presence and the extent of the claimed privi-
whether personal tax returns and personal financial in-        lege. To constitute an acceptable privilege log, at a
formation should be disclosed must balance the counter-        minimum, it should provide facts that would establish
vailing policies of liberal discovery set forth in the Fed-    each element of the claimed privilege as to each docu-
eral Rules of Civil Procedure against maintaining the          ment and identify each document and the individuals
confidentiality of such documents.                             who were parties to the communications, providing suf-
                                                               ficient detail to permit a judgment as to whether the
                                                               document is at least potentially protected from disclo-
Civil Procedure > Discovery > Disclosures > General            sure. Other required information, such as the relationship
Overview                                                       between individuals not normally within the privileged
[HN2] The courts within the Second Circuit have fash-          relationship, is then typically supplied by affidavit or
ioned a reasonable standard to be employed before di-          deposition testimony.
recting the release of tax information. This standard has a
two pronged test: (1) the court must find that the re-
quested tax information is relevant to the subject matter      Civil Procedure > Discovery > Privileged Matters >
of the action; and (2) the court must find that there is a     General Overview
compelling need for this information because the infor-        [HN5] When a party fails to comply with the require-
mation contained therein is not otherwise readily obtain-      ments of Fed. R. Civ. P. 26(b)(5) when submitting a
able. The showing of a compelling need for the informa-        privilege log, which is inadequate as a matter of law in
tion within the tax returns falls upon the party making        that the log just does not provide sufficient information
the demand for this form of disclosure. But once a com-        to support the privilege, the claim of privilege may be
pelling need has been shown, there is no justifiable rea-      denied.
son to deny this pretrial financial discovery.

                                                               Evidence > Privileges > Attorney-Client Privilege >
Civil Procedure > Discovery > Disclosures > General            General Overview
Overview                                                       [HnN6I The attorney-client privilege is a longstanding,
[HN3] A party whose tax returns may be the subject of a        common law privilege recognized in New York and by
demand to disclose, especially when the demanding              the federal courts under Fed. R. Evid. 501.
party may have made the requisite showing, has the bur-
den in this discourse to provide alternative sources for
this sensitive information. Conversely, if the information     Civil Procedure > Discovery > Privileged Matters >
contained in the tax return is otherwise available from        Attorney-Client Privilege
other less intrusive sources, compelled discovery of the       Evidence > Privileges > Attorney-Client Privilege >
return should be denied. Garnering this financial infor-       General Overview
mation by a deposition is one alternative source. Another      [H{N7] The attorney-client privilege rule has been im-
approach would have the party disclose relevant financial      mortalized as a legal doctrine for eons to encourage full
information by providing an affidavit of net worth,            engagement between a party and her attorney so that full
wealth, and income.                                            and frank communication exists to impart all the infor-
                                                               mation an attorney may need in order to give sage and
                                                               cogent advice on the matter. Stated another way, its es-
Civil Procedure > Discovery > Privileged Matters >             sential purpose is to encourage clients to be fully forth-
General Overview                                               coming with their attorney and to receive, in return, ad-
[HN4] A proponent of a privilege log must make the             vice which will protect the client's legal rights. The free-
claim expressly and shall describe the nature of the           flow of information and the twin tributary of advice are
documents, communications, or things not produced or           the hallmarks of the privilege. For all of this to occur,
disclosed in a manner that, without revealing information      there must be a zone of safety for each to participate
itself privileged or protected, will enable other parties to   without apprehension that such sensitive information and
assess the applicability of the privilege or protection.       advice would be shared with others without their con-
Fed. R. Civ. P. 26(b)(5). In this respect, and in order to     sent.
evaluate and facilitate the determination of whether a
privilege exists, courts generally require compliance with
this statutory mandate that an adequately detailed privi-


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Civil Procedure > Discovery > Privileged Matters >            Evidence > Privileges > Attorney-Client Privilege >
Attorney-Client Privilege                                     General Overview
Evidence > Privileges > Attorney-Client Privilege >           [HN1 1] Whenever the attorney-client privilege is raised
Elements                                                      in on-going litigation, concomitantly the work product
Evidence > Procedural Considerations > Burdens of             doctrine is virtually omnipresent. They are inseparable
Proof> Allocation                                             twin issues, and when one is advanced, surely the other
[HN8] When determining if there is in fact an attorney-       will follow. The work product privilege is more broad
client privilege present to cloak both a client's communi-    than the attorney-client privilege.
cation and the corresponding legal advice, a court needs
to ascertain that this safety net attaches to only those
communications (1) where legal advice of any kind is          Civil Procedure > Discovery > Privileged Matters >
sought, (2) from a professional legal advisor in his or her    Work Product > Scope
capacity as such, (3) the communication relates to that       [HN 12] The work product privilege exists to protect at-
purpose, (4) made in confidence, (5) by the client, and       torneys' mental impressions, opinions, and/or legal theo-
(6) are at his or her insistence permanently protected, (7)   ries concerning litigation. Indeed, the work product privi-
from disclosure by the client or the legal advisor, (8)       lege is designed to protect an adversarial system of jus-
except if the protection is waived. This privilege further    tice. This doctrine establishes a "zone of privacy" in
attaches to the advice rendered by the attorney. The bur-     which a lawyer can prepare and develop theories and
den of proving each element of the privilege rests on the     strategies with an eye towards litigation free from unnec-
party claiming the protection.                                essary intrusion by his or her adversaries.


Civil Procedure > Discovery > Privileged Matters >            Civil Procedure > Discovery > Privileged Matters >
Attorney-Client Privilege                                     Work Product > General Overview
Evidence > Privileges > Attorney-Client Privilege >           Evidence > Procedural Considerations > Burdens of
Scope                                                         Proof>Allocation
[HN9] Contrary to modern yet ill-informed perceptions,        [H{N13] The burden, albeit not a heavy one, of establish-
the attorney-client privilege is often narrowly defined,      ing that the work product doctrine applies rests with that
riddled with exceptions, and subject to continuing criti-     party's attorney who is claiming the protection.
cism. Grand as the privilege stands in our legal lexicon,
it is nonetheless narrowly defined by both scholars and
the courts. The attorney-client privilege is not given        Civil Procedure > Discovery > Privileged Matters >
broad, unfettered latitude to every communication with a       Work Product > Scope
lawyer, but is to be narrowly construed to meet this nar-     Civil Procedure > Discovery > Privileged Matters >
rowest of missions.                                            Work Product > Waivers
                                                               [HN 14] The work product doctrine, as well as the attor-
                                                              ney-client privilege, does not extend to every document
Civil Procedure > Discovery > Privileged Matters >            generated by an attorney; it does not shield from disclo-
Attorney-Client Privilege                                     sure everything a lawyer does. The doctrine is generally
Evidence > Privileges > Attorney-Client Privilege >            invoked as soon as the attorney, in responding to a re-
Scope                                                         quest for production of documents, serves upon the re-
Evidence > Privileges > Government Privileges > Gen-          questing party a privilege log asserting this and any other
eral Overview                                                 relevant privilege or provides notification that it will not
[H-N 10] The case law generally assumes the existence of      be disclosed for this reason. Fed. R. Civ. P. 26(b)(5) &
a governmental attorney-client privilege in civil suits       34(b). Failure to timely provide the privilege log or ob-
between government agencies and private litigants. That       jection constitutes a waiver of any of the asserted privi-
is, the legal maxim is substantial in presuming that the      leges. Even if a party follows these steps, the security of
rationale supporting the attorney-client privilege applica-   the work product doctrine is not assured. There must be
bility to private entities has general relevance to govern-   the omnipresent concern that revealing the attorney's
mental entities as well.                                      mental processes is real and not just speculative.


Civil Procedure > Discovery > Privileged Matters >            Civil Procedure > Discovery > Privileged Matters >
Work Product > Scope                                          Work Product > Scope
                                                              [HN 15] See Fed. R. Civ. P. 26(b)(3).


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                                                                Civil Procedure > Discovery > Privileged Matters >
Civil Procedure > Discovery > Privileged Matters >              Attorney-Client Privilege
Work Product > Opinion Work Product                             Evidence > Privileges > Attorney-Client Privilege >
[IN 16] The work product doctrine classifies documents          Waiver
into two categories: "non-opinion" work product and             [HN191 A waiver that occurs when a client's communi-
"opinion" work product. The distinction between these           cation(s) or the legal advice given was shared, in some
two categories turns on the effort employed in obtaining        form or fashion, with a third party may be done explicitly
disclosure pursuant to Fed. R. Civ. P. 26(b)(3). For "non-      or implicitly, or rather, intentionally or inadvertently.
opinion" work product, the party seeking this informa-          When communications between a party and her attorney
tion must show a substantial need for the document and          occur in the presence of a third party, the attorney-client
undue hardship to acquire the document or its substantial       privilege may be waived. Yet, a disclosure to a third
equivalent by other means. On the other hand, "opinion"         party does not waive the privilege unless such disclosure
work product requires a higher protection to the extent         is inconsistent with the maintenance of secrecy and if the
that the requesting party has to demonstrate extraordi-         disclosure substantially increases the possibility of an
nary justification before the court will permit its release.    opposing party obtaining the information. For example,
At a minimum, such "opinion" work product should re-            an exemption from the waiver accrues if such communi-
main protected until and unless a highly persuasive             cations are shared with an agent of the attorney, which
showing is made.                                                may include investigators and accountants retained to
                                                                assist the attorney in rendering legal advice and instruc-
                                                                tion.
Civil Procedure > Discovery > Privileged Matters >
Work Product > Fact Work Product
[IN 17] In most instances, the work product doctrine            Civil Procedure > Discovery > Privileged Matters >
does not extend to facts. Generally, non-privileged facts       Work Product > Waivers
should be freely discoverable.                                  [HN20] The work product doctrine is not absolute. Such
                                                                protection, like any other privilege, can be waived and
                                                                the determination of such a waiver depends on the cir-
Civil Procedure > Discovery > Privileged Matters >              cumstances. In most respects, the discussion of a third
Work Product > Scope                                            party waiver is virtually the same for both the attorney-
Civil Procedure > Discovery > Privileged Matters >              client privilege and the work product doctrine. A volun-
Work Product > Waivers                                          tary disclosure of work product, for some or any inexpli-
[HN18] Where a party faces the choice of whether to             cable benefit, to a third party, especially if the party is an
engage in a particular course of conduct virtually certain      adversary, may waive the immunity. Once a party allows
to result in litigation and prepares documents analyzing        an adversary to share in an otherwise privileged docu-
whether to engage in the conduct based on its assessment        ment, the need for the privilege disappears, and may dis-
of the likely result of the anticipated litigation, it should   appear forever, even as to different and subsequent litiga-
be concluded that the preparatory documents should re-          tors. As an illustration, when a party makes a strategic
ceive protection under Fed. R. Civ. P. 26(b)(3'). The crux      decision, no matter how broad and sweeping or limited,
being that a document which has been prepared because           to disclose privileged information, a court can find an
of the prospect of litigation will not lose its protection       implied waiver. Moreover, a party cannot partially dis-
under the work product doctrine, even though it may              close a privileged document nor selectively waive the
assist in business decisions. But this protection will not      privilege and then expect it to remain a shield. However,
be extended, under any circumstances, to records that are       there is no per se rule that all voluntary disclosures con-
prepared in the ordinary course of business. Even though         stitute a waiver of the work product doctrine because
the work product doctrine protects the impressions, opin-       there is no way the court can anticipate all of the situa-
ions, theories, and strategies of an attorney, Rule             tions when and how such disclosure is required. There
26(b)(3) makes clear that the document at issue, either          are times when a waiver can be broad and other times
obtained or prepared by or for a party, or by or for his         when it has to be narrowly construed. Each case must be
representative, may be cloaked by this doctrine as well.        judged on its own circumstances and merits.
The exchange of documents and ideas with those whose
expertise and knowledge of certain facts can help the
attorney in the assessment of any aspect of the litigation      Civil Procedure > Discovery > Privileged Matters >
does not invoke a waiver of the doctrine.                       Work Product > Waivers



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[HN2 1] In the context of an inadvertent disclosure of a       correctly cast, unfairness to the adversary. This unfair-
privileged document, such oversight does not necessarily       ness to the adversary is having to defend against a privi-
mean a privilege is waived unless the producing party's        lege holder's claim without access to pertinent privilege
conduct was so careless as to suggest that it was not con-     material that might refute the claim. Thus, in the circum-
cerned with the protection of the asserted privilege.          stances where a party contends facts to an adjudicating
Some courts within the Second Circuit have created a           authority (a court, jury or decision maker) then relies
standard to evaluate the mishap disclosure: The court          upon the privilege to deprive its adversary of access to
must assess whether the procedures followed in main-           the material that might disprove, impeach, effectively
taining the confidentiality of the documents were so lax,      contest, rebut or undermine the party's contention, such
careless, inadequate or indifferent to consequences as to      would be unfair. Or, where the privilege holder intends
constitute a waiver. Inadvertent production will not           to visit prejudice upon his opponent or disclose only se-
waive the privilege unless the conduct of the producing        lect portions of the privileged communication for self
party or its counsel evinced such extreme carelessness as      serving purposes in order to promote a claim in the liti-
to suggest that it was not concerned with the protection       gation that in fairness may require examination of this
of the privilege. Although this rule sounds rather defini-     protected communication, then the privilege may be for-
tive on the law pertaining to disclosure and waiver, how-      feited. The fairness doctrine will not allow the privilege
ever, where a party makes an effort to demonstrate that        to stand when the proponents seek to use it for a purpose
such divulgence should not constitute a waiver, a flexible     that is inconsistent with the privilege. What the court is
balancing test has been devised: (1) the reasonableness        attempting to avoid is the wielding of the attorney-client
of the precautions taken by the producing party to pre-        privilege and the work product doctrine as both a shield
vent inadvertent disclosure of privileged documents; (2)       and a sword. It is the unfaimness that is the crucible for
the volume of discovery versus the extent of the specific      the forfeiture.
disclosure issue; (3) the length of time taken by the pro-
ducing party to rectify the disclosure; and (4) the over-
arching issue of fairness.                                     Civil Procedure > Discovery > Privileged Matters >
                                                               General Overview
                                                               Evidence > Privileges > General Overview
Civil Procedure > Discovery > Privileged Matters >             [FfN25] In resolving whether an "at issue" forfeiture has
General Overview                                               occurred, courts within the Second Circuit have resorted
Evidence > Privileges > General Overview                       to the following test: (1) assertion of a privilege was a
[1*N22] In certain circumstances a party's assertion of        result of some affirmative act, such as filing suit, (2)
factual claims can, out of consideration of fairness to the    through the affirmative act, the asserting party puts the
party's adversary, result in the involuntary forfeiture of     protected information at issue by making it relevant to
privileges for matters pertinent to the claims asserted.       the case, and (3) the application of the privilege would
The application of "at issue" waiver is primarily due to       have denied the opposing party access to information
the fact that the party asserting the privilege has placed a   vital to the defense.
contention at issue.

                                                               Civil Procedure > Discovery > Privileged Matters >
Evidence > Privileges > Attorney-Client Privilege >            General Overview
Waiver                                                         Evidence > Privileges > General Overview
[1*N23] If the advice of counsel is placed in issue by         [HN26] A court may consider the following in ascertain-
either a claim, defense, or testimony it is deemed waived.     ing whether an "at issue" forfeiture is applicable: (1) the
Moreover, it is not the filing of the lawsuit that matters     very subject of privileged communication is critically
but the relevance of the contention that controls.             relevant to the issue litigated, (2) there is a good faith
                                                               basis for believing such essential privileged information
                                                               exists, and (3) there is no other source of direct proof.
Civil Procedure > Discovery > Privileged Matters >
Attorney-Client Privilege
Civil Procedure > Discovery > Privileged Matters >             Civil Procedure > Discovery > Privileged Matters >
Work Product > Waivers                                         General Overview
Evidence > Privileges > Attorney-Client Privilege >            Evidence > Privileges > General Overview
Waiver                                                         [H{N27] Because of the fragility of broad generalizations
[HN24] For purposes of "at issue" waiver, forfeiture of a      and sometimes per se rules, in the context of determining
privilege turns on the consideration of fairness, or, more     fairness, it is more prudent to decide the at issue waiver


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on a case by case basis, which depends primarily on the        DANIEL MACH, ESQ., JENNER, BLOCK LAW
specific context in which the privilege is asserted or on      FIRM, Attorneys for Plaintiffs, Washington, D.C.
its own particular facts. The forfeiture should be nar-
rowly construed and tailored to remedy the unfairness or       KEVIN LAURILLIARD, ESQ., WILLIAM A. HURST,
prejudice.                                                     ESQ., MCNAMEE, LOCHNER LAW FIRM, Attorneys
                                                               for Plaintiffs, Albany, NY.

Civil Procedure > Discovery > Privileged Matters >             MICHAEL J. GRYGIEL, ESQ., HISCOCK, BARCLAY
General Overview                                               LAW FIRM, Attorneys for Plaintiffs, Albany, NY.
Evidence > Privileges > General Overview
[HN281 When a number of documents are claimed to be            LORI J. VAN AUKEN, ESQ., WINSTON, STRAWN
privileged, there is no wholesale waiver but rather a spe-     LAW FIRM, Attorneys for Plaintiffs, New York, NY.
cific inquiry as to each document.
                                                               ROGER W. KINSEY, ESQ., BRIDGET ERIN
                                                               HOLOHAN, ESQ., JAMES B. MCGOWAN, ESQ., As-
Civil Procedure > Discovery > Privileged Matters >             sistant Attorney Generals, HON. ELIOT SPITZER, At-
General Overview                                               torney General for the State of New York, Attorney for
[H7N29] Fed. R. Civ. P. 26(b)(5) mandates that the party       Defendants, Albany, NY.
asserting a privilege shall make the claim expressly and
shall describe the nature of the documents. This Rule          JUDGES: RANDOLPH F. TREECE, United States
requires a specific, denoted objection to a specific docu-     Magistrate Judge.
ment and not a comprehensive, imprecise command. Pat,
generic, non-specific objections, intoning the same boi-       OPINION BY: RANDOLPH F. TREECE
lerplate language are inconsistent with both the letter and
the spirit of the Federal Rules of Civil Procedure.            OPINION:
                                                                   MEMORANDUM-DECISION and ORDER
 Civil Rights Law > Immunity From Liability > De-                   Presently before this Court is a series of Letter-
fenses                                                         Motions and Letter-Briefs pertaining to a host of discov-
 Torts > Public Entity Liability > Immunity > Qualified        ery conflicts, with the most contentious issue being
 Immunity                                                      whether Defendants' disclosure of privileged documents
 [HN30] Qualified immunity will shield government offi-        was either inadvertent, intended, or due to carelessness.
 cials from liability for civil damages when their conduct     nl Before we address each of these discovery disagree-
 does not violate clearly established statutory or constitu-   ments, [*2] the disputes must be put into context, there-
 tional rights of which a reasonable person would have         fore, a brief recitation of the facts in this case is war-
 known. This also applies insofar as it was objectively        ranted.
 reasonable for the government officials to believe that
 their acts did not violate those rights. The objectively
 reasonable test will be met if officials of reasonable                    nI Because of the sensitive and confidential
 competence could disagree on the legality of the defen-              nature of some of the documents to be discussed
 dant's actions. In order for the constitutional right to be          herein, by a series of Text Orders, the Court
 clearly established, three elements must be met: (1) that            granted the parties permission to submit their re-
 the right in question be defined with reasonable specific-           spective Letter-Motions and Letter-Briefs in tra-
  ity; (2) that the decisional law of the Supreme Court of            ditional format for an in camera review. Text Or-
 the United States and applicable circuit court support the           ders, dated Mar. 29, 2006 & Apr. 14, 2006. We
 existence of the right in question; and (3) that under pre-          further advised the parties that after our review of
  existing law a reasonable defendant official would have             the documents' content some of them may not
 understood that his or her acts were unlawful.                       remain under seal, which said public release may
                                                                      be a part of this Order. Text Order, dated Mar.
COUNSEL: [*I] ANDREW A. JACOBSON, ESQ.,                               29, 2006.
DANIEL J. HURTADO, ESQ., DAVID J. BRADFORD,
                                                                           It should be noted that subsequent Letter-
ESQ., JENNER, BLOCK LAW FIRM, Attorneys for
                                                                       Briefs were not filed under seal in the traditional
Plaintiffs, Chicago, IL.
                                                                       format. See Dkt. Nos. 88, State Defs.' Lt.-Brief,
                                                                       dated Jun. 16, 2006 & 91, Pls.' Lt.-Brief, dated
                                                                       June 23, 2006.

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                                                                Dkt. No. 20, Order, dated Aug. 31, 2005, at pp. 2-3.
     On August 11, 2005, a Complaint was filed in this
matter based upon the allegation that the New York State
                                                                The Hearing for the Application for a Preliminary In-
Consumer Protection Board ("CPB") threatened to con-
                                                                junction was scheduled for September 6, 2005. Id, at p.
tact certain [*31 television stations in regards to Plaintiff
                                                                 3. On September 1, 2005, Defendants [*5] filed a Cross
Trudeau's book entitled "Natural Cures 'They' Don't
                                                                 Motion to Dismiss and Opposition to the Motion for Pre-
Want You to Know About." The nature of the cause of
                                                                 liminary Injunction. Dkt. No. 25. On September 5, 2005,
action pled at that time was that CPB violated Plaintiffs'
                                                                 Plaintiffs filed an Emergency Motion for TRO to Restore
First Amendment Rights. Dkt. No. 1, Compl. at PP 3 &
                                                                 the Status Quo. Dkt. No. 37. At the September 6th Hear-
6-9. That same day, in conjunction with the filing of the        ing, Judge Sharpe granted Plaintiffs' Motion for a Pre-
Complaint, a Motion for a Temporary Restraining Order            liminary Injunction consistent with the language in the
("TRO") was filed by Plaintiffs. Dkt. No. 2, TRO. Be-
                                                                 initial order and denied the Defendants' Cross Motion to
cause of Plaintiffs' failure to comply with the Federal          Dismiss. Oral Order, dated Sept. 6, 2005; see also Dkt.
Rules of Civil Procedure and the Local Rules for the
                                                                 No. 42, Minute Entry, dated Sept. 6, 2005. The Hearing
Northern District of New York, the application for a             for the Emergency Motion for TRO to Restore the Status
TRO was denied without prejudice. See Text Order,
                                                                 Quo was scheduled for September 27, 2005, and on that
dated Aug. 15, 2005. Then, on August 16, 2005, an
                                                                 date, Judge Sharpe denied Plaintiffs' Application. Dkt.
Emergency Motion for TRO was filed (Dkt. No. 6),
                                                                 No. 58, Minute Entry, dated Sept. 27, 2005.
which was opposed by Defendants (Dkt. Nos. 13-14).
Prior to the Hearing, which was held on August 30,                   On October 5, 2005, Plaintiffs filed their Motion for
2005, Defendants were told by the Honorable Gary L.             Leave to Amend and Supplement their Complaint (Dkt.
 Sharpe, United States District Judge, to "refrain from         Nos. 59, 62, 67 & 68), which was likewise opposed by
contacting broadcasting stations regarding plaintiffs' sub-     Defendants (Dkt. Nos. 61, 70 & 71). By a Memorandum-
ject advertisement and maintain the status quo until the        Decision and Order, dated May 4, 2006, this Court
hearing." Deadlines for Mot., dated Aug. 17, 2005. At           granted in part and denied in part Plaintiffs' Motion. Dkt.
the August 30th Hearing, Judge Sharpe denied the Mo-            No. 83. Nonetheless, Plaintiffs were permitted to file an
tion for TRO. Dkt. No. 15, Oral [*4] Order, dated Aug.          Amended and Supplemented Complaint as follows to
 30, 2005.                                                      add: (1) another Plaintiff, Shop America [*6] (USA)
                                                                L.L.C.; (2) another Defendant, Caroline Quartararo,
     On August 31, 2005, Plaintiffs filed a Motion for          Deputy Executive Director of the Consumer Protection
Preliminary Injunction and another Motion for TRO.              Board ("CPB"); (3) claims for monetary damages against
Dkt. No. 17. That same day, after much re-consideration,        Teresa Santiago, Caroline Quartararo, and John Sorensen
Plaintiffs' Application for the TRO was granted as fol-         in their individual capacities for acts undertaken in their
lows:                                                           official capacities; (4) state law defamation claims
                                                                against Santiago, Sorensen, and Quartararo; (5) claims
                                                                for tortious interference against Santiago; and (6) a sup-
        (1) The defendants are hereby enjoined                  plemental violation of Plaintiffs' First Amendment Right.
        from directly contacting any cable or                   n2 On June 2, 2006, an Amended Complaint was served
        broadcast station in order to induce such
                                                                and filed. Dkt. No. 87.
        station to refuse to carry, or cease to
        carry, plaintiffs' advertisements for the
        Natural Cures book authored by Kevin
                                                                            n2 The May 4, 2006 Memorandum-Decision
        Trudeau; and (2) The defendants are
                                                                        and Order was affirmed by Judge Sharpe. Dkt.
        hereby enjoined from publishing or dis-
                                                                        No. 94, Order, dated July 19, 2006.
        seminating the letter attached as Exhibit A
        to the TRO application, or any letter sub-
        stantially similar in content, as a means of                 I. DISCUSSION
        indirectly contacting cable or broadcast
                                                                     A. Discovery as to Damages
        stations (see "Dear cable station/broadcast
        station,"); however, (3) Nothing in the                      Originally, when this action was first commenced,
        language of this TRO shall operate to pre-              Plaintiffs only sought a declaratory judgment and a pre-
        clude defendants from communicating                     liminary injunction. Dkt. No. 1, Compl. Now, with the
        with the public concerning the views ex-                advent of the Amended Complaint, Plaintiffs seek com-
        pressed by the State Consumer Protection                pensatory and punitive damages, on both the federal and
        Board[.]                                                state [*7] cause of actions, as to all of the Defendants.


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Dkt. No. 87, Am. Compl. There is no equivocation in the                  have provided all of the Shop America and Pub-
Plaintiffs' prayer for relief on behalf of Plaintiff Trudeau,            lishing Alliance financial records in their posses-
as well as the other Plaintiffs, that they are seeking com-              sion at this time, and are relying upon informa-
pensatory and punitive damages for being defamed and                     tion to be gathered from the non-party Mercury
having their business relationships tortiously interfered                Media to calculate their respective lost profits.
with by Defendants. Id. at pp. 32-33 (see specifically,                  With the assistance of an expert, Plaintiffs prof-
inter alia, PP (i), (1), (n)). Preliminarily, the projected              fers that they may be able to identify more accu-
damages are $ 2,000,000, but may rise to $ 20,000,000.                   rately the lost profits. Since Plaintiffs are repre-
CPB's Lt.-Brief, dated Mar. 29, 2006.                                    senting that they have disclosed all that they have
                                                                         in their possession, it is our understanding the
     Defendants made a request for Production of Docu-                   Defendants will await further disclosure, which
ments from all of the Plaintiffs seeking all documents                   they may attempt to gather directly from Mercury
"upon which [they will] rely upon to calculate the eco-                  Media.
nomic loss." Id. at p. 1. In response thereto, Plaintiffs
provided Shop America's general ledger, Alliance Pub-                         In this context, which was initially a part of
lishing's balance sheet, and a document from non-party                   this critical debate for disclosure, the issue was
Mercury Medial relating to historical book sales. Pls.'                  whether Plaintiffs could be compelled to direct
Lt.-Brief, dated Apr. 17, 2006, at pp. 1-2; Dkt. No. 91,                 non-party Mercury Media to disclose further in-
Pls.' Lt.-Brief, dated Jun. 23, 2006, at p. 1 (listing the               formation to support their tabulation of lost prof-
documents presented to Defendants). Notwithstanding                      its. Again, based upon the brief telephone confer-
these disclosures, CPB finds the disclosures wholly in-                  ence, Defendants will retreat from demanding
adequate. In terms of discovering information [*8] on                    this information now from Plaintiffs since they
economic damages, Defendants further seek Trudeau's                      will be deposing Mercury Media. It is expected
tax returns and information regarding another lawsuit.                   that Mercury Media will produce all of the rele-
                                                                         vant data at its deposition. However, Defendants
     Plaintiffs seem to rely upon two basic arguments to                 reserved their right to renew their request for this
limit the scope of disclosure, at least at this juncture,                information after evaluating the disclosures to be
which seem in conflict with the broad claim for compen-                  rendered by Mercury Media. Hence, these two
satory and punitive damages as to all Plaintiffs. First,                 disclosure issues will not be covered by this
Plaintiffs state in their Letter-Brief that the nature of the            Memorandum-Decision and Order.
loss in this case is the lost profits as a result of CPB hav-
ing wrongfully caused a number of TV and cable stations                       Similarly, Defendants had demanded copies
(possibly ten) to terminate the infomnericals at issue in                of 900 studies Trudeau purportedly consulted or
this litigation, and second, calculating the damages will                reviewed in writing his book, to which Plaintiffs
require expert consultations, which has not yet occurred.                strenuously object. It is the Court's understanding
Dkt. No. 91 at pp. 2 & 3 ("[Tlhe only economic damages                   that the parties have entered into a compromise
at issue so far in this case are the projected lost profits              on this Demand in that Plaintiffs have agreed to
resulting from lost book sales."); see also CPB's Lt.-                   provide a list of these 900 studies, which is ac-
Brief, Attach. 1 (schedule showing average weekly in-                    ceptable to Defendants.
come and projected lost income as of Dec. 9, 2005, of 10
radio stations). Both prongs of this argument may have           [*10]
some validity as to Shop America and Publishing Alli-                1. Discovery of Tax Returns
ance, however, such blanket objections appear to be in-
applicable to Trudeau who is seeking possibly $                        [HINI] Routine discovery of tax returns is not the
20,000,000 in damages as [*9] to the defamation cause            rule but rather the exception. See. Exch. Commn'7 (S.E. C.)
of action. CPB claims that Plaintiffs have failed to pro-        v. Cvmaticolor Corp.. 106 F.R.D. 545. 547 (S.D.N.Y.
vide any shred of discovery demonstrating economic               1985) (finding that courts are reluctant to direct such
harm or damage as to Trudeau. Nonetheless, the sole              disclosures). For nearly the past thirty-five years, tax
damage discovery issue we will address in this Memo-             returns have been considered "confidential," pursuant to
randum-Decision and Order will be Trudeau's tax returns          26 U.S.C. ~4 6103. Gates v. Wilkinson, 2005 U.S. Dist.
and information related to the lawsuit Trudeau v. Jordan         LEXIS 5523, 2005 WL 758793. at *1 (N.D.N.Y. Apr. 5.
 Whitney. n3                                                     2005). Moreover, courts within the Second Circuit have
                                                                 found personal financial information to be presumptively
                                                                 confidential or cloaked with a qualified immunity. Dew
             n3 In a recent and brief telephone confer-          v. 39th St. Realty 2001 U.S. Dist. LEXIS 4631. 2001
         ence, this Court recalls Plaintiffs stating that they   WL 388053. at *2 (S.D.N.Y. Apr. 16. 2001) ("[T]here is


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a qualified immunity with respect to the disclosure of tax          Nonetheless, [HN3] the party whose tax returns
returns[J"); McMenamin v Kingson, 1999 U.S. Dist.              may be the subject of a demand to disclose, especially
LEXIS 955. 1999 WL 47199. at *3 (S.D.N.Y. Feb. 2.              when the demanding party may have made the requisite
1999) (presumptively confidential); see also Moustakis v.      showing, has the burden in this discourse to provide al-
City of New York, 1996 U.S. Dist. LEXIS 13268, 1996            ternative sources for this sensitive information. Buinicki
WL 517689. at *1 (S.D.N.Y. Sept. 11. 1996) (concluding         v Am. Paying' & Excavatin, Inc.. 2004 U.S. Dist.
that even though tax returns are not privileged, as a "mat-    LEXIS 8869. 2004 WL 1071736. at *]4 (W.D.N.Y. Feb.
ter of policy," courts "should be cautious in ordering         25, 2004) (cited in Gates v. Wilkinson, 2005 U.S. Dist.
their disclosure"). [*11] Thus, courts grappling with          LEXIS 5523. 2005 WL 758793. at *2); Patrick Carter
whether personal tax returns and personal financial in-        Assoc., Inc. v. Rent Stabilization Ass'n, 1992 U.S. Dist.
formation should be disclosed must balance the counter-        LEXIS 9382. 1992 WL 167387. at *2 (S.D.N.Y. Jun. 26.
vailing policies of liberal discovery set forth in the Fed-    1992). Conversely, if the information contained in the
eral Rules of Civil Procedure against maintaining the          tax return is otherwise available from other less intrusive
confidentiality of such documents. United States v. Bo-        sources, compelled discovery of the return should be
nanno Organized Crime Family of La Cosa Nostra. 119            denied. Gates v. Wilkinson. 2005 U.S. Dist. LEXIS 5523.
         62. 67 (E.D.N.Y. 1988); see also S.E C v.C-
     F.R..                                                     2005 WL 758793. at *2. Garnering this financial infor-
maticolor Corp.. 106 F.R.D. at 547.                            mation by a deposition is one alternative source. Id. (cit-
                                                               ing, inter alia, Hazeldine v. Beverageg Media. 1997 U.S.
      [HN2] The Courts within the Second Circuit have
                                                               Dist. LEXIS 897, 1997 WL 36229. at *4 . Another ap-
fashioned a reasonable standard to be employed before
                                                               proach would have the party disclose relevant financial
directing the release of tax information. Gates v. Wilkin-     information [* 14] by providing an affidavit of net worth,
son, 2005 U.S. Dist. LEXIS 5523. 2005 WL 758793, at            wealth, and income. Hainmn v. Potamnkin. 1999 U.S. Dist.
*I (finding that the standard should be "more stringent"
                                                               LEXIS 594. 1999 WL 249721. at *2..3 (finding that the
than the relevancy standard found in FED. R. CIV. P.
                                                               tax return provides the most reliable source of relevant
26(b)(lj). This standard has a two pronged test: (1) the       financial information, but the substitution of a sworn net
court must find that the requested tax information is rele-    worth statement and income may suffice). n4
vant to the subject matter of the action; and (2) that there
is a compelling need for this information because the
information contained therein is not otherwise readily
                                                                           n4 It is this Court's view that the substitution
obtainable. Id.; E.E.0 C. v. First Wireless Grouy. Inc..
                                                                       of a net worth statement is reasonable for both
225 F.R.D. 404, 406 (E.D.N.Y. 2004); [*12] Hamm v                      compensatory and punitive damages disclosure.
Potamkin. 1999 U.S. Dist LEXIS 594, 1999 WL
249721. at *2 (S.D.N.Y. Apr. 28. 1999); Hlazeldine v
Beverage Media, 1997 U.S. Dist. LEXIS 8971, 1997 WL                 In terms of the facts of our case, the financial infor-
362229, at *4 (S.D.N.Y. June 25. 1997); Moustakis v            mation contained within the tax return is relevant to the
City of New York, 1996 U.S. Dist. LEXIS 13268. 1996            respective claims made by Trudeau. Contrary to the
WL 517689. at *1; (Gummtowit: v. First Fed Sav. &              Plaintiffs' position, a quest for a sizable award for com-
Loan Ass'n of Roanoke. 160 F.R.D. 462. 463 (S.D.N.Y.           pensatory damages premised upon any of the claims set
 1995) (citing S.E.C. v Cymaticolor Corp.. 106 F.R.D. at       forth within the Amended Complaint, particularly the
5~47); Russell v Del Vecchio, 764 F.Supp. 275, 276             cause of action sounding in defamation, makes Trudeau's
(E.D.N.Y. 1991); United States v. Bonanno, 119 F.R.D.          financial circumstances relevant, and the Defendants
at 627. The showing of a compelling need for the infor-        should not have to wait until expert disclosure to find out
mation within the tax returns falls upon the party making      how his losses will be calculated. There should be some
the demand for this form of disclosure. Laurin v. Pokoik,      pretrial financial information disclosure [*15] prior to
2004 U.S. Dist. LEXIS 4066. 2004 WL 2724767                    the final stage of discovery, that is, expert disclosure. See
(S.D.N.Y. Nov. 30. 2004); United States v Bonanno,             Dkt. No. 66, Uniform Pretrial Scheduling Order, dated
 119 F.R.D. at 627 (the burden of establishing relevance       Nov. 30, 2005. Apparently, Defendants attempted to gain
falls upon the party seeking the tax return). But once a       some of this information by a deposition but to little
compelling need has been shown, there is no justifiable        avail. Dkt. No. 88 at p. 1. Still, there remains less intru-
reason to deny this pretrial financial discovery. Hamm v.      sive sources not yet denied to Defendants upon which we
Potamikin. 1999 U.S. Dist. LEXIS 594. 1999 WL                  should be able to refer to before we pour over sensitive
24972 1. at *2 (citing Hazeldine v Beveiage Media. 1997        tax information. n5 The second prong of the standard,
U.S. Dist. LEXIS 897. 1997 WL 36229. at *3 (noting             requiring a showing of compelling need for the financial
that [*13] "allowing pre-trial discovery avoids the inef-      information within the tax return, has not been met, at
ficiency of a discovery delay")); Tillery v. Lvnn. 607 F.      least not yet. Therefore, Plaintiff Trudeau shall be re-
 Sump. 399, 402-03 (S.D.N.Y. 1985).                            quired to provide to the Defendants a net worth state-


                                                                                                                    Page 9
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ment, listing assets and liabilities, and gross and net in-            Dkt. No. 9 1, Attach. Trudeau's Dep.
come for the years 2003 to 2005. Hanmm v. Potamnkin.
1999 U.S. Dist. LEXIS 594. 1999 WL 249721. at *2-3;             [17]
Hazeldine v. Beveraze Media, 1997 U.S. Dist. LEXIS
                                                                   Defendants are not prejudiced in that they may re-
897. 1997 WL 36229. at *4.
                                                               new their application for the tax returns if these disclo-
                                                               sures provide scant and inadequate foundation for the
                                                               calculation of losses.
               n5 The Honorable David R. Homer, United
          States Magistrate Judge, cogently noted that there       2. Discovery of Documents Related to Another, In-
          is other significant personal and sensitive infor-   dependent Litigation
          mation disclosed in a tax return, which may not
                                                                    On the heels of this litigation, Trudeau has initiated
          be relevant to the financial information being
                                                               a separate lawsuit against Jordan Whitney in a California
          sought. For example, Judge Homer identifies the
                                                               state court. It appears that Jordan Whitney periodically
          social security numbers of the taxpayers, medical
                                                               publishes rankings on infomnericals, which helps in gaug-
          and other deductions, and spousal financial in-
                                                               ing the success of a product or infornerical producer. It
          formation, inter alia, which may not be relevant
                                                               further appears that Trudeau claims that Jordan Whitney
          to the litigation. Gates v. Wilkinson. 2005 U.S.
                                                               has misrepresented the success of the Natural Cures in-
          Dist. LEXIS 5523. 2005 WL 758793, at *8, n.3.
                                                               fomnercial, which has damaged "Trudeau's reputation,"
                                                               and seeks $ 20,000,000 in damages. Under these circum-
 [* 16]
                                                               stances, Defendants believe that they are entitled to in-
     Initially, our visceral reaction would be to agree        quire into whether Plaintiffs have been damaged by them
with Trudeau that his charitable contribution to a founda-     or by the actions of a non-party, Jordan Whitney. Defs.'
tion set up by his accountant is not relevant and hence        Lt.-Brief, dated Mar. 29, 2006, at p. 3. Plaintiffs' elemen-
not subject to discovery. Yet, we realize that the Defen-      tary retort to this request for information is that "the
dants may be faced with the stark reality that Trudeau         damages Trudeau seeks in that case -- lost business op-
could divert his revenue sources, such as the Natural          portunities to appear in and produce infomnercials for
Cures Book's profits, directly to the foundation without       third parties -- are completely distinct from the [*181
possibly reporting the earning of such income on his tax       economic damages sought in this case, namely lost book
return or reflecting such data on his net worth statement,     sales." Pls.' Lt.-Brief, dated Apr. 12, 2006, at p. 4.
thereby being able to indicate a greater financial loss by          Even without the benefit of reviewing the Jordan
the alleged actions of the Defendants. n6 Nonetheless, all     Whitney pleadings, evidently, the request for this infor-
other information regarding the foundation would be            mation is more than "tangentially" relevant to this case as
irrelevant. In order to prevent any concealment of Tru-
                                                               suggested by Plaintiffs. In this instant case, much like the
deau's revenue streams, we direct that, at a minimum,          action against Jordan Whitney, Trudeau is seeking dam-
Trudeau disclose the extent of his contribution to this
                                                               ages for a besmirched reputation albeit by a different
foundation and the nature of its primary source. If Tru-
                                                               cause of action. Here, it is defamation. In the California
deau does not make any contributions to this foundation,
                                                               case, Trudeau seeks damages primarily "for lost business
he will be required to so advise Defendants.                   opportunities," but we are confident that damages will be
                                                               for much more than that, and in our litigation, he seeks
                                                               broad compensatory and punitive damages for harm to
               n6 The relevant colloquy on the foundation,     his good name, which will include economic loss from
          in part, reads as follows:                           lost book sales. Most telling in terms of the nature of the
                                                               California lawsuit is Plaintiffs' press release on that law-
                  Q: Mr. Trudeau, you've made the              suit: "Trudeau alleges in the lawsuit that such false list-
                  statement, I believe, that you're            ing have [sic] skewed the public's and sales industry's
                  going to give away your fortune?             perception of Trudeau's infomercial that promotes his
                  A: . .. Oh, I made that statement,
                                                               book .... Having infomnercial information and rankings
                  yes.                                         accurately reported to the public is essential to under-
                  Q: And what's the funding level              standing [*19] how a product or in my case, a book,
                  for that?                                    is actually received by the public." Defs.' Lt.-Brief,
                  A: Don't know the answer.                    Mar. 29, 2006, Attach. 1 (news release) (emphasis
                  Q: Who would know the answer?                added). Remarkably, in a material respect, both lawsuits
                  A: Probably my accountant...
                                                               deal with the public's perception of the Natural Cures
                  [Mark Lane.].                                Book, and it is not lost on this Court that the infomnerical


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is only one vehicle to promote the book. Rather than            of the inadequacy of the Logs this Court should deem all
being distinct, damages in both seem to collide, if not         of the documents listed therein waived for all purposes.
merge, because the lost revenues on the sale of the book        Controverting Plaintiffs' position, Defendants defend the
will be the sine qua non of both cases.                         adequacy of the Logs, however, if the adequacy of the
                                                                Logs is found to be unsatisfactory, Defendants argue
     Moreover, Plaintiffs have not committed themselves         vociferously that such a drastic remedy of deeming all of
to restrict or limit their damages in either case to the fi-
                                                                the documents listed in the Logs as waived is unwar-
nite and compartmentalized economic losses suggested
                                                                ranted. At least, in terms of the adequacy of the Logs, we
by them above, nor would we expect them to do so.
                                                                agree with the Plaintiffs' assessment.
Moreover, since presumably the relevant time frame for
each of these lawsuits overlap, there is a possibility for a          [HN4] A proponent [*22] of a privilege log must
double recovery and the regrettable situation of one de-        "make the claim expressly and shall describe the nature
fendant being blamed for damages caused essentially by          of the documents, communications, or things not pro-
another. Under these circumstances, Defendants' request         duced or disclosed in a manner that, without revealing
for information about the California State lawsuit, par-        information itself privileged or protected, will enable
ticularly as to the calculation of damages, is germane to       other parties to assess the applicability of the privilege or
the subject matter of this case. We also find that any fear     protection." FED. R. CIV. P. 26(b)(5). n7 In this respect,
that [*20] the California State case will unnecessarily         and in order to evaluate and facilitate the determination
accelerate in any manner, as suggested by Plaintiffs, is        of whether a privilege exists, courts generally require
untenable. Weighing the liberality of the federal discov-       compliance with this statutory mandate that an ade-
ery rules, supported by our opinion that the Defendants'        quately detailed privilege log be provided. United States
discovery request is calculated to lead to admissible evi-      v. Constr. Prod Research, Inc.. 73 F.3d 464. 473 (2d
dence, Plaintiffs are directed to provide those documents       Cir. 1996) (citations omitted). Without an adequately
related to this request, including calculations of damages,     detailed privilege log, the courts are hamstrung in at-
to the Defendants.                                              tempting to decipher the presence and the extent of the
                                                                claimed privilege. To constitute an acceptable privilege
        B. Attorney-Client Privilege and Work Product Doc-      log, at a minimum, it should provide facts that would
trine                                                           establish each element of the claimed privilege as to each
     Both parties have presented a number of interlock-         document, Strougo v. BEA Assocs.. 199 F.R.D. 515. 519
ing issues on whether documents now in the possession            (S.D.N.Y. 2001), and "identify' each document and the
of the Plaintiffs are indeed Defendants' privileged docu-       individuals who were parties to the communications,
ments, and if found to be such, whether the manner in           [*23] providing sufficient detail to permit a judgment as
which Plaintiffs received those documents constitutes a         to whether the document is at least potentially protected
waiver of any privilege that may have attached. Pursuant        from disclosure. Other required information, such as the
to the Court's directions, the documents in questions           relationship between individuals not normally within the
were attached to Plaintiffs' Letter-Brief, dated April 12,      privileged relationship, is then typically supplied by affi-
2006, which was submitted in camera. In re John Doe             davit or deposition testimony." United States v. Constr
Corp. 675 F.2d 482. 489-90 (2d Cir 1982) (finding that          Prod. Research. Inc. 73 F.3d at 473. [FIN5] When a
in camera submission provides a method ofjudicial reso-         party fails to comply with the requirements of Rule
lution without revealing confidential information). How-        26(b)(5) when submitting a privilege log, which is in-
ever, the scope of our review has been limited. The [*2 1]      adequate as a matter of law in that the log just does not
Court conducted a telephone conference in June 2006             provide sufficient information to support the privilege,
with the parties wherein the Court was informed that            the claim of privilege may be denied. Johnson v. Brvco
only three documents are now at the heart of this contro-       Arms. 2005 U.S. Dist. LEXIS 2938. 2005 WL 469612. a
versy. We will commence our discussion with an analy-            *34 (E.D.N.Y. Mar. 1. 2005) (citing United States v.
sis of the various principles of law and then we will re-        Constr. Prod. Research. Inc., 73 F.3d at 474).
view the facts and circumstances that implicate these
legal principles.
                                                                             n7 Defendants contend that it is the Plaintiffs
        1. Privilege Log
                                                                        and not them who should have the burden of go-
     The first issue for us to address is the adequacy of               ing forward to identify the apparent deficiencies
the Defendants' Privilege Logs. Both parties submitted as               in the Logs. Defendants' contention is misplaced.
an attachment to their respective Letter-Brief samples of               Since the Defendant are asserting the privilege, it
the Defendants' Privilege Logs, which were presented to                 remains always the Defendants' burden to provide
the Plaintiffs. Plaintiffs stake the position that these Logs           the necessary information to support their asser-
fail to comport with statutory requirements and because                 tion. See also infra Part. 11.B3.2.


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                                                              person listed as author and their role in preparing the
[*24]                                                         documents; (2) the identity of each recipient, the role in
                                                              which they received the documents [*26] and whether
    Here, the Defendants' Privilege Logs are woefully
                                                              they are a party or non-party; (3) a more elaborate de-
inadequate and the "dearth of information [within the
                                                              scription of the specific document, or specific portion of
Logs] is so [in~complete that the listing[s] [therein are]
                                                              the document, which is claimed to be protected by any
the functional equivalent of no listing at all." A.I.A.
                                                              privilege, without revealing the substance of the privi-
Holding-s. SA v. Lehman Bros. 2000 U.S. Dist. LEXIS
                                                              leged communication; (4) identify any bate stamp num-
15141. 2000 WL 1538003. at *3 (S.D.N.Y. Oct. 17.
                                                              ber or any other identifiable notation; and, (5) identify
2000). The Privilege Logs' deficiencies are glaring inas-
                                                              the type of privilege being asserted (i.e., attorney-client
much as                                                       privilege, work product, deliberative process, executive
                                                              privilege).
          there are no descriptions as to the identi-             2. Attorney-Client Privilege
        ties of the sender and recipient of the
                                                                    [HN6] The attorney-client privilege is a longstand-
        documents;
                                                              ing, common law privilege recognized in New York and
          the date sent or received is not evidently
                                                              by the federal courts under FED. R. EVID. 501. It is one
        clear;
                                                              of those "bedrock principles] of our justice system
          the descriptions of the claimed privilege
                                                              [which has been sustained] for hundred[s] of years," dat-
        documents are much too meager or cur-
                                                              ing back to the 1600s. See AM. LAW INST. - ABA -
        sory to adequately identify the document;
                                                              ATTORNEY-CLIENT PRIVILEGE (May 15, 2005) at
        and
                                                              p. 87; United States v. Blzerian, 926 F.2d 1285, 1292
         .the type of privilege being asserted is not
                                                              (2d Cir. 1991) (citing 8 J. WIGMORE, EVIDENCE, at §
        identified at all, rendering it an ordeal to
                                                              2290, at pp. 542-44 (McNaughton rev. 1961) (the privi-
        recognize that indeed the described
                                                              lege being the oldest known - "[the] most ancient of con-
        documents is or should be cloaked with a
                                                              fidential communication privileges")). [HN7] This rule
        privilege.
                                                              has been [*27] immortalized as a legal doctrine for eons
                                                              to encourage full engagement between a party and her
                                                              attorney so that full and frank communication exists to
United States v Consir. Prod Research Inc., 73 F.3d at
                                                              impart all the information an attorney may need in order
474; Strouigo v. BEA Assoc.. 199 F.R.D. at 519.
                                                              to give sage and cogent advice on the matter. Sividler
                                                              Berlin v. United States. 524 U.S. 399. 403. 118 S. Ct.
Considering the deficiencies of Defendants' Privilege
                                                              2081. 141 L. Ed. 2d 3079 (1998); United States v.
Logs, the Plaintiffs are correct that the Court could de-
                                                              Schwinmmer, 892 F.2d 237. 243 (2d Cir. 1989) ("[The]
clare all of the purported privileges waived. And, yet,
                                                              communications between attorney and client endures as
adjudging these documents as waived [*25] would be
                                                              the oldest rule of privilege known to the common law.").
too austere a remedy when the deficiencies can be read-
                                                              Stated another way, its essential purpose is to encourage
ily rectified at this juncture of the litigation. Export-
                                                              clients to be fuilly forthcoming with their attorney and to
Import Bank of United States v. Asia Puli, & Payer Co.
                                                              receive, in return, advice which will protect the client's
Ltd., 232 F.R.D. 103. 111 (S.D.N.Y. 2005) (although
                                                              legal rights. Upjiohn Co. v United States. 449 U.S. 383.
finding the privilege log inadequate, the court directed
                                                              389. 101 S. Ct. 677. 66 L. Ed. 2d 584 (1981); Asia
that a new privilege log be promulgated). Furthermore,
                                                               Vegetable Research & Dev Ctr v Inst of Int'l Educ.,
the Court is able to decode enough information from the
                                                              1996 U.S. Dist. LEXIS 307. 1996 WL 14448. at *4
Logs, when supplemented by the Defendants' submis-
                                                              (S.D.N.Y. Jan. 16. 1996) (citing, inter alia, In re
sions in support of the privilege, to appreciate, at least,
                                                              Horowitz, 482 F.2d 72. 81 (2d Cir.), cert. denied, 414
the disputation on the privilege. Hence, the Court will
                                                              U.S. 867, 94 S. Ct. 64, 38 L. Ed. 2d 86 (1973)). The free-
not adopt the Plaintiffs' importune to waive carte
                                                              flow of information and the twin tributary of advice are
blanche the privileges due to Defendants' failure to com-
                                                              the hallmarks of the privilege. For all of this to occur,
ply with the Federal Rules. If any waivers are applicable,
                                                              there must be a zone of safety [*28] for each to partici-
it will be determined on the merits, document by docu-
                                                              pate without apprehension that such sensitive informa-
ment, and not completely on the failure to provide suffi-
                                                              tion and advice would be shared with others without their
cient information within the Logs.
                                                              consent. In re Grand Jury Subpoena Duces Tecumi etc.
    Therefore, the Court will require the Defendants to       406 F. Supp. 381, 386 (S.D.N.Y. 1975) ("The sine qua
submit new, more descriptive logs to Plaintiffs contain-      non of the attorney-client-privilege is . . . a confidence
ing the following information: (1) the identity of each       reposed .....   ).



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      [HN8] When determining if there is in fact an attor-               socs.. Inc.. 189 B.R. 562. 570 (Bankr. N.D.N.Y.
ney-client privilege present to cloak both the client's                  1995) (citing McMann v. Sec and Exch. Conmm n,
communication and the corresponding legal advice, a                      87 F.2d 377. 378 (2d Cir. 1937)). But since the
court needs to ascertain that this safety net attaches to                attorney-client privilege "stands in derogation of
only those communications (1) where legal advice of any                  the public's right to everyman's evidence,. ... it
kind is sought, (2) from a professional legal advisor in                 ought to be strictly confined within the narrowest
his or her capacity as such, (3) the communication relates               possible limits consistent with the logic of the
to that purpose, (4) made in confidence, (5) by the client,              principle." In re GrandJury Proceedings v.John
and (6) are at his or her insistence permanently protected,              Doe. 219 F.3d 175. 182 (2d Cir. 2000) (citing
(7) from disclosure by the client or the legal advisor, (8)              United States v. Int'l Bhd. of Teamsters. 11 9 F.3 d
except if the protection is waived. United States v. Int'l               at 214)
Bhd of Teamsters. 119 F.3d 210, 214 (2d Cir. 1997)
(citing In Re Grand Jury Subpoena Duces Tecum, 731              [*3 1]
F.2d 1032. 1036 (2d Cir.1984)); Madanes v Madanes,
                                                                      [HN1 0] The case law generally assumes the exis-
 199 F.R.D. 135. 143 (S.D.N.Y. 2001) [*29] (citing, inter
                                                               tence of a governmental attorney-client privilege in civil
alia, United States v. Richard Roe. Inc. (In re Richard
                                                               suits between government agencies and private litigants.
Roe, Inc), 68 F.3d 38. 39-40 (2d Cir.1995) & quoting
                                                                United States v. Doe (In re Grand Jury Investigation),
United States v. Kovel, 296 F.2d 918, 921 (2d Cir.1961))l-
                                                               399 F.3d 527. 532-33 (2d Cir. 2005) (citing, inter alia, In
see also 8 WIGMORE, EVIDENCE § 2292. This privi-
                                                               reLindsey, 332 U.S. App. D.C. 357, 158 F.3d 1263.
lege, as previously stated, further attaches to the advice
                                                                1268 (D.C. Cir. 1998) ("Courts, commentators, and gov-
rendered by the attorney. In re Six GrandJury Witnesses.
                                                               ermient lawyers have long recognized a government
979 F.2d 939. 943-44 (2d Cir. 1992). The burden of
                                                               attorney-client privilege in several contexts.")). That is,
proving each element of the privilege rests on the party
                                                               the legal maxim is substantial in presuming that the "ra-
claiming the protection. Inre Horowitz. 482 F.2d at 82.
                                                               tionale supporting the attorney-client privilege applica-
      [HN9] Contrary to modern yet ill-informed percep-        bil[ity] to private entities has general relevance to gov-
tions, the attorney-client privilege is often "[n]arrowly      ernmnental entities as well." Id.at 533 (ultimately finding
defined, riddled with exceptions, and subject to continu-      that this rule has the same force in effect in criminal law
ing criticism." United States v Schwimmer, 892 F.2d at         as it does in civil cases).
243. Grand as the privilege stands in our legal lexicon, it
                                                                    3. Work Product Doctrine
is nonetheless narrowly defined by both scholars and the
courts. Univ. of Pa v E.E.0 C.. 493 U.S. 182, 189, 110               [IHNi1] Whenever the attorney-client privilege is
S. Ct. 577, 107 L. Ed. 2d 571 (1990). n8 The attorney-         raised in on-going litigation, concomitantly the work
client privilege is not given broad, unfettered latitude to    product doctrine is virtually omnipresent. They are in-
every communication with a lawyer, but is to be nar-           separable twin issues, and when one is advanced, surely
rowly construed to meet this narrowest of missions.            the other will follow. The work product privilege is more
Fisher v. United States. 425 U.S. 391. 403. 96 S. Ct.          broad than the attorney-client privilege. In re GrandJury
1569, 48 L. Ed. 2d 39 (1976) [*301 ("However, since the        Proceedinigs. 219 F.3d 175. 190 (2d Cir. 2000). [*32]
privilege has the effect of withholding relevant informa-      [HN 12] This privilege exists to protect attorneys' mental
tion from the factfinder, it applies only where necessary      impressions, opinions, and/or legal theories concerning
to achieve its purpose."); see also In re Horowitz. 482        litigation. Horn & [-ardartCo. v. Pillsbury Co. 888 F.2d
F.2d at 81 (privilege ought to be "strictly confined within    8. 12 (2d Cir. 1989). Indeed, the work product privilege
the narrowest possible limits consistent with the logic of     is designed to protect an adversarial system of justice and
its principle") (quoting 8 WIGMORE § 2292 at 70);              has been analyzed in that context by the Supreme Court
United States v MNt' Bhd of Teamsters, 11 9 F.3d at 214.       in Hickman v. Taylor, 329 U.S. 495. 510-11. 67 S. Ct.
                                                               385. 91 L. Ed. 451 (1947). This doctrine establishes a
                                                               "zone of privacy" in which a lawyer can prepare and
             n8 There is the general maxim that the pub-       develop theories and strategies with an eye towards liti-
       lic, particularly within the judicial forum, is enti-   gation free from unnecessary intrusion by his or her ad-
       tled to be exposed to "everyman's evidence." 8          versaries. United States v Adlmian ("A dlman I"), 68 F.3d
       WIGMORE, EVIDENCE § 2317 (McNaughton                     1495. 1500-01 (2d Cir. 1995) (citing United States v.
       rev. ed. 1961). The quest is for the truth of the       Nobles, 422 U.S. 225, 238. 95 S.Ct. 2160, 45 L.Ed. 2d
       matter to flow forward before the court, and             141 (1975) & Hickman v Taylor, 329 U.S. 495. 67 S.Ct.
       "[tlhe suppression of truth is a grievous necessity     385. 91 L. Ed. 451); see also In r'e   Minebea Co., Ltd.,
       at best. ... [only justified] when the opposed pri-      143 F.R.D. 494. 499 (S.D.N.Y. 1992). Of course
       vate interest is supreme." In re Megan-Racine As-        [HN13] the burden, albeit not a heavy one, of establish-


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ing that the work product doctrine applies rests with that    need for the document and undue hardship to acquire the
party's attorney who is claiming the protection. [HN14]       document or its substantial equivalent by other means.
The work product doctrine, as well as the attorney-client     On the other hand, "opinion" work product requires a
privilege, "does not extend to every document [*33]           higher protection to the extent that the requesting party
generated by the attorney; it does not shield from disclo-    has to demonstrate extraordinary justification before the
sure everything a lawyer does." Rattner v Netb urn, 1989      court will permit its release. Strougo v' BEA Assocs. 199
U.S. Dist. LEXIS 6876, 1989 WL 223059, at *6                  F.R.D. 515. 521 (S.D.N.Y. 2001) (citing In re Sealed
(S.D.N.Y. June 20. 1989). The doctrine is generally in-       Case, 219 U.S. App. D.C. 195, 676 F.2d 793, 809-10
voked as soon as the attorney, in responding to a request     (D.C. Cir. 1982); see also U))piohn Co. v. United States.
for production of documents, serves upon the requesting       449 U.S. at 401. At a minimum, such "opinion" work
party a privilege log asserting this and any other relevant   product should remain protected until and unless a highly
privilege or provides notification that it will not be dis-   persuasive showing is made. In re Grand Jury Proceed-
closed for this reason. FED. R. CIV. P. 26(b)(5) & 34(b).     ings. 219 F.3d at 191; United States v. Adlman ("A dlman
Failure to timely provide the privilege log, as discussed     II'). 134 F.3d 1194. 1204 (2d Cir. 1998). In a similar
above, or objection constitutes a waiver of any of the        vein, [HN17] in most instances, the work product doc-
asserted privileges. Even if a party follows these steps,     trine does not extend to facts. Generally, non-privileged
the security of the work product doctrine is not assured.     facts should be freely discoverable. Compare In re
There must be the omnipresent concern that revealing the      Savitt/Adler Litig.. 176 F.R.D. 44. 48 (N.D.N.Y. 1997)
attorney's mental processes is real and not just specula-     with Doe v United States (In re GrandJury Subpoena.
tive. Gould Inc v. Mitsui Mining & Smelting Co, Ltd.,         Dated October 22, 2001). 282 F.3d 156. 161 (2d Cir.
825 F.2d 676, 680 (2d Cir. 1987).                             2002). n9
     FED. R. CIV. P. 26(b)(3) provides a relevant rule on
the discovery of work product material. It reads in part:
                                                                            n9 We note however that the Plaintiffs do not
                                                                       advance the argument that there is a substantial
                                                                       hardship which would permit disclosure pursuant
       [A] [HN15] party may obtain [*34] dis-
                                                                       to the guidelines set forth in Rule 26(b)(3). This
       covery of documents and tangible things
       otherwise discoverable under subdivision                        analysis may still become pertinent.
       (b)(1) of this rule and prepared in antici-             [*36]
       pation of litigation or for trial by or for
       another party or by or for that other                        "[W]here     [HN18] a party faces the choice of
       party's representative (including the other            whether to engage in a particular course of conduct vir-
       party's attorney, consultant, surety, in-              tually certain to result in litigation and prepares docu-
       demnnitor, insurer, or agent) only upon a              ments analyzing whether to engage in the conduct based
       showing that the party seeking discovery               on its assessment of the likely result of the anticipated
       has substantial need of the materials in the           litigation, [it should be] conclude~d that the preparatory
       preparation of the party's case and that the           documents should receive protection under Rule
       party is unable without undue hardship to              26(b)(3)." Adlman H, 134 F.3d at 1196. The crux being
       obtain the substantial equivalent of the               that a document which has been prepared because of the
       materials by other means. In ordering dis-             prospect of litigation will not lose its protection under the
       covery of such materials when the re-                  work product doctrine, even though it may assist in busi-
       quired showing has been made, the court                ness decisions. Adlman I. 68 F.3d at 1502; Strougo v.
       shall protect against the disclosure of the            BEA Assocs.. 199 F.R.D. at 521. But this protection will
       mental impressions, conclusions, opin-                 not be extended, under any circumstances, to records that
       ions, or legal theories of an attorney or              are prepared in the ordinary course of business. Adlman
       other representative of a party concerning             I, 68 F.3d at 1502. Even though the work product doc-
       the litigation.                                        trine protects the impressions, opinions, theories, and
                                                              strategies of an attorney, Rule 26(b)(3) makes clear that
     It is important to note that [HN 16] the work product
doctrine classifies documents into two categories: "non-      the document at issue, either obtained or prepared by or
opinion" work product and "opinion" work product. The         for a party, or by or for his representative, may be
distinction between these two categories turns on the         cloaked by this doctrine as [*37] well. Id. This maxim
effort employed in obtaining disclosure pursuant to Rule      makes sound sense considering how complex litigation
26(b)(3). For "non-opinion" work product, the party           can be and the undeniable need for others to assist in
seeking this information must show [*35] a substantial        developing all that is necessary to prosecute or defend a
                                                              lawsuit. Obviously, impressions and strategies are not


                                                                                                                  Page 14
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always created in a vacuum, but, rather are generated in      ample, an exemption from the waiver accrues if such
cogent discourse with others, including the clients and       communications are shared with an agent of the attorney,
agents. Further, the exchange of such documents and           which may include investigators and accountants re-
ideas with those whose expertise and knowledge of cer-        tained to assist the attorney in rendering legal advice and
tain facts can help the attorney in the assessment of any     instruction. United States v. Schwininer. 892 F.2d 237,
aspect of the litigation does not invoke a waiver of the      243 (2d Cir. 1989) (accountant); United States v McPar-
doctrine. United States v Nobles. 422 U.S. at 239;            thn. 595 F.2d 1321. 1336-37 (7th Cir. 1979) (investiga-
A d/man L,6 8 F.'3)d at 15 02.                                tor); United States v. Kovel, 296 F.2d 918. 921 -24 (2d
                                                              Cir. 1961) [*40] (disclosures to an accountant does not
    4. Waiver of Attorney-Client Privilege and Work
                                                              waive attorney-client privilege).
Product Doctrine
                                                                    As noted above, [HN20] the work product doctrine
      There are circumstances, and permutations thereof,
                                                              is not absolute either. Such protection, like any other
that cause waivers upon waivers to these less than sacro-
                                                              privilege, can be waived and the determination of such a
sanct rules. Cynthia B. Feagan, Comment, Issues of
                                                              waiver depends on the circumstances. United States v.
 Waiver In Multiple-PartyLitigation. The Attorney-Client
                                                              Nobles, 422 U.S. at 239-40. In fact, in most respects, the
Privilege and the Work ProductDoctrine, 61 UMKC L.
                                                              discussion of a third party waiver is virtually the same
REV. 757 (19933); Edna Selan Epstein, The Attorney-
                                                              for both the attorney-client privilege and the work prod-
Client Privilegeand the Work-Product Doctrine, (4th ed.       uct doctrine. A voluntary disclosure of work product, for
2001). Considering that the attorney-client [*38] privi-
                                                              some or any inexplicable benefit, to a third party, espe-
lege protects communications and the work product doc-
                                                              cially if the party is an adversary, may waive the immu-
trine protects tangible items which may contain strate-       nity. In re Steinhardt Partners, L.P. 9 F.3d 230. 234-3 7
gies, impressions, and attorney's opinions, both the privi-   (2d Cir. 2000); see also In re Grand Jua-Proceedinigs,
lege and the doctrine may be waived in various ways           219 F.3d at 191; Strouego v. BEA Associates. 199 F.R.Q.
 including sharing such documents with a third party. In      at 521-22. Once a party allows an adversary to share in
rePfohl Bros Landfill Litig.. 175 F.R.D. 13. 22-28
                                                              an otherwise privileged document, the need for the privi-
 (W.D.N.Y. 1997) (survey of the various types of implicit     lege disappears, and may disappear forever, even as to
 and explicit waivers); see also Feagan, Comment, Issues      different and subsequent litigators. In re Steinhardt Part-
 of Waiver in Multiple-Party Litigation, 61 UMKC L.           ners. 9 F.3d at 235 (citing -UnitedStates v Nobles. 422
 REV, at 775-77. We need not now address all of the po-       U.S. at 239). As an illustration, [*41] when a party
tential waivers and exceptions to the attorney-client         makes a strategic decision, no matter how broad and
 privilege and the work product doctrine, but it is neces-    sweeping or limited, to disclose privileged information, a
 sary in the context of this case to first draw upon those    court can find an implied waiver, In ,re Grand Jut-v Pro-
waivers which invariably cause lawyers the greatest           ceedings 219 F.3d at 190-92. Moreover, a party cannot
 angst, and may be problematic in this case. See In re        partially disclose a privileged document nor selectively
 Pfohl Bros. Landfill Litig. 175 F. R. D. 13                  waive the privilege and then expect it to remain a shield.
     a Third Party Waiver                                     Id at 19 1. However, there is no per se rule that all volun-
                                                              tary disclosures constitute a waiver of the work product
      [HN 19] The waiver to which we speak is whether         doctrine because there is no way the court can anticipate
the client's communication(s) or the legal advice given       all of the situations when and how such disclosure is
was shared, in some form or fashion, with a third party.      required. In re Steinhardt Partners, 9 F.3d at 236 (i.e.,
A waiver such as this may be done explicitly or implic-       privilege not waived if shared with someone of common
itly, or rather, intentionally or inadvertently. [*3 9] 6      interest). There are times when a waiver can be broad
JAMES M. MOORE ET AL, MOORE'S FEDERAL                          and other times when it has to be narrowly construed.
PRACTICE ~ 26.49r5] (3d ed. 2005); In re Pfohl Bros.          Each case must be judged on its own circumstances and
Landfill Litig. 175 F.R.D. at 24-26. Obviously, when          merits. See Strougo v. BEA Associates. 199 F.R.D. at
communications between a party and her attorney occur          52 1-22.
in the presence of a third party, the privilege may be
waived. United Stales v. Am. Tel. and Tel Co. 206 U.S.             [HN2 1] In the context of an inadvertent disclosure
App. D.C. 317, 642 F.2d 1285, 1298-99 (D.C. Cir.              of a privileged document, as just stated, such oversight
 1980). Yet, a disclosure to a third party does not waive     does not necessarily mean a privilege is waived unless
the privilege unless such disclosure is inconsistent with     "the producing party's conduct was so careless as [*42]
the "maintenance of secrecy" and if the disclosure "sub-      to suggest that it was not concerned with the protection
stantially increases the possibility of an opposing party     of the asserted privilege." Atronic Int'l GMBHI- v SAI
obtaining the information." GAF Coro. v Eastman Ko-           Semissipecialists of Am, Inc. 232 F.R.D. 160. 163
dak Co, 85 F.R.D. 46. 5 1-52 (S.D.N.Y. 1979). For ex-         (E.D.N.Y. 2005) (citation omitted). To emphasize this


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point, some courts within the Second Circuit have cre-          alia, Worthin~gton v. Endee. 177 F.R.D. 113. 116-117
ated a standard to evaluate the mishap disclosure:              (N.D.N.Y. 1998) and 6 JAMES WM. MOORE ET. AL,
                                                                MOORE'S FEDERAL PRACTICE ~ 26.70[6]rc] (3d ed.
                                                                1997)). n1O
       [Tihe Court must assess whether the pro-
       cedure[s] followed in maintaining the
       confidentiality of the document[s] [were]                             nlO It is now an established principle of law
          so lax, careless, inadequate or indiffer-                     that [HN231 if the advice of counsel is placed in
       ent to consequences as to constitute a                           issue by either a claim, defense, or testimony it is
       waiver." Martin v. Valley Nat'l Bank,                            deemed waived. Rhone-Poulenc Rorer Inc. v
       1992 U.S. Dist. LEXIS 11571. 1992 WL                             H-onme Indem. Co.. 32 F.3d 851 (3d Cir. 1994);
       196798. at *2 (S.D.N.Y. Aug. 6. 1992).                           United States v Bijlzerian. 926 F.2d 1285. More-
       Inadvertent production will not waive the                        over, it is not the filing of the lawsuit that matters
       privilege unless the conduct of the pro-                         but the relevance of the contention that controls.
       ducing party or its counsel evinced such                         Reming~ton Arms Co. v. Liberty Mut. Ins Co. 142
       extreme carelessness as to suggest that it                       F.R.D. 408 (D. Del. 1992).
       was not concerned with the protection of
       the privilege. See Lloyds Bank PLC v Re-
       public of Ecuador. 1997 U.S. Dist. LEXIS                       [HN24] Forfeiture of the privilege turns on the con-
       2416, 1997 WL 96591. at *3 (S.D.N.Y.                     sideration of fairness, or, [*45] more correctly cast,
       Mar. 5, 1997) (quoting Desai v. American                 unfairness to the adversary. This unfairness to the adver-
       Int'l Under-vriters, 1992 U.S. Dist. LEXIS               sary is "having to defend against a privilege holder's
       6894. 1992 WL 110731. at *1 (S.D.N.Y.                    claim without access to pertinent privilege material that
       May 12. 1992)).                                          might refute the claim." Johni Doe Co. v. United States,
                                                                350 F.3d at 304 (emphasis in original). Thus, in the cir-
United States Fid, & Guar. Co. v. Braspetro Oil Servs.          cumstances where a party contends facts to an "adjudi-
Co, 2000 U.S. Dist. LEXIS 7939. 2000 WL 744369, a               cating authority" (a court, jury or decision maker) then
*5 (S.D N.Y. June 8, 2000) [*43] (internal quotations           relies upon the privilege "to deprive its adversary of ac-
marks omitted) (alterations in original).                       cess to [the] material that might disprove, [impeach],
                                                                [effectively contest], [rebut] or undermine the party's
Although this rule sounds rather definitive on the law          contention," such would be unfair. Id. at 302 & 303; In
pertaining to disclosure and waiver, however, where a           re von Bulow, 828 F.2d 94, 102 (2d Cir. 1987) (assertion
party makes an effort to demonstrate that such divul-           during a judicial proceeding). nilI Or, where the privi-
gence should not constitute a waiver, a flexible balancing      lege holder intends to visit prejudice upon his opponent
test has been devised: (1) the reasonableness of the pre-       or disclose only select portions of the privileged commu-
cautions taken by the producing party to prevent inadver-       nication for "self serving purposes" in order to promote a
tent disclosure of privileged documents; (2) the volume         claim in the litigation that in fairness may require exami-
of discovery versus the extent of the specific disclosure       nation of this protected communication, then the privi-
issue; (3) the length of time taken by the producing party      lege may be forfeited. United States v. Bilzerian.926
to rectify, the disclosure; and (4) the overarching issue of    F.2d at 1292 & 1293 ("[For example, [*46] the court]
fairness. Atronic Int'l, 232 F.R.D at 164 (quoting United       cannot sanction the use of the privilege to prevent effec-
States v Rigas. 281 F. Supp. 2d 733, 738 (S.D.N.Y.              tive cross examination on matters reasonably related to
2003)).                                                         those introduced in direct examination."). The Fairness
                                                                Doctrine will not allow the privilege to stand when the
     b. At Issue Waiver                                         proponents seek to use it for a purpose that is inconsis-
     It is well settled law that [H-N22] in "certain circum-    tent with the privilege. What the court is attempting to
stances a party's assertion of factual claims can, out of       avoid is the wielding of the attorney-client privilege and
consideration of fairness to the party's adversary, result      the work product doctrine as both a shield and a sword.
in the involuntary forfeiture of privileges for matters         In re GrandJury Proceedinges. 219 F.3d at 182; United
pertinent to the claims asserted." John Doe Co v United         States v. Bilzerian. 926 F.2d at 1292 (citing In re von
States. 350 F.3d 299. 302 (2d Cir. 2003) (citing, inter         Bulow. 828 F.2d at 103). It is the unfairness that is the
alia, [*44] United States v. Bilzertan, 926 F.2d 1285           crucible for the forfeiture. John Doe Co. v United States,
(2d Cir. 1991)). The application of "at issue"~ waiver is       350 F.3d at 306 (citing In re von IBulow. 828 F.2d at
primarily due to the fact that the party asserting the privi-   1024.
lege has placed "a contention at issue." Id. (citing, inter


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             nIlI Often the scope of In re von Bulow.          (S.D.N.Y. Oct. 11. 1995) (citing Hearn v. Rhay. 68
        which is a seminal case on this issue, is over-        F.R.D. 574. 581 (E.D. Wash. 1975)). n12
        stated in terms of the breadth of "at issue" forfei-
        ture. The case actually stands for a limited ver-
                                                                            n12 There are other criteria which [HN26] a
        sion of a waiver or forfeiture of the attorney-
                                                                       court may consider in ascertaining whether an "at
        client privilege, von Bulow granted permission to
                                                                       issue" forfeiture is applicable: (1) the very subject
        his attorney to make certain disclosures in a book
                                                                       of privileged communication [is] critically rele-
        about his infamous criminal case. Many revela-
                                                                       vant to the issue litigated, (2) there is a good faith
        tions and privileged discussions were publicly
                                                                       basis for believing such essential privileged in-
        disclosed in this best selling book. It would ap-
                                                                       formation exists, and (3) there is no other source
        pear then that these revelations would have for-
                                                                       of direct proof. Bank Brussels Lambert v. Credit
        ever waived the attorney-client privilege in a sub-
                                                                       Lvonnais (Suisse). 1995 U.S. Dist. LEXIS 14808.
        sequent civil lawsuit. However, the Second Cir-
                                                                       1995 WL 598971, at *5.
        cuit did not find these extrajudicialdisclosures of
        the attorney-client communication to be a carte        [*48]
        blanche waiver of the protection. Rather, the
        Second Circuit held that these extrajudicial dis-            [HN27] Because of the fragility of broad generali-
        closures, which were not used in a judicial pro-       zations and sometimes per se rules, in the context of de-
        ceeding and did not prejudice his adversary, did       termining fairness, it is more prudent to decide the at
        not constitute a waiver of the privilege as to the     issue waiver on a case by case basis, which "depends
        undisclosed portion of the attorney-client com-        primarily on the specific context in which the privilege is
        munications. In re von Bulow, 828 F.2d at 102.         asserted" or on its own particular facts. John Doe Co. v
        The extrajudicial disclosures of privileged infor-     United States. 350 F.3d at 302 & 305 (citing In re Grand
        mation "results only in [a] waiver of the commu-       Jurv Proceedings. 219 F.3d at 183. The forfeiture should
        nication revealed, but not of related communica-       be narrowly construed and tailored to remedy the unfair-
        tions." In re GrandJury Proceedings. 219 F.3d a        ness or prejudice. In re Grand Jury Proceedings. 219
         189 (citing In re von Bulow, 828 F.2d at 102-03).     F.3d at 188. It is further axiomatic, [HN28] when a
        The von Bulow Court went on to say that had this       number of documents are claimed to be privileged, that
        been a "subject matter waiver" the results would       there is no wholesale waiver but rather a specific inquiry
        have been much different and the reach of the          as to each document.
        waiver may have touched on all privileged con-
                                                                   C. Document Review
        versations. In re von lBulow. 828 F.2d at 102-03.
                                                                    As mentioned above, our review is limited to three
[*47]                                                          documents: 1) Cable Operator Draft; 2) Jon Sorenson's
                                                               Email, dated September 7, 2005; and 3) August 30, 2005
      [11N25] Resolving whether an "at issue" forfeiture
                                                               Letter. Plaintiffs cast a general pall over the claim of
has occurred may appear initially easy, but we know,
                                                               privilege by asserting that such is waived because of the
from experience, that it can be a vexing exercise for a
                                                               careless nature in which the documents were disclosed to
court. Nonetheless, the test that the courts within the
                                                               them. Additionally, in regard to the "cable operator" draft
Second Circuit have resorted to in order to facilitate this
                                                               [*49] letter and Sorenson's email, dated September 7,
nettling analysis is:
                                                               2005, Plaintiffs contend that such document presents an
                                                               at issue waiver.
        (1) assertion of the privilege was a result                 Defendants cannot find any comfort relying upon
        of some affirmative act, such as filing                the blanket statement set forth in their response to the
        suit, (2) through the affirmative act, the             Plaintiffs' Demand to Produce that "they expressly re-
        asserting party puts the protected informa-            serve all privileges, including attorney-client privilege
        tion at issue by making it relevant to the             and work-product rule." Such broadly constructed in-
        case, and (3) the application of the privi-            struction is of debatable value and flies in the face of the
        lege would have denied the opposing                    mandate set forth in [HN29] Rule 26(b)(5) that "the
        party access to information vital to the de-           party [asserting the privilege] shall make the claim ex-
        fense.                                                 pressly and shall describe the nature of the documents .
                                                                   This Rule requires a specific, denoted objection to a
                                                               specific document and not a comprehensive, imprecise
Bank Brussels Lambert v Credit Lvonnais (Suisse), 1995         command. Furthermore, "[s]uch pat, generic, non-
[US. Dist. LFXIS 14808- 199.5 WIL 59R971- at *3                specific objections, intoning the same boilerplate lan-

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guage are inconsistent with both the letter and the spirit      tion of extreme carelessness to one of probable inadver-
of the Federal Rules of Civil Procedure." King-Hardy v.         tence.
Bloomfield Bd. of Educ, 2002 WL 32506294, at *4 (D.
Conn. Dec. 8, 2002) (quoting Ohiaiulu v. CitE of Roches-              Lastly, which weighs most favorably for the Defen-
                                                                dants, there may be only limited prejudice to Plaintiffs.
ter. Dep't of Law. 166 F.R.D. 293. 295 (W.D.N.Y.
                                                                Although this may be an overall view, [*52] we will
1996)).
                                                                still, nevertheless, scrutinize the three documents in the
      Weighing the four factors to determine whether a          framework of the "carelessness" balancing test. Each
waiver will [*50] be found, we make the following               document will be judged under its own circumstances
overarching judgments. In terms of the reasonableness of        and merit.
Defendants' precaution not to disclose the documents, we
note that none of the documents were marked "confiden-               1. Cable Operator Letter
tial" and were produced several times. The Defendants'               There is an undated letter, apparently a draft, which
subsequent justification on this reasonableness standard        will be referred to as the cable operator letter, inasmuch
is lacking. n13 Although months had elapsed before De-          as the subject matter of the letter identifies the potential
fendants were even aware that such disclosure had oc-           audience to which it would be addressed. The author of
curred, they claim that once they were notified that the        this letter is not identified on the letter. Plaintiffs pre-
documents were indeed in the hands of Plaintiffs they           sumed that it was drafted by Defendant Santiago but we
acted swiftly to reclaim the documents, which is uncon-         now know that Roger Kinsey, Assistant Attorney Gen-
troverted by Plaintiffs. On this factor, the Court gives        eral ("AAG"), drafted this letter. Plaintiffs assert seriatim
Defendants the benefit of the doubt.                            that any privilege that may attach to this letter is waived
                                                                because of the careless way it was produced and, more-
                                                                over, the letter raises an at issue waiver. The at issue
               n13 Most of the Defendants' arguments in         waiver involves the contention that Defendants have
          this regard are misplaced. They wastefuilly spent     placed the subject matter of the draft letter at issue with
          more time casting aspersions upon what Plaintiffs     their qualified immunity defense.
          may or may not have done with respect to these
                                                                      Attorney Kinsey provided to this Court, in camera, a
          documents and Plaintiffs' production of docu-
                                                                detailed affirmation explaining how and why such com-
          ments, rather than focus on justification for their
                                                                position came into existence. Kinsey avers that during
          omissions. They would have been better served
                                                                the initial stages of this litigation, Plaintiffs [*53] ap-
          had they remained focused on the true issue at
                                                                proached Defendants to engage in settlement negotiation.
          hand, If Plaintiffs were not properly complying
                                                                Immediately after the District Judge granted a prelimi-
          with discovery, Defendants should have sought
                                                                nary injunction in this case, he thought that such settle-
          the court intervention.
                                                                ment would invariably include a retraction letter to vari-
 [*5 1]                                                         ous cable operators, so he drafted such a proposed letter.
                                                                However, interest in settlement faded. Kinsey continues
     Next, in terms of the volume of documents, we re-          asseverating that he placed a version of this draft, into a
main uncertain as to the overall size of the document           manila folder marked "Versions Of The Letter," that con-
production, but we know that the Privilege Logs list ap-        tained copies of the August 31, 2005 Letter, some of
proximately 200 documents. Considering the nature of            them marked up. It was the manila folder with a way-
this litigation, we presume that a voluminous set of            ward copy of the cable operator letter which was inad-
documents were disclosed, nonetheless, we are now tus-          vertently disclosed therein that was shared with Plain-
sling over just three purportedly privileged documents.         tiffs. It is Kinsey's conviction that this draft letter consti-
In this respect, we further know through Defendants'            tutes work product for the perceptible reason it was
admission that multiple copies of the documents have            meant for settlement purposes only. This draft was also
been forwarded to Plaintiffs, but they also proffer a justi-    presented to Defendant Santiago at her deposition by
fication or an excuse. That justification claims that one       Plaintiffs. Obviously, from the record provided, Santiago
set of documents was sent redacted; then, after a stipula-      could not identify the document and was unaware of its
tion between the parties or a protective order, the previ-      intended purpose, though she could surmise such pur-
ous production was sent again, this time unredacted. Yet,       pose after reading it during the deposition.
not all productions are accounted for by this explanation
because the Court counted, at least, three different sets           This Court accepts Kinsey's affirmation that: (1) he
for the same documents. Nonetheless, if this is the case,       is the author; (2) the intended purpose of the [*54] letter
the dispute over three documents may minimize the no-           was to facilitate settlement; (3) although not employing
                                                                the words confidential, the draft was placed in a folder in
                                                                such a way that it was meant to be considered confiden-

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tial and not revealed to his adversary; and (4) Santiago                       n14 [HN30] Qualified immunity will shield
had not seen the document before. Knowing that Kinsey                     ''government officials from liability for civil
is an attorney, we find that the draft letter contains im-                damages when their conduct does not violate
pressions and strategies of this lawyer, and, therefore,                  'clearly established statutory or constitutional
work product, which did not lose its cloak of protection                  rights of which a reasonable person would have
solely because the matter may have been discussed with                    known."' African Trade & Info. Ctr., Inc. v. Ab-
his clients. Further, we find, as to this draft, that the dis-            romaitis, 294 F.3d 355. 359 (2d Cir. 2002) (quot-
closure was not made voluntarily and weighing the four                    ing Harlow v. Fitzgerald, 457 U.S. 800. 818. 102
factors, the equities tilt in favor of Defendants, primarily              S. Ct. 2727. 73 L. Ed. 2d 396 (1982)); see also
because of the element of overarching fairness; the                       Mollica v. Volker, 229 F.3d 366. 370 (2d Cir.
document was not carelessly disclosed.                                    29000). This also applies "insofar as it was objec-
                                                                          tively reasonable for [the government officials] to
      Plaintiffs are grasping at straws by postulating that
                                                                          believe that their acts did not violate those
the document has been placed at issue through the De-
                                                                          rights." AMollica, 229 F.3d at 370 (internal quota-
fendants' assertion of the qualified immunity defense. No
                                                                          tion marks and citations omitted); see also
interpretation of the circumstances support such reason-
                                                                          Anderson v. Creiz~hton. 483 U.S. 635. 641. 107 S.
ing. First, neither the document itself nor any notation
                                                                          Ct. 31034. 97 L. Ed. 2d 523 (1987). The objec-
thereon mentions any qualified immunity defense n14
                                                                          tively reasonable test will be met "'if [officials] of
and the content of the draft is not a contention at issue.
                                                                          reasonable competence could disagree' on the le-
Second, this is a draft intended [*55] solely for the pur-
                                                                          gality of the defendant's actions." Lennon v
pose of settlement, which ostensibly is legal strategy, and
                                                                          Miller. 66 F.3d 416, 420 (2d Cir. 1995) (quoting
it had not been presented in any pleading or motion to a
                                                                          Malley v. Bri~rjzs. 475 U.S. 335. 341. 106 S. Ct.
court. This proposed prophylactic remedy has not been
                                                                           1092. 89 L. Ed. 2d 271 (1986) (further citation
placed in issue. Thus, it has not be interjected into this
                                                                          omitted)). In order for the constitutional right to
litigation in such a matter that it places itself, under the
                                                                          be clearly established, three elements must be
Fairness Doctrine, diametrically opposite to the Defen-
                                                                          met: "1) . .. [that] the right in question [be] de-
dants' stated defense of qualified immunity. Third, P lain-
                                                                          fined with reasonable specificity; 2) [that] the de-
tiffs extrapolate that the content of Sorenson's email,
                                                                          cisional law of the Supreme Court and applicable
dated September 7, 2005, see infra Part II.B.2, is an ad-
                                                                          circuit court support the existence of the right in
mission relevant to Defendants' claim of qualified immu-
                                                                          question; and 3) [that] under preexisting law a
nity. Defendant Sorensen's role and purported admis-
                                                                          reasonable defendant official would have under-
sions, if any, are not pertinent to this inquiry. Fourth,
                                                                           stood that his or her acts were unlawful." Millica,
Plaintiffs presented the draft to Santiago at her deposi-
                                                                          229 F.3d at 371 (internal quotation marks and ci-
tion, which she acknowledged that she had not seen be-
                                                                          tations omitted) (alterations in original).
fore. Sorensen's and Santigao's purported role is totally
 irrelevant to this critique. Such disclaimer and lack of         [*57]
recognition by either of them does not amount, under any
reasonable view, a waiver, of any sort, of the privilege.            2. Jon Sorenson's Email, dated September 7, 2005
And, fifth, the assertion that the "draft letter at issue
                                                                      Applying the flexible balancing test to this docu-
raises questions of whether at least someone at the CPB,
                                                                 ment militates against Defendants' protestation that this
perhaps its counsel, held the view that the August 31,
                                                                 confidential document was not waived, except for the
2005 letter, [*56] [the heart of this litigation] was po-
                                                                 overwhelmingly conspicuous nature of the email. With-
tentially coercive and violative of Mr. Trudeau's First
                                                                 out question, this email is a review of Judge Sharpe's
Amendment rights," is untenable in light of the facts and
                                                                 ruling and a legal strategy discussion between CPB's
 circumstances shared with the Court. Because this draft
                                                                 managers and their interagency counsel, Lisa Harris. A
 letter was contemplated in terms of settlement, its rele-
                                                                 plain reading of this document transmits but only one
vance at trial, or even as it may pertain to the qualified
                                                                 interpretation -- that it is either an attorney-client or de-
 immunity defense, is dubious at best. Settlement matters
                                                                 liberative process discussion, the absence of an attorney-
 are not interposed at trial. In the total scheme of events,
                                                                 client privileged notation thereon notwithstanding.
 Defendants have not wielded this document as both a
                                                                 Export-import Bank of United States v. Asia Pulp & Pa-
 shield and a sword. In sum, we find that this document is
                                                                 per Co., Ltd, 232 F.R.D. 103, 112 (S.D.N.Y. 2005). In
work product, the work product doctrine has not been
waived, and the document should be returned to Defen-            our view, Plaintiffs had, or should have, realized its
                                                                 transparent nature, and immediately held the document
 dants. See supra Parts II.B.2 & 4.b.
                                                                 as confidential for further discussion with Defendants
                                                                 before taking full advantage of the disclosure misadven-


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ture. niS And, yet, the fulcrum of this balancing test                 Before we move on to the next document, we are re-
leans heavily in favor of a waiver because of the extreme        quired to make the following observations as to this
carelessness on the part of the Defendants. There are four       email.     First,   this email       is a      legal   strat-
iterations of this documents disclosed [*58] to Plaintiffs,      egy/settlementldeliberative process document, which has
with only one being served pursuant to a protective or-          no relevance, or even admissibility at trial. We do not
der. We find that Defendants did not employ reasonable           find persuasive Plaintiffs' perspective that this document
precaution in this situation, the volume of documents            constitutes an at issue waiver. It does not and, in essence,
does not provide sufficient cover for Defendants' error,         it is of nominal legal value. Plaintiffs' utilization of the
and Defendants' reaction to the fortuitous disclosure evi-       document has already visited prejudice to the Defen-
dently was not prompt enough, since the proverbial cat is        dants, which cannot be retracted, however, there is little
out of the bag, and the damage has been done. See supra          fear that our ruling finding a waiver will generate further
note 15; see also Part II.B.3.a. These facts and the rea-        injury to them. See supra note 15.
sonable inferences lead to only one conclusion, that is,
                                                                      3. August 30, 2005 Letter
this document's confidentiality is waived. Atronic Int'l,
I3MBH v. SAI Semisspecialists. 232 F.R.D. 160. 161                    This Letter, addressed to Roger Kinsey, was drafted
 (E.D.N.Y. 2005) (finding that two emails, although privi-       with Defendant Santiago's initials over the signature line.
leged, were, nonetheless, waived due to inadvertent and          We are uncertain whether such correspondence was ever
careless disclosure).                                            forwarded to Kinsey. The apparent nature of the docu-
                                                                 ment is similarly vague. Deliberating solely upon the
                                                                 content set forth within the four corners of this docu-
              niS The virtual horse has already left the         ment, it is not manifested therein that this document
         barn tolling improbable consequences upon the           qualifies as an attorney-client privileged document.
         Defendants. Plaintiffs abruptly and shrewdly            Weighing the criteria used to determine if a communica-
         shared this email, a document received in discov-       tion is truly an attorney-client document, [*60] we find
         ery, openly and notoriously with cable operators        that it does not. United States v. International Bhd of
         knowing fuill well that this is an internal agency      Teamsters. 119 F.3 d 210. 214 (2d Cir. 1997).
         discussion between agency heads and counsel. In
                                                                      This document does not seek any "fully informed"
         the caption, immediately following Lisa Harris'
                                                                 legal advice. Rather, the document foretells CPB's then
         name, is the nomenclature "counsel" ("Lisa Har-
                                                                 future action, and thus Santiago, the client, is merely
         ris/COUNSEL/NYSCPB"). It is unfathomable
                                                                 stating facts. Stating facts to an attorney does not deserve
         that Plaintiffs could not have perceived that this
                                                                 confidentiality. See supra Part II.B.2. There is no indicia
         was not possibly a privileged document. There is
                                                                 which would indicate that this correspondence is being
         no plausible reason why they could not have
                                                                 made in confidence. As we all know, not every corre-
         waited until they confirmed or refuted the privi-
                                                                 spondence forwarded to an attorney from her clients is
         leged character of the email before sharing it with
                                                                 cloaked with the privilege. Id. Based upon these findings
         the world. The rush to judgment, without inquiry
                                                                 alone, we declare that this document is not entitled to the
         of the Defendants, to create favorable inclinations
                                                                 attorney-client privilege, which finding obviates the need
         with the cable companies and take advantage of
                                                                 for us to ponder whether the privilege was waived.
         this inadvertence, was in violation of the spirit of
                                                                 Therefore, we find that this document need not be re-
         ABA Formal Opinion 05-437 and, in this Court's
                                                                 turned to Defendants. Id.
         view, rather unctuous practice. Rather than wait
         and determine the nature and aim of this email,              III. CONCLUSION
         Plaintiffs thrusted this email into the public do-
                                                                      Accordingly, it is hereby
         main, solely for the purpose of gaining sway over
         these cable operators. In their zeal, they identified         ORDERED, that Defendants' Application for Plain-
         one of the Defendants as the author, probably in        tiff Trudeau's tax return is denied, at this time, however,
         order to heighten its value. There should be some       Trudeau shall provide to the Defendants a net worth
         type of rejoinder to Plaintiffs' tactical move. They    statement listing assets and liabilities, and gross and net
         may not be subject to sanctions, since ABA For-         income for the years 2003 to 2005; and [*61] it is fur-
         mal Opinions are solely guidance, but neither can       ther
         this act be countenanced. An admonishment, al-
         beit through a footnote, is fitting.                        ORDERED, that Defendants' Application for all in-
                                                                 formation pertaining to the charitable foundation is de-
 [*59]                                                           nied, however, Trudeau shall disclose the extent of his
                                                                 contribution into this foundation and the nature of its
                                                                 primary source. In the event Trudeau does not make any

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contribution to this foundation, he shall so advise the        10, 2006, with [*621 Attachments, and Roger Kinsey,
Defendants; and it is further                                  Esq., Affirmation, dated May 10, 2006, with Attach-
                                                               ments; and it is further
      ORDERED, that Defendants' Application for
documents related to the Trudeau v Jordan Whitney                   ORDERED, that the Clerk of the Court shall enter
litigation is granted; and it is further                       on the case docket Defendants' Letter-Brief, dated March
                                                               29, 2006, and Plaintiffs' Letter-Brief, dated April 12,
    ORDERED, that Defendants shall provide Plaintiffs
                                                               2006; and it is further
with a new privilege log consistent with this Memoran-
dum-Decision and Order; and it is further                           ORDERED, that all mandates herein shall be com-
                                                               plied with within thirty (30) days of the date of this Or-
     ORDERED, that, based upon the Court's finding
                                                               der.
that the cable operator letter is privileged and said privi-
lege was not waived, Plaintiffs shall return to the Defen-         IT IS SO ORDERED.
dants the cable operator letter; and it is further
                                                               Albany, New York
     ORDERED, that Plaintiffs do not have to return the
Sorenson email and the August 30, 2005 letter; and it is
                                                               July 21, 2006
further
                                                                   RANDOLPH F. TREECE
    ORDERED, that the Clerk of the Court shall file
under seal Plaintiffs' Letter-Brief, dated April 27, 2006,         United States Magistrate Judge
with Attachments, Defendants' Letter-Brief, dated May




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                                                        LEXSEE

                 CHARLOTTE C. WEBER, Plaintiff, -against- DANIEL PADUANO; NANCY
                PADUANO; 19 EAST 72ND STREET CORP.; and BROWN HARRIS STEVENS
                          RESIDENTIAL MANAGEMENT, LLC, Defendants.

                                                  02 Civ. 3392 (GEL)

                 UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
                                         NEW YORK

                                                 2003 U.S. Di1st. LEXIS 858

                                               January 14, 2003, Decided
                                                January 22, 2003, Filed

SUBSEQUENT         HISTORY: Summary judgment                  due hardship if denied access. The documents concerned
granted by, Claim dismissed by Weber v. Paduano. 2003         facts that were at the heart of her case, since she alleged
U.S. Dist. LEXIS 21288 (S.D.N.Y., Nov. 20, 2003)              that the fire was the result of the defendants' collective
                                                              negligence.
DISPOSITION: [*I] Plaintiffs motion to compel pro-
duction of discovery documents granted in part and de-        OUTCOME: The motion to compel production was
nied in part.                                                 granted with respect to the majority of the documents.

CASE SUMMARY:                                                 CORE TERMS: work product, log, insurer, anticipation
                                                              of litigation, attorney-client, subpoena, subrogation,
                                                              third-party, first-party, discovery, investigative, withheld,
PROCEDURAL POSTURE: In an action to recover                   insured, work product doctrine, lawsuit, privileged, li-
damages arising from an apartment fire, plaintiff resident    ability insurance, documents relating, undue hardship,
moved to compel production of certain documents de-           correspondence, preparation, course of business, pro-
fendants withheld as protected by the work product doc-       gress, authored, prepare, pertain, third parties, law firm,
trine or attorney-client privilege. Defendants were the       investigate, apartment
building's owner, a management company, and two resi-
dents of the apartment where the fire occurred.               LexisNexis(R) Headnotes

OVERVIEW: Plaintiff resident sought the production of
a number of investigative reports and claim file docu-
ments compiled during the course of the insurance inves-      Civil Procedure > Discovery > Methods > General
tigation of the fire, performed on behalf of the two resi-    Overview
dential defendants, and also documents created in con-        Civil Procedure > Discovery > Privileged Matters >
nection with the insurance policies of the owner and          General Overview
management company. She also sought an order compel-          Civil Procedure > Discovery > Relevance
 ling various third parties to comply with subpoenas. The     [HNI] The Federal Rules of Civil Procedure provide for
parties opposing production, on whom the burden of            broad discovery. As an initial matter, parties may obtain
proof as to privilege rested, were required to demonstrate    discovery regarding any matter, not privileged, that is
by specific and competent evidence that the documents         relevant to the claim or defense of any party. Fed. R. Civ.
were created in anticipation of litigation. The court found   P. 26(b)(1). At the same time, however, the Rules en-
 in favor of plaintiff resident as to the majority of the     deavor to preserve a zone of privacy in which lawyers,
documents because it was not shown that the work prod-        insurers, and other representatives of litigants may de-
uct doctrine applied. Even if the withheld documents          velop legal theories and strategies uninhibited by the
were work product, plaintiff resident would have been         possibility that an adversary may become privy to the
entitled to almost all of the documents because she had       resulting documents, by protecting certain work product
 substantial need for them, and would have suffered un-       prepared for the litigation.


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                                                               whether the documents were created during an investiga-
                                                               tion pursuant to a third-party policy, the very nature of
Civil Procedure > Discovery > Methods > Requests for           which is anticipating litigation, or pursuant to a first-
Production & Inspection                                        party policy, since a first-party insurer must anticipate
Civil Procedure > Discovery > Privileged Matters >             that the denial of a claim may lead to a lawsuit. Thus,
Work Product > General Overview                                courts presented with work product disputes in the insur-
[1HN2] See Fed. R. Civ. P 26(b)(3).                            ance context must be careful not to hold that documents
                                                               are protected from discovery simply because of a party's
                                                               ritualistic incantation that all documents created by in-
Civil Procedure > Discovery > Methods > Requests for           surers are made in preparation for litigation, and mindful
Production & Inspection                                        of the fact that insurer-authored documents are more
Civil Procedure > Discovery > Privileged Matters >             likely than attorney-authored documents to have been
Work Product > Scope                                           prepared in the ordinary course of business, rather than
[TiN3] The work product doctrine does not constitute a         for litigation purposes.
true privilege, as it affords only qualified protection to
the materials within its scope, allowing discovery of the
documents if the party seeking production can establish        Antitrust & Trade Law > Exemptions & Immunities >
substantial need and undue hardship.                           Professional Sports > Sports Broadcasting Act
                                                               Evidence > Privileges > General Overview
                                                               Evidence > Procedural Considerations > Objections &
Civil Procedure > Federal & State Interrelationships >         Offers of Proof > Timeliness
Erie Doctrine                                                  [HN7] In the insurance context, it is particularly impor-
Civil Procedure > Discovery > Privileged Matters >             tant that the party opposing production of the documents,
Work Product > General Overview                                on whom the burden of proof as to privilege rests, dem-
[HN4] While state law generally provides the rules of          onstrate by specific and competent evidence that the
decision for questions of privilege in diversity actions,      documents were created in anticipation of litigation. A
federal law governs the applicability of the work product      party withholding insurance documents may not rest on
doctrine in all actions in federal court.                      conclusory allegations of privilege, but must establish,
                                                               by objective evidence, that the author of the document
                                                               anticipated litigation at the time that the document was
Civil Procedure > Discovery > Privileged Matters >             created, and would not have created the document in
 Work Product > General Overview                               essentially the same way had the prospect of litigation
 [FIN5] In order to be protected as work product, the ma-      not existed.
terials must be (1) documents or tangible things, (2) that
were prepared in anticipation of litigation, and (3) were
prepared by or for a party, or by or for his representative.   Civil Procedure > Discovery > Privileged Matters >
Documents prepared in anticipation of litigation are           Work Product > General Overview
those that, in light of the nature of the document and the     [HN8] The work product doctrine most strongly protects
factual situation in the particular case can fairly be said    the mental processes of the attorney, providing a privi-
to have been prepared or obtained because of the pros-         leged area within which he can analyze and prepare his
pect of litigation. Thus, documents that were prepared in      client's case.
the ordinary course of business or that would have been
created in essentially similar form irrespective of the
litigation are not protected by the work product doctrine.     Civil Procedure > Discovery > Methods > Requests for
                                                               Production & Inspection
                                                               Civil Procedure > Discovery > Privileged Matters >
Civil Procedure > Discovery > Privileged Matters >             Work Product > General Overview
 Work Product> General Overview                                [HN9I Where the documents at issue consist of factual
[HN6] The determination as to whether materials are            materials and analyses of facts, the policy of the Federal
protected under this definition is necessarily fact-           Rules of Civil Procedure of liberal discovery weighs
specific. This is even more true where the documents in        more heavily in favor of allowing discovery, since pro-
question were created by or for an insurance company in        duction of the documents is less likely to inhibit a party's
the course of its investigation, since the very business of    preparation for litigation.
the producing party is to evaluate claims that may ulti-
mately ripen into litigation. This is equally the case


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Civil Procedure > Discovery > Privileged Matters >              Civil Procedure > Discovery > Privileged Matters >
Work Product > Scope                                            Work Product > General Overview
[FNIN1] Because automatically granting protection to all        [FIN14] The institution of a lawsuit does not relieve the
documents prepared by liability insurers would contra-          party opposing production of its burden of demonstrating
vene the United States Court of Appeals for the Second          that the documents would not have been prepared but for
Circuit's holding that courts should avoid protecting           the litigation.
documents created in the ordinary course of business--a
directive that requires carefuil delineation of the scope of
protection on a case-by-case basis--the courts in the           Civil Procedure > Discovery > Privileged Matters >
Southern District of New York that have considered               Work Product > General Overview
work product protection in the context of liability insur-      [IN 15] Blanket assertions of work product protection as
ance documents have declined to follow any per se rule.         to entire files, rather than specific documents, are never
                                                                sufficient to prevent discovery, since the party opposing
                                                                discovery must establish that each document is work
Civil Procedure > Discovery > Privileged Matters >              product.
Work Product > General Overview
[NINI1] The assumption that a liability insurer antici-
pates that a lawsuit will result from every accident in         Civil Procedure > Discovery > Privileged Matters >
which its insureds are involved fails to take into account       Work Product > General Overview
the possibility that the insurer will decide to avoid litiga-   Insurance Law > Claims & Contracts > Subrogation >
tion by paying the third-party claim. Consequently, the         General Overview
liability insurer's documents, like those authored by car-      [FINi6] An insurer's retaining a law firm and having it
riers of other types of insurance, may be protected from        conduct its own investigation of a claim is a significant
discovery only if they were prepared in fuirtherance of a       factor in determining when the insurer anticipates litiga-
sufficiently identifiable resolve to litigate. That resolve     tion, but is not determinative. On the other hand, an in-
may be particularly difficult to identify in the liability      surer does not have an identifiable resolve to litigate until
insurance context, but the difficulty of determining the        it has made a decision regarding subrogation. Until that
insurer's intentions does not relieve a parties of their bur-   point, an investigation into the potential for subrogation
den of demonstrating, by specific evidence, that each           is simply part of an insurer's ordinary practice of investi-
document was prepared in anticipation of litigation.            gating all issues arising from an accident involving its
                                                                insureds, and documents created as part of this process
                                                                would have been created in the same form regardless of
Civil Procedure > Discovery > Privileged Matters >              the insurer's eventual decision as to litigation.
Work Product > General Overview
Insurance Law > Claims & Contracts > Notice to In-
surers > General Overview                                       Civil Procedure > Discovery > Privileged Matters >
[TIN 12] The point at which an insurance company begins         Work Product > General Overview
to prepare for litigation can often be determined by using      [IN 17] Documents created immediately after the occur-
the insurer's documented course of action to reconstruct        rence of an accident that may give rise to an insurance
its deliberative process. While the actions that an insur-      claim are almost always created as part of the insurance
ance company takes immediately after being notified of a        company's normal practice of investigating claims.
potential claim are almost always part of its ordinary
business of claim investigation, at a certain point its ac-
tivity shifts from the ordinary course of business to an-       Civil Procedure > Federal & State Interrelationships >
tic ipation of litigation.                                      Erie Doctrine
                                                                Evidence > Privileges > Attorney-Client Privilege >
                                                                Elements
Civil Procedure > Discovery > Privileged Matters >              Legal Ethics > Professional Conduct > Opposing
Work Product > General Overview                                 Counsel & Parties
[IN 13] Investigations into the causes and effects of an        [FINI 8] In federal diversity actions in New York federal
accident, undertaken soon after the event itself, are gen-      courts, issues of attorney-client privilege are governed by
erally considered part of an insurance company's ordi-          New York law. Under New York law, the attorney-client
nary course of business.                                        privilege protects confidential communications made
                                                                between the attorney or his employee and the client in
                                                                the course of professional employment, N.Y. C.P.L.R.


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4503(a) (2002), and the party asserting the privilege         Evidence > Privileges > General Overview
bears the burden of establishing the elements of the privi-   [HN24] When faced with claims of privilege, courts of-
lege. When the communication at issue originated with         ten undertake in camera review in order to supplement
the attorney rather than the client, the party opposing       the parties' privilege logs and determine the content of
production must establish that the communication was          the documents. However, in camera review of the docu-
made for the purpose of facilitating the rendition of legal   ments, while potentially helpful to the determination of
advice or services, and that it is predominantly of a legal   privilege, is not to be routinely undertaken as a substitute
character, consisting of more than facts known to third       for a party's submission of an adequate record for its
parties.                                                      privilege claims, especially where the court would have
                                                              to examine a large quantity of documents.

Civil Procedure > Discovery > Privileged Matters >
General Overview                                              Civil Procedure > Discovery > Privileged Matters >
[HIN19] Where the document is predominantly legal in          Work Product > General Overview
character, the fact that it may contain nonprivileged in-     [HN25] A substantial need for work product materials
formation does not destroy its immunity.                      exists where the information sought is crucial to the de-
                                                              termination of whether the defendant could be held liable
                                                              for the acts alleged, or carries great probative value on
Civil Procedure > Discovery > Privileged Matters >            contested issues.
General Overview
[11N201 Information received by the attorney from other       COUNSEL: John Linsenmneyer, (LisaAnne Rega Bic-
persons and sources while acting on behalf of a client        cochi, on the brief), Morgan, Lewis & Bockius LLP,
does not come within the attorney-client privilege.           New York, NY, for Plaintiff.

                                                              Monroe Weiss, (Lawrence Lambert, on the brief), Lam-
Civil Procedure > Discovery > Privileged Matters >            bert & Weiss, New York, NY, for Daniel Paduano and
 Work Product > General Overview                              Nancy Paduano, Defendants.
[HN2 1] Under certain circumstances, the failure to pro-
vide a privilege log can result in a waiver of privilege as   Bennett R. Katz, (Allison A. Snyder, on the brief),
to the documents that have not been produced. While a         Ohrenstein & Brown, LLP, New York, NY, for 19 East
party is obligated to provide a privilege log for those       72nd Street Corp. and Brown Harris Stevens Residential
documents within its control, however, it does not have       Management, LLC, Defendants.
to log those documents that it does not have the power to
produce itself, since it cannot be compelled to produce       JUDGES: GERARD E. LYNCH, United States District
them.                                                         Judge.

                                                              OPINION BY: GERARD E. LYNCH
Civil Procedure > Discovery > Privileged Matters >
Work Product > General Overview                               OPINION:
[HN22] The mental impressions at the core of the work
product doctrine are those involving the progress of, and         OPINION AND ORDER
preparation for, the litigation, not the mental impressions
of an examiner conducting the insurer's ordinary business     GERARD E. LYNCH, District Judge:
of valuing claims.                                                 In this action to recover damages arising from an
                                                              apartment fire, plaintiff Charlotte Weber ("plaintiff' or
                                                              "Weber") has moved to compel the production of certain
Civil Procedure > Discovery > Privileged Matters >            documents that the defendants have withheld as pro-
Work Product > Scope                                          tected by the work product doctrine or attorney-client
[HN23] The United States Court of Appeals for the Sec-        privilege. Plaintiff seeks the production of a number of
ond Circuit does not distinguish between first-and third-     investigative reports and claim file documents compiled
party insurance for purposes of work product protection.      during the course of the insurance investigation of the
                                                              fire, performed on behalf of defendants Daniel and
                                                              Nancy Paduano (collectively, the "Paduano defendants"),
Civil Procedure > Discovery > Privileged Matters >            [*2] and also documents and correspondence created in
General Overview                                              connection with the insurance policies of defendants 19


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East 72nd Street Corporation and Brown Harris Stevens          P.M.R. and the two reports written by P.S.I. in the Pa-
Residential Management, LLC (collectively, the "build-         duanos' liability claim file, and apparently gave copies to
ing defendants"). Plaintiff also seeks an order compelling     the Paduanos. (Id. at 4.) The Paduano defendants contend
various third parties to comply with subpoenas seeking         that these documents were created in anticipation of liti-
the production of documents related to the insurance           gation, and are protected as work product under Fed. R.
investigations. For the reasons discussed below, plain-        Civ. P. 26(b)(3). These three documents make up the
tiffs motion will be granted with respect to the majority      entirety of a privilege log produced by the Paduano de-
of the documents.                                              fendants in response to plaintiffs request for documents
                                                               pertaining to the fire (the "Paduano Liability File Privi-
    BACKGROUND                                                 lege Log 1"), attached as Exhibit 1 to the Affidavit of
      On March 19, 2001, a fire occurred in the Paduano        LisaAnne Rega Biccochi.
defendants' apartment, which was located directly below             The Paduano defendants also assert work [*5]
plaintiffs apartment. As a result, plaintiffs apartment
                                                               product protection as to several other documents in the
and possessions were severely damaged, and she sus-            liability claim file that Chubb maintains for them, which
tained losses allegedly totaling $ 750,000. (Compl. P 27.)     are listed on another privilege log, attached as Exhibit K
On May 2, 2002, plaintiff filed this action against the        to the Affidavit of Lawrence Lambert (the "Paduano Li-
Paduanos, as well as 19 East 72nd Street Corporation
                                                               ability File Privilege Log 2"). These documents, unlike
and Brown Harris Stevens Residential Management (re-           the three investigative reports, are not in the Paduano
spectively, the apartment building's owner and managing
                                                               defendants' possession, but have remained in Chubb's
agent). (Pi. Mem. at 1.) She alleges that all four defen-      liability file. Plaintiff seeks production of these docu-
dants were negligent in allowing the fire to occur, and        ments through a third-party subpoena served on Chubb.
that the Paduano defendants breached the terms of their        The documents fall into two categories: (1) eighteen li-
lease by refusing [*3] to indemnify her for her losses.        ability claim files representing claims against the Pa-
(Compl. PP 18-56.) In discovery, plaintiff sought from         duanos made by other residents of the apartment building
the defendants all documents relating to the fire, the re-     as a result of the fire; and (2) the notes of Chubb's liabil-
sulting damages, and the investigations undertaken by          ity claims adjuster, Keegan Lee, who was in charge of
the insurance companies. (Biccochi Aff. P 3.) The defen-       the Paduanos' file, and related correspondence about the
dants have withheld many of these documents, asserting         Paduanos' coverage. (Lambert Aff. P 21.) The Paduano
that they constitute work product created in anticipation      defendants assert work product protection as to all of
of litigation or materials protected by attorney-client        these documents. (Id. Ex. K.)
privilege. Plaintiff subsequently served third-party sub-
poenas on the Paduano defendants' insurer and the inves-             Weber also seeks several documents relating to the
tigators who investigated the fire on the insurers' behalf,    fire that are maintained in Chubb's first-party claim file
seeking any reports and other documents generated in the       on the Paduanos. In connection with the Paduanos' first-
course of investigation and claims evaluation. (Paduano        party insurance coverage, Chubb retained the law firm
Defs. Mem. at 4-5.) The Paduano defendants objected to         [*6] Cozen and O'Connor on March 20, 2001, to "pursue
the subpoenas insofar as compliance would require the          [its] subrogation interests" and conduct an investigation.
production of protected materials. (Id. at 5.) Both sets of    (Paduano Defs. Mem. at 3; Lambert Aff. Ex. D.) Cozen
defendants have described the documents for which they         and O'Connor then hired Affiliated Engineering Labora-
assert work product protection or attorney-client privi-       tories, Inc. to investigate the fire. (Paduano Defs. Mem.
 lege in a series of privilege logs, discussed in detail be-   at 3.) These investigations resulted in correspondence
 low.                                                          between Cozen and O'Connor, Chubb, Affiliated, and
                                                               P.M.R., dated between March and June of 2001, all of
     Immediately after the fire, the defendants' insurers      which was placed into Chubb's first-party file on the Pa-
began investigating the causes and extent of the fire,         duanos. (Biccochi Aff. Ex. 2.) These documents are not
generating the reports and claim documents [*4] that           in the Paduanos' possession, but Chubb has withheld
plaintiff now seeks. The Paduanos are insured by Great         them at the Paduano defendants' request. The Paduanos
Northern Insurance Company, a division of Chubb                have asserted work product protection, and where appli-
Group of Insurance Companies ("Chubb"), and their pol-         cable, attorney-client privilege, as to these documents in
icy includes both first-party loss and third-party liability   a third privilege log (the "Paduano First-Party Privilege
coverage. (Id. at 1-2.) The day after the fire, Chubb re-      Log"), attached as Exhibit 2 to the Biccochi Affidavit.
tained P.M.R. Consultants ("P.M.R.") to conduct an in-         Plaintiff challenges the assertion of both privileges.
vestigation into the fire. (Id. at 3.) Several months later,
on August 15, Chubb retained Public Investigation Ser-             The building defendants have also withheld a num-
vice, Inc. ("P.S.I.") to conduct additional investigations.    ber of documents as work product, but produced a privi-
(Id.) Chubb placed the investigative report created by         lege log only after being ordered to do so by the Court on


                                                                                                                     Page 5
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October 11, 2002. The building defendants have a third-         tamn work product prepared for the litigation. United
party liability policy through OneBeacon Insurance [*7]         States v. Adlman. 134 F.3d 1194. 1196 (2d Cir. 1998).
(administered by Crawford & Co. Inc. and Vanderbilt             Fed. R. Civ. P 26(b)(3) provides that
Properties), and a first-party policy through Travelers
Insurance Company, and their privilege log includes
documents created pursuant to both policies. (Katz Af-
                                                                        [HN2] a party may obtain discovery of
firm. P 5.) The documents listed in the privilege log (the
                                                                       documents and tangible things otherwise
"Building Defendants' Privilege Log"), attached as Ex-
                                                                       discoverable ... and prepared in anticipa-
hibit 3 to the Biccochi Affidavit, are mostly notes and
                                                                       tion of litigation or for trial by or for that
correspondence between the two insurers regarding the
                                                                       other party's representative ... only upon a
interpretation of the policies and the evaluation of the
                                                                       showing that the party seeking discovery
damage to the Paduanos' apartment, created between
                                                                       has substantial need of the materials in the
March 20, 2001, and September 2002, four months after
                                                                       preparation of the party's case and that the
the litigation began. (Biccochi Aff. Ex. 3.) The building
                                                                       party is unable without undue hardship to
defendants have subsequently produced to plaintiff some
                                                                       obtain the substantial equivalent of the
of the documents listed on the log, but plaintiff chal-
                                                                       materials by other means.
lenges the assertion of work product protection as to the
remaining documents. nI
                                                                Thus, [1HN3] the work product doctrine does not consti-
                                                                tute a true privilege, as it affords only qualified protec-
              ni Plaintiff does not seek the documents
                                                                tion to the materials within its scope, allowing discovery
         numbered 6, 9, 10, and I11, which the building de-
                                                                of the documents if the party seeking production can
         fendants have withheld not as work product, but
                                                                establish substantial need and undue hardship. Mount
         as protected by attorney-client privilege. Plaintiff
                                                                Vernon Fire Ins. Co. v. Try 3 Bldg. Servs., 1998 U.S.
         does not challenge the assertion of attorney-client
                                                                Dist. LEXIS 161.83, No. 96 Civ. 5590 (MJL) 1.998 WL
         privilege as to these documents. (Biccochi Aff.
                                                                7275 at *4 (5S.D.N.Y Oct. 16, 1998); 8 Charles Alan
         Ex. 3; PI. Mem. at 5.)
                                                                Wright et al., Federal Practice and Procedure § 2022, at
 [*8]                                                           324 (2d ed. 1994).
                                                                      [HN4] While state law generally provides the rules
     Plaintiff has served third-party subpoenas on Affili-
                                                                of [*10] decision for questions of privilege in diversity
ated and P.M.R., in addition to Chubb, seeking all docu-
                                                                actions, "federal law governs the applicability of the
ments relating to the fire (PI. Mem. at 2), presumably
                                                                work product doctrine in all actions in federal court."
attempting to obtain the documents that defendants had
                                                                Mount Vernon, 1998 U.S. Dist. LEXIS 16183. 1998 WL
refused to produce. The Paduano defendants objected to
                                                                729735, at *4; see also, e.g., United Coal Companies v.
all three subpoenas, but, as noted above, produced privi-
                                                                Powell Constr.. 839 F.2d 958. 966 (3d Cir. 1998).
lege logs only for the documents in Chubb's possession.
                                                                [HN5] In order to be protected as work product, the ma-
Plaintiff then filed the instant motion to compel defen-
                                                                terials must be (1) documents or tangible things, (2) that
dants to produce virtually all of the documents listed in
                                                                were prepared in anticipation of litigation, and (3) were
their privilege logs, and to obtain a ruling that the third-
                                                                prepared by or for a party, or by or for his representative.
party subpoenas do not require the production of privi-
                                                                Id. Documents prepared in anticipation of litigation are
leged documents. (PI. Mem. at 1.)
                                                                those that, "in light of the nature of the document and the
        DISCUSSION                                              factual situation in the particular case ... can fairly be
                                                                said to have been prepared or obtained because of the
I. Applicable Law                                               prospect of litigation." Adlman. 134 F.3d at 1202 (em-
                                                                phasis in original). Thus, documents that were prepared
        [HNI] The Federal Rules of Civil Procedure pro-         in the ordinary course of business or that "would have
vide for broad discovery. As an initial matter, "parties        been created in essentially similar form irrespective of
may obtain discovery regarding any matter, not privi-           the litigation" are not protected by the work product doc-
leged, that is relevant to the claim or defense of any party
                                                                trine. Id.
   ....Fed. R. Civ. P. 26(b)(1). At the same time, however,
the Rules endeavor to "preserve a zone of privacy" in                 [HN6J The determination as to whether materials
which lawyers, insurers, and other representatives of           are protected under this definition is necessarily fact-
litigants may develop legal theories and strategies unin-       specific. [*11I] This is even more true where, as here,
hibited by the possibility that an adversary may become         the documents in question were created by or for an in-
privy to the resulting [*9] documents, by protecting cer-       surance company in the course of its investigation, since


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"the very business of the producing party is to evaluate               The documents that the Paduano defendants seek to
claims that may ultimately ripen into litigation."                withhold as work product are predominantly analyses of
Arkwright Mutual Ins. Co. v. National Union Fire Ins.             the circumstances surrounding the fire and explanations
Co.,1994 U.S. Dist. LEXIS 17768. No. 90 Civ. 7811                 of the Paduanos' coverage under their policies. The Pa-
(AGS). 1994 WL 698298. at *2 (S.D.N.Y. Dec. 13,                   duano defendants do not assert, in their logs, briefs, or
1994). This is equally the case whether the documents             affidavits, that any of the documents at issue contain the
were created during an investigation pursuant to a third-         mental impressions of their attorneys or Chubb's attor-
party policy, the very nature of which is anticipating liti-      neys (with the exception of those documents for which
gation, or pursuant to a first-party policy, since a first-       they assert the attorney-client privilege), or Chubb's in-
party insurer must anticipate that the denial of a claim          ternal strategy as to how to handle any potential litigation
may lead to a lawsuit. See, e.g., 6 Moore's Federal. Prac-        arising from the fire. Thus, these documents are outside
tice ~ 26.70[c], at 26-214 (3d ed. 1998) (stating that            of the "core" of materials that are most strongly protected
case-by-case approach to liability insurance documents is         by the work product doctrine. In re Leslie Fav Compa-
appropriate). Thus, courts presented with work product            nies. Inc. Securities Litigzation. 161 F.R.D. 274, 279
disputes in the insurance context must be careful not to          (S.D.N.Y. 1995) [*14] (internal citations omitted) (stat-
hold that documents are protected from discovery simply           ing that [HN8] the work product doctrine most strongly
because of a party's "ritualistic incantation" that all           protects "the mental processes of the attorney, providing
documents created by insurers are made in preparation             a privileged area within which he can analyze and pre-
for litigation, and mindfuil of the fact that insurer-            pare his client's case"). [I{N9] Where, as here, the
authored [* 121 documents are more likely than attorney-          documents at issue consist of factual materials and
authored documents to have been prepared in the ordi-             analyses of facts, the Rules' policy of liberal discovery
nary course of business, rather than for litigation pur-          weighs more heavily in favor of allowing discovery,
poses. American Ins. Co. v. Eligot Sales Corp.. 1998               since production of the documents is less likely to inhibit
U.S. Dist. LEXIS 14822. No. 97 Civ. 1327 (RLC)                     a party's preparation for litigation. See Upjohn Co. v.
(NRM). 1998 WL 647206. at *1 (S.D.N.Y. Sept. 21,                   United States. 449 U.S. 383. 398-401. 66 L. Ed. 2d 584.
 1998) (discussing need for limiting principle to avoid            101 S. Ct. 677 (1981).
allowing "virtually the entirety of an insurance com-
                                                                      A. Documents Listed in the Paduano Liability File
pany's files" to be exempt from discovery). Overprotect-
                                                                  Privilege Logs 1 and 2
ing insurance documents would hinder the broad discov-
ery contemplated by the Rules, while doing little to fos-              The Paduano defendants have provided plaintiff
ter uninhibited deliberation concerning insurance claims,         with two separate privilege logs listing different docu-
since insurers have a duty -- as well as business incentive       ments maintained in Chubb's liability file on the Pa-
-- to carefully investigate every potential claim, whether        duanos, asserting that each document is work product.
or not it will likely erupt into litigation. See, e.g., Fine v.   The listed documents include three investigative reports,
Bellefonte Underwriters Ins. Co.. 91 F.R.D. 420. 422              produced between April and August 2001; eighteen li-
 (S.D.N.Y. 198 1)                                                 ability insurance files of third parties; and notes made by
                                                                  the claims adjuster in charge of the Paduanos' file. Be-
      Thus, [HN7] in the insurance context, it is particu-
                                                                  cause the Paduano defendants have provided the Court
larly important that the party opposing production of the
                                                                  with little or no concrete [* 15] evidence as to Chubb's
documents, on whom the burden of proof as to privilege
                                                                  intent or deliberative processes, the Court finds that the
rests, demonstrate by specific and competent evidence
                                                                  defendants have failed to satisfy' their burden with re-
that the documents were created in anticipation of litiga-
                                                                  spect to all of the contested documents.
tion. Harrigan v. Electronic Pre-Press Systems. Inc..
 1992 U.S. Dist. LEXIS 6698, No. 90 Civ. 4081 (MEL),                   As a threshold matter, the Paduano defendants argue
 1992 WL 121438, at *3(S.D.N.Y. May 15, 1992) [*13]               that all documents created in furtherance of a liability
  A party withholding insurance documents may not rest            insurance policy are, as a matter of law, created in an-
on conclusory allegations of privilege, but must estab-           ticipation of litigation. (Paduano Defs. Mem. at 3. 11.)
lish, by objective evidence, that the author of the docu-         The authority cited for this proposition, however, derives
ment anticipated litigation at the time that the document         from state law, which the Paduanos apparently believe
was created, and would not have created the document in           furnishes the rule of decision for work product disputes.
essentially the same way had the prospect of litigation           (Id. at 6.) Under New York law, there is authority that all
not existed. Adlman, 134 F 3 d at 1202.                           documents generated by a liability insurance carrier are
                                                                  considered work product, because "liability insurance
11. The Paduano Defendants' Privilege Logs                        coverage entails the defense and settlement of claims
                                                                  made against the insured by third parties and is in es-
                                                                  sence 'litigation insurance."' Gentile v. Wakeel. 135


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Misc. 2d 301. 514 N.Y.S.2d 878, 878 (Sup. Ct. Oneida             that Chubb began to investigate the causes of the fire one
Co. 1987) (citing Kandel v. Tocher. 22 A.D.2d 513. 256           day after it occurred, hiring P.M.R. that day, and retain-
N.Y.S.2d 898. 900 (1 st Dep't 1965) (Breitel, J.)).              ing P.S.I. in August. (Paduano Defs. Mem. at 3.) These
     As noted above, however, the scope of work product          actions are consistent with an insurer's normal business
protection is determined by federal, not state, [* 16] law.      practice of claims investigation. There is little other ob-
[HN1 0] Because automatically granting protection to all         jective evidence of Chubb's deliberative process as to the
documents prepared by liability insurers would contra-           Paduanos' liability insurance.
vene the Second Circuit's holding in Adlman that courts                With respect to the three investigative reports listed
should avoid protecting documents created in the ordi-           on the Paduano Liability File Privilege Log 1, [HN13]
nary course of business -- a directive that requires careful     investigations into the causes and effects of an accident,
delineation of the scope of protection on a case-by-case         undertaken soon after the event itself, are generally con-
basis -- the courts in this district that have considered        sidered part of an insurance company's ordinary course
work product protection in the context of liability insur-       of business. See, e.g., Insurance Co. of North America,
ance documents have declined to follow any per se rule.          1995 U.S. Dist. LEXIS 15247. 1995 WL 608295. at *1.
See, e.g., Insurance Co. of North America v. M/ V Sa-            Absent any evidence indicating that one or more of the
vannah, 1995 U.S. Dist. LEXIS 15247. No. 94 Civ. 8846            reports was produced after Chubb began to prepare for
(CSH). 1995 WL 608295. at *1 (S.D.N.Y. Oct. 17,                  litigation [*19] rather than in its ordinary business of
1995); American Ins. Co.. 1998 U.S. Dist. LEXIS 14822,           investigating potential insurance claims, none of the
 1998 WL 647206. at * 1. Liability insurance carriers, like      documents can be considered work product. n2
first-party insurers, prepare documents in the ordinary
course of their business -- a business that includes more
than simply preparing for litigation. Liability insurers                        n2 Even under the New York rule cited
promise to pay third-party claims against their insured if                above, it is not clear that work product protection
the insured is liable, and presumably do not litigate to                  would extend to the documents in question. The
avoid paying a third-party claim when their own investi-                  very cases applying a per se rule to liability in-
gations have led them to conclude that the insured is in-                 surers' investigations note that "the rule in cases
deed liable. Thus, [HNI 1] the assumption that a liability                involving insurance coverage with respect to
[*17] insurer anticipates that a lawsuit will result from                 losses such as a fire is very different," and that
every accident in which its insureds are involved fails to                when a fire insurer "retains an expert to investi-
take into account the possibility that the insurer will de-               gate a fire loss, that expert's report will be dis-
cide to avoid litigation by paying the third-party claim.                 coverable unless the carrier can make a showing
Consequently, the liability insurer's documents, like                     that at the time the report was prepared, the in-
those authored by carriers of other types of insurance,                   surer had rejected the insured's claim or had rea-
may be protected from discovery only if they were pre-                    sonable grounds for disclaiming it." Gentile, 514
pared "in furtherance of a sufficiently identifiable resolve              N.Y.S.2d at 878 (citations omitted). Chubb was a
to litigate." Fine, 91 F.R.D. at 423. That resolve may be                 first-party as well as liability insurer of the Pa-
particularly difficult to identify in the liability insurance             duanos, and undertook an immediate investiga-
context, but the difficulty of determining the insurer's                  tion into the causes of the fire. That Chubb chose
intentions does not relieve the Paduano defendants of                     to place the investigative report in the liability
their burden of demonstrating, by specific evidence, that                 claim file is not sufficient evidence, if it is evi-
each document was prepared in anticipation of litigation.                 dence at all, to refute the inference that it investi-
     The Paduano defendants have not proffered suffi-                     gated the fire in the ordinary course of business.
cient evidence to demonstrate that the documents in the                   See Spectrumn Systems Int'l Corp. v. Chemical
privilege logs are work product. [fN 12] The point at                     Bank. 78 N.Y.2d 371. 381. 575 N.Y.S.2d 809.
which an insurance company begins to prepare for litiga-                  581 N.E.2d 1055 (1991) ("A party's own labels
tion can often be determined by using the insurer's                       are obviously not determinative of work prod-
documented course of action to reconstruct its delibera-                  uct.").
tive process. See, e.g., Fine. 91 F.R.D. at 422. While the
                                                                  [*20]
[* 181 actions that an insurance company takes immedi-
ately after being notified of a potential claim are almost            The documents listed in the Paduano Liability File
always part of its ordinary business of claim investiga-         Privilege Log 2 are also not work product. The claims
tion, "at a certain point [its] activity shifts from the ordi-   adjuster's notes and correspondence, dated between
nary course of business to anticipation of litigation." Id.      March 2001 and the present, relate to "liability coverage
Here, the Paduano defendants have proffered evidence             under the policy," "comments regarding claims made by


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third parties," and "fire investigation." (Lambert Aff. Ex.    (Paduano Defs. Mem. at 3, 11.) They have not proffered
K.) These labels do not on their face indicate that the        any evidence to support this claim with respect to the
notes were prepared in anticipation of litigation rather       documents in the first-party file, however, and thus have
than as part of the normal course of investigating the         not satisfied their burden of establishing work product
claim and determining whether the Paduanos would be            protection.
covered under their policy. See Bogan v. Northwestern
                                                                     One day after the fire occurred, Chubb hired the law
Mutual Life Co.. 163 F.R.D. 460. 466 (S.D.N.Y. 1995)
                                                               firm of Cozen and O'Connor to "pursue [its] subrogation
(finding that notations on privilege log contradicted as-
                                                               interests," (id. at 3; Lambert Aff. Ex. D), n3 and the Pa-
sertion that documents were work product). Even those
                                                               duano defendants argue that this establishes that Chubb
notes authored after the filing of this lawsuit are not nec-
                                                               immediately anticipated litigation. (Paduano Defs. Mem.
essarily work product, since [HN 14] the institution of a
                                                               [*23] at 3.) IHN161 An insurer's retaining a law firm
lawsuit does not relieve the party opposing production of
                                                               and having it conduct its own investigation of a claim is
its burden of demonstrating that the documents would
                                                               a "significant factor in determining when the insurer an-
not have been prepared but for the litigation. In re Kidder
                                                               ticipates litigation," but is not determinative. Mount
Peabody Securities Litigation. 168 F.R.D. 459, 467 n.6
                                                               Vernon, 1998 U.S. Dist. LEXIS 16183. 1998 WL
 (S.D.N.Y. 1996). Without any evidence to assist the
Court in drawing [*2 11 the line between business and          729735, at *7; Westhemeco Ltd. v. New Hampshire Ins.
                                                               Co., 82 F.R.D. 702, 708 (S.D.N.Y. 1979). The fact that
litigation, the Court cannot conclude that any of these
                                                               Cozen and O'Connor was hired to investigate the poten-
documents are work product.
                                                               tial for subrogation does suggest that, soon after the fire
     Finally, the eighteen liability claim files kept by       occurred, Chubb was at least considering the possibility
Chubb in its liability file on the Paduanos must also be       that it might be able to sue a third party to recover the
produced. Rather than detailing the substance of each          losses suffered by the Paduanos. On the other hand, an
allegedly protected document within the claim files, the       insurer does not have an "identifiable resolve to litigate,"
Paduanio defendants have simply asserted that each file,       Fine. 91 F.R.D. at 423. until it has made a decision re-
in its entirety, is protected. (Lambert Aff. Ex. K.)           garding subrogation. Until that point, an investigation
[HN 15] Blanket assertions of work product protection as       into the potential for subrogation is simply part of an
to entire files, rather than specific documents, are never     insurer's ordinary practice of investigating all issues aris-
sufficient to prevent discovery, since the party opposing      ing from an accident involving its insureds, and docu-
discovery must establish that each document is work            ments created as part of this process would have been
product. Condon v. Stephan Machinery Corp.. 1990 U.S.          created in the same form regardless of the insurer's even-
Dist. LEXIS 7357. No. 90 Civ. 0283 (PKL). 1990 WL              tual decision as to litigation. American Ins. Co.. 1998
311599, at *2 (S.D.N.Y. June 18, 1990). In addition, the       U.S. Dist. LEXIS 14822. 1998 WL 647206. at *2 [*24]
Paduano defendants have not produced any evidence as           (holding that documents authored after law firm was
to when the documents were created, their contents, and        retained to investigate subrogation, but before subroga-
their part in Chubb's deliberative process. As the Court       tion decision was made, were not created in anticipation
cannot determine whether these files were prepared in          of litigation). Here, Cozen and O'Connor was retained
anticipation of litigation, the Paduano defendants have         immediately after the fire, to conduct an "initial investi-
failed to meet their burden of establishing work product       gation regarding subrogation" (Lambert Aff. Ex. D), in-
protection. Chubb must respond to Weber's third-party          dicating that Chubb had not yet decided to attempt to
subpoena [*22] by producing all of the documents listed         subrogate the Paduanos' losses. Since insurance compa-
on the Paduano Liability File Privilege Log 2.                 nies often hire attorneys as part of the normal claim in-
                                                                vestigation process, before litigation is anticipated and
     B. Documents Listed in the Paduano First-Party
                                                                before a subrogation decision has been made, see, e.g.,
Privilege Log                                                  Fine. 91 F.R.D. at 422-23. the retention of Cozen and
     1. Documents Withheld as Work Product                      O'Connor does not by itself establish that documents
                                                                subsequently created by Chubb, and documents created
      The Paduano defendants have also objected to the          for Cozen and O'Connor by Affiliated, were work prod-
production of a number of documents contained in
                                                                uct.
Chubb's first-party policy file on them, all of which con-
stitute correspondence between Chubb, Cozen and
O'Connor, Affiliated, and P.M.R. The Paduano defen-                          n3 It appears that Cozen and O'Connor was
dants contend that all of this material is privileged work
                                                                       retained only in connection with the Paduanos'
product, as Chubb began to prepare for the possibility of
                                                                       first-party policy, and not in connection with the
a lawsuit in connection with the Paduanos' first-party
                                                                       liability policy, as the Paduano Liability Privilege
coverage as soon as it learned of the fire's occurrence.
                                                                       Logs do not contain any documents generated by


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        Cozen and O'Connor. (Biccochi Aff. Ex. 1; Lam-          nor, for which the Paduano defendants assert attorney-
        bert Aff. Ex. K.)                                       client privilege in addition to work product privilege.
                                                                (Biccochi Aff. Ex. 2.) Plaintiff seeks these documents to
[*25]                                                           the extent that they are related to the investigative re-
                                                                ports. (PI. Mem. at 3 n.1.) Two of the letters are from
      The Paduano defendants have not presented any
                                                                Cozen and O'Connor to Chubb, and one is from Affili-
evidence as to when, or if, Chubb made a decision on
                                                                ated to Cozen and O'Connor. (Biccochi Aff. Ex. 2.) The
subrogation, and so it is impossible to determine whether
                                                                Paduano defendants have satisfied their burden of estab-
any of these documents were prepared in anticipation of
                                                                lishing that the two letters between Cozen and O'Connor
litigation with third parties. Most of the documents per-
                                                                and Chubb are privileged, but have not established that
tain to "investigation of [the] fire," suggesting that they
                                                                the Affiliated letter is a confidential communication.
were created as part of Chubb's customary investigation,
rather than specifically in preparation for any lawsuit.              [HNl18] In federal diversity actions such as this one,
The one letter from Cozen and O'Connor to Chubb                 issues of attorney-client privilege are governed by New
whose subject is described as "subrogation of loss" is          York law. Bank Brussels Lambert v. Credit Lyonnais
dated May 1, 2001, just over a month after the fire.            (Suisse). S.A., 210 F.R.D. 506. 508 (S.D.N.Y. 2002).
Without more information about the contents of the let-         Under New York law, the attorney-client privilege pro-
ter, or affidavits or other evidence regarding when a de-       tects "confidential communication~s made between the
cision as to subrogation was made, the Court cannot con-        attorney or his employee and the client in the course of
clude that the Cozen and O'Connor letter, or any of the         professional employment," N.Y. C.P.L.R. ~ 4503(a)
other documents, was created in furtherance of an identi-       (McKinney [*28] 2002), and the party asserting the
fiable resolve to litigate. American Ins. Co.. 1998 U.S.        privilege bears the burden of establishing the elements of
Dist. LEXIS 14822. 1998 WL 647206. at *2; see also              the privilege. Arkwright Mutual Ins. Co. v. National
Adlmian, 134 F.'3d at 1202.                                     Union Fire Ins.. 1994 U.S. Dist. LEXIS 13216, No. 90
                                                                Civ. 7811 (AGS). 1994 WL 510043. at *4 (S.D.N.Y.
     There are no other objective benchmarks in the in-
                                                                Sept. 16, 1994). When the communication at issue origi-
vestigative process that indicate the point at which
                                                                nated with the attorney rather than the client, the party
Chubb turned its attention to potential litigation. Since
                                                                opposing production must establish that the communica-
Chubb did not deny the [*26] Paduanos' claim (P1.               tion was made "for the purpose of facilitating the rendi-
Mem. at 7), the presumption that the denial of the insur-
                                                                tion of legal advice or services," and that it is "predomi-
eds' claim marks the beginning of litigation preparation        nantly of a legal character," consisting of more than facts
does not apply here. See, e.g., Mount Vernon. 1998 U.S.         known to third parties. Spectrum Systems Int'l Corp. v.
Dist. LEXIS 16183, 1998 WL 729735, at *6 (stating that
                                                                Chemical Bank. 78 N.Y.2d 371. 377-78. 575 N.Y.S.2d
some courts presume that denial of a claim marks the
                                                                809, 581 N.E.2d 1055 (1991) (internal citations omitted).
point at which litigation is anticipated, and listing cases).
In addition, all of the documents listed on the privilege            Document III is a letter from Cozen and O'Connor to
log were created well before this litigation began, be-         Chubb, dated May 1, 2001, concerning "subrogation of
tween March and June 2001. [HN17] Documents cre-                loss." (Biccochi Aff. Ex. 2.) Since Cozen and O'Connor
ated immediately after the occurrence of an accident that       was hired specifically to examine the potential for subro-
may give rise to an insurance claim are almost always           gation claims arising out of the fire (Lambert Aff. Ex.
created as part of the insurance company's normal prac-         D), it is possible to infer from the privilege log's descrip-
tice of investigating claims. Fine, 91 F.R.D. at 422. Here,     tion that Cozen and O'Connor sent this letter for the pur-
all of the documents were authored within three months          pose of giving legal advice or discussing its legal [*29]
of the fire, suggesting that they were not prepared in an-      opinions. [HN19] Since the document is predominantly
ticipation of litigation.                                       legal in character, the fact that it may contain nonprivi-
                                                                leged information does not destroy its immunity,
      Since the Paduano defendants have not proffered
                                                                Spectrum Systems. 78 N.Y.2d at 378. and so the descrip-
any evidence establishing that the documents generated
                                                                tion on the privilege log is a sufficient basis on which to
by P.M.R., Affiliated, Cozen and O'Connor, and Chubb
                                                                conclude that this letter is protected by the attorney-
were created in anticipation of litigation, the documents
                                                                client privilege.
listed on the Paduano First-Party Privilege Log are not
protected as work product.                                           Document V is a letter sent by Cozen and O'Connor
                                                                to Chubb on May 7, 2001, which the Paduano defendants
     2. Documents Withheld [*27]         on Grounds of At-
                                                                state pertains to the investigation of the fire. (Biccochi
torney-Client Privilege
                                                                Aff. Ex. 2.) The law firm conducted its own investigation
     The Paduano First-Party Privilege Log lists three          into the causes of the fire as part of its examination of the
pieces of correspondence to or from Cozen and O'Con-            potential for Chubb to subrogate the Paduanos' losses.


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The fire investigation was therefore a component of                   Plaintiff bases her assertion on evidence that an In-
Cozen and O'Connor's larger task of analyzing the legal          vestigator Russo examined the scene of the fire and in-
issues arising in connection with the Paduanos' coverage,        terviewed Mrs. Paduano (id. at 16; Biccochi Aff. Ex. 4 at
and the substance of the firm's advice to Chubb regarding        4), noting that no documents authored by Investigator
its subrogation rights was, to some extent, dependent on         Russo have been logged or produced, and speculating
the results of that investigation. Thus, the stated subject      that other, similar, documents might exist. She produces
matter of Cozen and O'Connor's retainer, and the rela-           no evidence suggesting that Russo's investigation led to
tionship between the investigation and the legal issues          the creation of any documents, however, and thus has not
implicated by the subrogation question, make it possible         established the existence of any document that has not
[*3 0] to infer that any discussion of the fire investiga-       been either logged or produced. The Court has no basis
tion would be adjunct to, and intertwined with, the firm's       to find that the Paduano defendants have not complied
legal advice to Chubb. See id. at 380 (recognizing that          with their discovery responsibilities in good faith. If at a
attorney's discussion of an investigative report could           later stage in the litigation, the Paduano defendants at-
"relate[] and integrate[] the facts with the law firm's as-      tempt to rely on documentary evidence that they have
sessment of the client's legal position"). Therefore, the        improperly failed to produce or include in their privilege
privilege log's description is a sufficient basis on which       logs, plaintiff may bring the matter to the Court's atten-
to conclude that Document V is predominantly legal in            tion, and the Paduanos will not be permitted to make use
character, and is protected by the attorney-client privi-        of any documents that they have wrongfully withheld.
lege.                                                            Fed. R. Civ. P. 3 7(c). Plaintiff has not, however, estab-
                                                                 lished any basis to believe that any Chubb document
     Finally, Document IV is a letter from Affiliated to
                                                                 exists that has not been either produced or listed in a
Cozen and O'Connor dated May 2, 200 1, also concerning
the investigation of the fire. (Biccochi Aff. Ex. 2.) Since      privilege log, and [*33] accordingly the motion to com-
Affiliated is not a law firm, the letter cannot have been        pel production of such hypothetical documents is denied.
sent primarily for the purpose of giving legal advice. In              D. Documents in the Possession of P.M.R. and Af-
addition, insofar as the letter pertains to Affiliated's in-     filiated
vestigation and its results, it is not protected by the attor-
ney-client privilege, since [HN20] "information received              In addition to Chubb, plaintiff has served third-party
by the attorney from other persons and sources while             subpoenas on Affiliated and P.M.R., seeking "all docu-
                                                                 ments relating to the fire," including photographs and
acting on behalf of a client does not come within the
attorney-client privilege." Kenford Co. v. County of Erie,       evidence taken from the scene of the fire, and subse-
55 A.D.2d 466. 390 N.Y.S.2d 715. 718 [*31] (4th Dep't            quently prepared reports and notes. (PI. Mem. at 2; Lam-
1977) (Cardamone, J.); see also Spectrum Systems, 78             bert Aff. Exs. H, I.) n4 The Paduano defendants have not
N.Y.2d at 3179. There is no indication that the report con-      produced privilege logs for the documents in the posses-
                                                                 sion of P.M.R. and Affiliated, but have objected to the
tains any statements made by the client to the investiga-
tor acting as an assistant to the lawyer. Cf. United States      subpoenas, arguing that the production of the documents
v. Kovel. 296 F.2d 918. 921-23 (1961) (holding that              sought would lead to the disclosure of protected work
statements of client to accountant assisting lawyer in           product. (Paduano Defs. Mem. at 4-5.) Plaintiff asserts
providing legal services were privileged). Given the lack        that the Paduano defendants have waived work product
of evidence that the letter references any of Cozen and          protection as to these documents (PI. Mem. at 13), as
O'Connor's legal opinions, or contains any confidential          Fed. R. Civ. P. 26(b)(5) requires that a party must de-
information, the Court concludes that it is not privileged.      scribe the documents for which privilege is claimed on a
                                                                 privilege log.
    C. Chubb Documents Not Listed on the Paduano
Defendants' Privilege Logs
      Plaintiff asserts that Chubb is in possession of "at                    n4 The parties have provided the Court with
least one" other investigative report that the Paduano                   copies of the subpoenas served on Chubb and
defendants have not listed on any of their privilege logs,               P.M.R., but not on Affiliated. (Lambert Aff. Exs.
but have not produced. (PI. Mem. at 13, 16.) Thus, plain-                H, I.) Given that the Chubb and P.M.R. subpoe-
tiff argues, the Paduanos have waived any privilege as to                nas are virtually identical, however, the Court
these documents. The Paduanos, for their part, state that                will assume that the Affiliated subpoena follows
they have produced all documents they considered non-                    the same pattern.
privileged, and listed on their privilege logs all those
documents for which they assert any privilege. (Paduano
                                                                 [*341
Defs. [*321 Mem. at 12.)                                              [HN21I] Under certain circumstances, the failure to
                                                                 provide a privilege log can result in a waiver of privilege


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as to the documents that have not been produced. See,           ments were created immediately following the fire, and
e.g., Strougo v. BEA Assocs., 199 F.R.D. 515, 521               are labeled "evaluation of damages" or "evaluation of
 (S.D.N.Y. 2001. While a party is obligated to provide a        policy coverage." n6 (Biccochi Aff. Ex. 3.) In addition,
privilege log for those documents within its control,           the building defendants state that the withheld documents
however, it does not have to log those documents that it        concern "the valuation of claims and the scope of policy
does not have the power to produce itself, since it cannot      coverage therefor, the strategy for handling claims and
be compelled to produce them. Arkwright. 1994 U.S.              the cause and origin of the fire." (Katz Affirm. P 8). n7
Dist. LEXIS 13216. 1994 WL 510043. at *15 (stating              There is also no evidence as to the insurers' deliberative
that plaintiff had not waived privilege by failing to pro-      processes, whether or not any of the building defendants'
vide privilege log for third-party documents not in its         claims were denied, when and if counsel was retained in
control); see also Fed. R. Civ. P. 30(a). Here, there is no     anticipation of litigation, or any other evidence of
indication that documents possessed by P.M.R. and Af-           benchmarks in the progression from claim to litigation
filiated, investigators hired by Chubb and Cozen and            that could enable [*37] the Court to infer that subse-
O'Connor, have ever been in the control of the Paduano          quent documents were prepared in anticipation of litiga-
defendants. P.M.R. and Affiliated have no direct rela-          tion. Thus, none of the documents listed on the Building
tionship with the Paduanos, and unlike Chubb, have no           Defendants' Privilege Log can be considered work prod-
involvement in the Paduanos' defense of this action.            uct.
Thus, while the Paduano defendants were able to pro-
duce privilege logs for the documents in Chubb's posses-
sion, they were not responsible for logging the docu-                       n5 The building defendants do state that
ments [*35] in the possession of P.M.R. and Affiliated,                some of their "computerized claims progress
and have not waived work product protection as to these                notes," listed as the fifth entry on their privilege
documents.                                                             log, contain the claims examiner's "mental im-
     The lack of privilege logs does prevent the Court                 pressions concerning the valuation of claims."
from determining whether its rulings on the Chubb sub-                 (Katz Affirm. P 13.) [HN22] The mental impres-
poena and the documents withheld by the Paduanos ap-                   sions at the core of the work product doctrine are
ply to the documents sought in these subpoenas, how-                   those involving the progress of, and preparation
ever. To the extent that the documents sought in these                 for, the litigation, not the mental impressions of
two subpoenas are the same documents sought from the                   an examiner conducting the insurer's ordinary
Paduanos and Chubb, then the above discussion applies,                 business of valuing claims. Thus, the building de-
and the documents are not work product. To the extent                  fendants have not asserted that any of the docu-
that any of the P.M.R. and Affiliated documents are                    ments constitute the type of material that is most
similar to the documents in the possession of Chubb and                strongly protected by the work product doctrine.
the Paduano defendants, the parties should work out a                  See Upjohn Co.. 449 U.S. at '398-401.
reasonable solution in light of the Court's rulings on the
logged documents.                                                            n6 The one entry whose description could
                                                                       suggest that the listed documents were created in
III. Documents Withheld by the Building Defendants                     anticipation of litigation is labeled "computerized
    A. Documents Withheld as Work Product                              claims progress notes." Some of these notes ap-
                                                                       parently pertain to the "nature of claims likely to
     Plaintiff also seeks a number of documents de-                    result in litigation." (Biccochi Aff. Ex. 3.) These
scribed on the building defendants' privilege log as work              notes are not separately described in the entry,
product. (Biccochi Aff. Ex. 3.) These documents, like                  however, but are listed with other notes pertain-
those withheld by the Paduano defendants, are appar-                   ing to different subjects, so there is no way of
ently not "mental impressions" at the core of the work                 knowing when these notes were written, or by
product doctrine, Leslie Fay,. 161 F.R.D. at 279. [*36]                whom. It is entirely possible that an insurer
but are mostly reports on the damages from the fire and                would evaluate the potential for lawsuits to arise
clarifications of the building defendants' policy coverage.            from an accident as part of its customary evalua-
n5 Like the Paduano defendants, the building defendants                tion of a claim, before it specifically anticipates
have not proffered any evidence to support their conten-               litigation, or has formed a resolve to litigate.
tion that these documents were prepared in anticipation                Given the lack of evidence as to when or why
of litigation. Indeed, the privilege log itself suggests that          these notes were created, the building defendants
many of the documents were prepared as part of the cus-                have not established that there notes can be con-
tomary insurance investigation into potential claims                   sidered work product. See Condon. 1990 U.S.
against the building defendants, since most of the docu-               Dist. LEXIS 7357. 1990 WL 3 11599. at *2 (indi-


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         cating that party could not successfully assert        in the entry are not protected [*40] as work product, and
         privilege without listing details as to each with-     so the building defendants must turn over all of the notes
         held document so that the court could determine        except for those written by Mr. Katz, as to which they
         when and why they were created).                       assert attorney-client privilege.
[*3 8]
                                                                IV. In Camera Review of the Allegedly Privileged
                                                                Documents
              n7 The building defendants, like the Paduano            [HTN24] When faced with claims of privilege, courts
         defendants, appear to believe that state law con-      often undertake in camera review in order to supplement
         trols the scope of work product protection, and        the parties' privilege logs and determine the content of
         that therefore all materials prepared in the process   the documents. However, in camera review of the docu-
         of evaluating claims pursuant to liability insur-      ments, while potentially helpful to the determination of
         ance are protected. (Katz Affirm. P 9.) Since, as      privilege, is "not ... to be routinely undertaken ... as a
         noted above, [HN23] the Second Circuit does not        substitute for a party's submission of an adequate record
         distinguish between first-and third-party insur-       for its privilege claims," especially where, as here, the
         ance for purposes of work product protection, the      Court would have to examine a large quantity of docu-
         building defendants would have to establish that       ments. Bowne. Inc. v. AmBase Corp.. 150 F.R.D. 465.
         the documents would not have been created in es-       475 (S.D.N.Y. 1993) (internal citations omitted). The
         sentially the same manner for ordinary business        Paduano defendants and the building defendants simply
         purposes in order to avoid producing them.             have not produced sufficient evidence from which the
         Adlmnan. 134 F.3d at 1202.                             Court can conclude that the bulk of the documents may
                                                                be privileged. Given the scanty factual showing in the
                                                                defendants' privilege logs and motion papers, in camera
     This conclusion applies even to those documents
                                                                review of the documents, even had the defendants pro-
that were created after the litigation began. The fifth en-
                                                                vided them to the Court, is not warranted.
try on the building defendants' privilege log lists "com-
puterized claims progress notes," which are dated be-
                                                                V. Plaintiffs [*41] Substantial Need for the Documents
tween March 2001 and September 2002, and apparently
have a variety of authors and institutional origins. (Bic-           Even if the defendants had satisfied their burden of
cochi Aff. Ex. 3.) As discussed above, even documents           establishing that the withheld documents are work prod-
created after the institution of litigation must be proven      uct, Weber would be entitled to almost all of the docu-
to have been [*39] created because of the lawsuit.              ments because she has substantial need for them, and
Kidder Peabody, 168 F.R.D. at 467 n.6. Since the build-         would suffer undue hardship if denied access to the ma-
ing defendants have not proffered any evidence as to            terials. Fed. R. Civ. P. 26(b)(3) (providing that work
these materials, they cannot be protected as work prod-         product protection can be overcome by showing of sub-
uct.                                                            stantial need and undue hardship). The bulk of the
                                                                documents listed on the Paduano Liability File Privilege
    B. Documents Withheld on Grounds of Attorney-
                                                                Log 1, the Paduano First-Party Privilege Log, and the
Client Privilege
                                                                Building Defendants' Privilege Log, are investigative
     The building defendants also assert the attorney-          reports and other documents relating to the causes of the
client privilege as to the "computerized claims progress        fire and the extent of the damages it caused. These
notes" listed as the fifth entry on their privilege log, be-    documents concern facts that are at the heart of plaintiff s
cause some of the notes were authored by their attorney,        case, since she alleges that the fire was the result of the
Bennett Katz, and pertain to "attorney analysis of liabil-      defendants' collective negligence.
ity and damage issues." (Biccochi Aff. Ex. 3.) The entry
                                                                     Plaintiff has substantial need for these documents
on the privilege log does not distinguish between the
                                                                because they contain information that is essential to her
attorney-authored notes and those withheld on grounds
                                                                theory of why the fire occurred and why the defendants
of work product protection alone, however, so it is im-
                                                                are responsible. [HN25] "A substantial need for work
possible to determine, without more specific descriptions
                                                                product materials exists where the information sought..
of each document, which privilege pertains to each
                                                                is 'crucial' to the determination of [*42] whether the
document. Nevertheless, as plaintiff does not seek any of
                                                                defendant could be held liable for the acts alleged, or
the documents for which the building defendants have
                                                                carries great probative value on contested issues,"
asserted attorney-client privilege (PI. Mem. at 5, 17), the
                                                                National Congress for Puerto Rican Rights v. City of
building defendants should not have to produce Mr.
                                                                New York. 194 F.R.D. 105. 110 (S.D.N.Y. 2000) (inter-
Katz's notes. The remainder of the claims progress notes
                                                                nal citations omitted), as is clearly the case here.


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      The Paduano defendants argue, however, that the in-     long since been repaired, plaintiff has no means of ob-
formation in these documents is already available to          taining information as to the causes of the fire, other than
plaintiff, since her experts could simply review the re-      through reviewing the reports created by the defendants'
ports created by the Fire Department and Crawford In-         insurers in the immediate aftermath of the fire. See id.
vestigation Services, all of which are in plaintiff s pos-    (finding undue hardship where replication of information
session. (Paduano Defs. Mem. at 14.) Contrary to the          sought would be difficult and costly). While the Paduano
Paduanos' assertions, the reports sought by plaintiff are     defendants assert that plaintiff should have hired her own
apparently more thorough and elaborate than the Craw-         investigator to evaluate the cause of the fire in the imme-
ford and Fire Department reports, and contain informa-        diate aftermath of the fire (Paduano Defs. Mem. at 13), it
tion that may be essential to establishing whether or not     is unreasonable to require a victim of a fire to begin to
the building defendants failed to properly maintain the       prepare for litigation within days or weeks of the fire,
apartment building. The Crawford report contains sum-         when she might not yet suspect negligence, or anticipate
maries of an on-site investigation of the room in which       that the issues raised by the fire might not be resolved
the fire started and interviews with witnesses (Biccochi      amicably. Thus, as plaintiff has established both substan-
Aff. Ex. 4), and the Fire Department reports are similar,     tial need and undue hardship, she would be entitled to
consisting of a very brief summary of an inspection of        production [*45] of the documents relating to the inves-
the premises, and short interviews [*43] with witnesses       tigation of the fire, even if the defendants had established
(Lambert Aff. Ex. B). In contrast, the Affiliated report      that those documents were work product.
apparently describes a structural investigation of the
                                                                  CONCLUSION
building, and an electrical engineering analysis (id. Ex.
E; PI. Mem. at 22), and the P.M.R. reports appear similar          The Paduano defendants are directed to produce the
(Lambert Aff. Ex. C), suggesting that these documents in      documents listed on the Paduano Liability File Privilege
particular might be necessary to plaintiffs theory of the     Log 1, within 30 days of the date of this Opinion and
building defendants' liability. While it is unclear whether   Order. Chubb is directed to comply with plaintiffs sub-
every document described on defendants' logs as pertain-      poena, and to produce the documents listed on the Pa-
ing to the investigation of the fire and its damages con-     duano Liability File Privilege Log 2 and the Paduano
tains information is not otherwise available to plaintiff,    First-Party Privilege Log, with the exception of Docu-
the fact that several of the insurers' reports are more       ments III and V, within 30 days. Affiliated and P.M.R.
elaborate than those already available to plaintiff sug-      are directed to comply with plaintiffs subpoenas seeking
gests that the documents in the defendants' and insurers'     documents relating to the fire, also within 30 days, to the
possession are not simply duplicative of the Crawford         extent that any of the responsive documents have been
and Fire Department reports. See National Congress for        listed on the Paduano defendants' privilege logs, and
Puerto Rican Rights. 194 F.R.D. at 11 0 (suggesting that      ruled upon in this Opinion and Order. The building de-
if all documents sought were duplicative of material pub-     fendants are directed to produce the documents listed on
licly available, plaintiff would not have brought the mo-     their privilege log, with the exception of those docu-
tion to compel). Thus, production of these documents          ments in entry number 5 for which attorney-client privi-
would not simply provide Weber with information she           lege is asserted, and the documents numbered 6, 9, 10,
already has, but will furnish her with [*44] information      and I11, within 30 days.
necessary to the preparation of her case.
                                                                  SO ORDERED:
     Plaintiff has also demonstrated that she will suffer
undue hardship in obtaining the equivalent of the materi-         GERARD E. LYNCH
als she seeks, because her experts cannot now produce             United States District Judge
their own evaluations of the fire and its damages. Since
the fire occurred over a year ago and the damage has          Dated: January 14, 2003




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